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                        Exhibit A
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


 RICHARD PRATT and LARRY JONES,                    Case No. 21-cv-11404-TLL-PTM
 individually and on behalf of all others
 similarly situated,
                                                   Hon. Thomas L. Ludington
                     Plaintiffs,                   Mag. Judge Patricia T. Morris

        v.

 KSE SPORTSMAN MEDIA, INC.,


                     Defendant.

          DECLARATION OF E. POWELL MILLER IN SUPPORT
             OF PLAINTIFFS’ UNOPPOSED MOTION FOR
       PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

  I, E. Powell Miller, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am the Founding Partner of The Miller Law Firm, P.C., located in

  Rochester and Detroit, Michigan, counsel of record for Plaintiffs Richard Pratt and

  Larry Jones (“Plaintiffs”) in this action. I am a member in good standing of the

  Michigan Bar and am a member of the bar of this Court. I have personal knowledge

  of the facts set forth in this declaration and, if called as a witness, I could and would

  testify competently thereto.

        2.     I make this declaration in support of Plaintiffs’ unopposed motion for

  preliminary approval of class action settlement filed herewith.


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        3.      Attached hereto as Exhibit 1 is a true and correct copy of the Parties’

  Class Action Settlement Agreement, and the exhibits attached thereto.

        4.      On June 15, 2021, Plaintiffs initiated this action with the Class Action

  Complaint. ECF No. 1.

        5.      Prior to the filing of the Complaint, Plaintiffs’ counsel conducted

  comprehensive pre-filing investigations concerning every aspect of the factual and

  legal issues underlying this action. These extensive pre-filing efforts included:

             a. Researching the nature of Defendant’s business, its practices of
                selling magazines, consumer-privacy policies, and public
                statements concerning the same;

             b. Interviewing numerous individuals in Michigan who subscribed
                to Defendant’s publications in 2015 and 2016, including about
                their process of purchasing a subscription and any disclosures
                they received or agreed to during the purchase process;

             c. Researching and analyzing Defendant’s list rental and other
                disclosure practices, including data cards and other public
                information available online concerning the practices during the
                relevant 2015-2016 timeframe;

             d. Analyzing versions of Defendant’s Privacy Policy, Terms of
                Service, and other public documents on its websites during the
                relevant time period;

             e. Researching the relevant law and assessing the merits of a
                potential PPPA claim against Defendant and defenses that
                Defendant might assert thereto;

             f. Investigating Defendant’s financial condition to assess the
                likelihood of ultimately recovering a class-wide statutory
                damages award from it; and



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             g. Performed extensive legal research and analysis concerning the
                applicable limitation period for a PPPA claim, and analyzing the
                arguments both for and against a six-year period.

        6.      As a result of this thorough pre-filing investigation, Plaintiffs’ counsel

  was able to develop a viable theory of liability for a PPPA claim against Defendant

  and prepare a thorough Complaint against Defendant.

        7.      From the outset of the case, as part of their obligation under Rule 26,

  the Parties engaged in direct communication and agreed to engage in mediative

  efforts. The Parties went through an extensive settlement process involving several

  mediations with different mediators.

        8.      Throughout the mediation process, Defendant produced information to

  Plaintiffs’ counsel concerning class size, Defendant’s financial condition, and

  Defendant’s ability to withstand a class-wide judgment. The Parties also engaged in

  written and document discovery, which included the production of thousands of

  pages of documents, numerous third-party subpoenas, and a motion to compel (ECF

  No. 40). The aforementioned information was then subjected to a detailed analysis

  by a forensic accountant hired by Class Counsel.

        9.      Ultimately, the Parties, with the assistance of Judges Rosen and

  Holderman, reached agreement on a framework for a class-wide resolution of the

  case, which they memorialized into a term sheet on April 26, 2023.

        10.     In the months following, the Parties negotiated and finalized the full-


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  form Settlement Agreement (attached as Exhibit 1), conducted a competitive bidding

  process and selected a proposed Settlement Administrator, and worked together to

  finalize the Settlement Class List, which included the assistance of Plaintiffs’

  database management expert.

        11.    The resulting $9,500,000 Proposed Settlement secures the best-ever

  per-class member recovery in a PPPA case for the Settlement Class. Based on the

  records obtained in discovery, the proposed Settlement Class includes 14,503 direct

  purchasers whose information was included on the lists obtained in discovery that

  were transmitted to third parties between June 16, 2015 and July 30, 2016, and, thus,

  have standing. With a $9,500,000 non-reversionary Settlement Fund, each Class

  Member who does not exclude himself or herself from the Settlement will

  automatically receive a pro rata cash payment of approximately $420. Prior to this

  settlement, the best per-class member recovery in a PPPA case was in Kain v. The

  Economist Newspaper NA, Inc., Case No. 4:21-cv-11807-MFL-CI (E.D. Mich.),

  where the Parties reached a $9,500,000 settlement for a settlement class that included

  22,987 persons and paid each class member approximately $261. Thus, the Proposed

  Settlement represents a recovery that exceeds the next best PPPA settlement by more

  than 50% per class member.

        12.    Moreover, the Proposed Settlement also provides robust prospective

  relief as Defendant has agreed to refrain, in perpetuity, from disclosing to any third


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  party the subscription information of any subscribers to any of its publications who

  reside in Michigan. Settlement Agreement ¶ 2.2.

         13.    From the outset of the case, Plaintiffs and proposed Class Counsel (E.

  Powell Miller of The Miller Law Firm, P.C.; Joseph I. Marchese and Philip L.

  Fraietta of Bursor & Fisher, P.A.; and Frank S. Hedin and Arun G. Ravindran of

  Hedin Hall LLP), working collaboratively in roughly equal measure throughout the

  case, recognized that the case presented a substantial and novel litigation risk

  pertaining to the statute of limitations. Specifically, at the time of filing, no court had

  ever adjudicated the proper statute of limitations for a PPPA claim. Defendant

  advocates for a three-year statute of limitations pursuant to M.C.L. § 600.5805(2),

  while Plaintiffs advocate for a six-year statute of limitations pursuant to M.C.L. §

  600.5813. Because the case was filed more than three years after the alleged

  unlawful disclosures, if the Court (or an appellate court) ultimately sided with

  Defendant, the case would have been time-barred and the Settlement Class would

  have recovered nothing at all.

        14.    My firm, The Miller Law Firm, P.C. (“Miller Law”), has significant

  experience in litigating class actions of similar size, scope, and complexity to the

  instant action. Miller Law is the leading class action firm in Michigan with more

  than $3 billion in settlements. Personally, I was the first and only class action

  attorney in Michigan to be elected by the judges of the Eastern District of Michigan


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  to receive the Cook-Friedman Civility Award, which is given to one attorney per

  year. In 2020 and, just recently, in 2023 as well, I was recognized by Super Lawyers

  as the number one ranked attorney in Michigan, and have been honored to have been

  selected in the Top 10 every year since 2009. (See Firm Resume of The Miller Law

  Firm, P.C., a true and accurate copy of which is attached hereto as Exhibit 2). I have

  been appointed as class counsel in numerous cases in this District, see, e.g., In Re:

  Ford Motor Co. F-150 and Ranger Truck Fuel Economy Marketing and Sales

  Practices Litigation, (E.D. Mich. No. 22, 2019) (No. 2:19-md-02901 PageID.1158)

  (“The Court concludes that E. Powell Miller with the Miller Law Firm is the

  applicant best able to represent the interests of the putative class based upon: E.

  Powell Miller and the Miller Law Firm’s prior experience in handling class actions

  and other complex litigation, counsel’s knowledge of the applicable law, the work

  that E. Powell Miller and the Miller Law Firm have done in identifying and

  investigating the potential claims in this action, and the resources that counsel will

  commit to representing the putative class. The Court also notes that half of the

  motions it reviewed explicitly recognized E. Powell Miller’s qualifications and

  fitness for the position of interim counsel.”)

        15.    My co-counsel, Bursor & Fisher, P.A., has significant experience in

  litigating class actions of similar size, scope, and complexity to the instant action.

  (See Firm Resume of Bursor & Fisher, P.A., a true and accurate copy of which is


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  attached hereto as Exhibit 3). The firm regularly engages in major complex

  litigation involving consumer privacy, including PPPA cases such as Moeller v.

  American Media, Inc., No. 16-cv-11367 (E.D. Mich.); Edwards v. Hearst

  Communications, Inc., No. 15-cv-09279 (S.D.N.Y.); Moeller v. Advance Magazine

  Publishers, Inc. d/b/a Condé Nast, No. 15-cv-05671 (S.D.N.Y.); Ruppel v.

  Consumers Union of United States, Inc., No. 16-cv-02444, (S.D.N.Y.); and Taylor

  v. Trusted Media Brands, Inc., No. 16-cv-01812 (S.D.N.Y.), has the resources

  necessary to conduct litigation of this nature, and has frequently been appointed lead

  class counsel by courts throughout the country. The firm has also been recognized

  by courts across the country for its expertise. See Exhibit 3; see also Ebin v.

  Kangadis Food Inc., 297 F.R.D. 561, 566 (S.D.N.Y. Feb. 25, 2014) (“Bursor &

  Fisher, P.A., are class action lawyers who have experience litigating consumer

  claims . . . The firm has been appointed class counsel in dozens of cases in both

  federal and state courts, and has won multi-million dollar verdicts or recoveries in

  five [now six] class action jury trials since 2008.”); In re Michaels Stores Pin Pad

  Litigation, Case No. 11-cv-03350, Dkt. 22 (N.D. Ill. June 8, 2011) (appointing

  Bursor & Fisher class counsel to represent a putative nationwide class of consumers

  who made in-store purchases at Michaels using a debit or credit card and had their

  private financial information stolen as a result).

        16.    My co-counsel, Hedin Hall LLP, also has significant experience in


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  litigating class actions of similar size, scope, and complexity to the instant action.

  (See Firm Resume of Hedin Hall LLP, a true and accurate copy of which is attached

  hereto as Exhibit 4). The firm has been appointed class counsel by courts throughout

  the country, including in consumer protection class actions. See Luczak v. Nat’l

  Beverage Corp., 2018 WL 9847842, at *2 (S.D. Fla. Oct. 12, 2018) (“Hedin Hall

  LLP has extensive experience in class actions.”); Groover v. Prisoner

  Transportation Servs., LLC, 2019 WL 3974143, at *2 (S.D. Fla. Aug. 22,

  2019) (“Counsel [at Hedin Hall LLP] provided excellent and thorough

  representation in a case that was exceptionally time-consuming.”).

        17.    The Parties agreed to the terms of the Settlement through experienced

  counsel who possessed all the information necessary to evaluate the case, determine

  all the contours of the proposed class, and reach a fair and reasonable compromise

  after negotiating the terms of the Settlement at arm’s length and with the assistance

  of neutral mediators.

        18.    Plaintiffs and proposed Class Counsel recognize that despite our belief

  in the strength of Plaintiffs’ claims, and Plaintiffs’ and the Class’s ability to

  ultimately each secure a $5,000 statutory award under the PPPA, the expense,

  duration, and complexity of protracted litigation would be substantial and the

  outcome uncertain.

        19.    Plaintiffs and proposed Class Counsel are also mindful that absent a


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  settlement, the success of Defendant’s various defenses in this case could deprive

  Plaintiffs and the Settlement Class Members of any potential relief whatsoever.

  Defendant is represented by highly experienced attorneys who have made clear that

  absent a settlement, they were prepared to continue their vigorous defense of this

  case. Plaintiffs and proposed Class Counsel are also aware that Defendant would

  continue to challenge liability, as well as assert a number of defenses. Defendant had

  indicated that it would continue to assert numerous defenses on the merits. More

  specifically, Plaintiffs are aware that Defendant would assert that the PPPA does not

  prohibit the disclosure of the subscription information at issue (because the third-

  party recipients of the disclosures are Defendant’s agents), that Defendant also

  provided appropriate notice of its practices so as to make the alleged disclosures

  permissible under the PPPA, and that the PPPA is an impermissible special law.

  Plaintiffs and proposed Class Counsel are also aware that Defendant would oppose

  class certification vigorously, and that Defendant would prepare a competent

  defense at trial. Looking beyond trial, Plaintiffs are also aware that Defendant could

  appeal the merits of any adverse decision, and that in light of the statutory damages

  in play, it would argue—in both the trial and appellate courts—that the award of any

  statutory damages is not warranted or for a reduction of damages based on due

  process concerns. See, e.g., Rogers v. BNSF Railway Co., 2023 WL 4297654, at *13

  (N.D. Ill. June 30, 2023) (vacating jury’s statutory damages award in statutory


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  privacy class action and ordering a new trial on damages); Wakefield v. ViSalus, Inc.,

  51 F.4th 1109, 1125 (9th Cir. 2022) (vacating and remanding district court’s denial

  of post-trial motion challenging the constitutionality of statutory damages award in

  statutory privacy class action and ordering the district court to reassess the question

  with new appellate guidance). Moreover, as aforementioned, Defendant’s financial

  ability to withstand a classwide judgment was lacking.

        20.    Plaintiffs and proposed Class Counsel believe that the relief provided

  by the settlement weighs heavily in favor of a finding that the settlement is fair,

  reasonable, and adequate, and well within the range of approval.

        21.    In this litigation, Plaintiffs contributed substantial effort to advance the

  interests of the Settlement Class. Specifically, Plaintiffs worked with proposed Class

  Counsel to detail their subscription purchase history, including how they subscribed

  to the publications at issue; to inform proposed Class Counsel that they did not agree

  in writing or otherwise to allow Defendant to sell or disclose their Personal Reading

  Information; that they did not receive notice of such disclosures, nor were they aware

  of them at all. Moreover, Plaintiffs worked with proposed Class Counsel to prepare

  the Complaint and carefully reviewed the Complaint for accuracy and approved it

  before it was filed.

        22.    Moreover, Plaintiffs filed this case knowing it would invariably reveal

  their statutorily-protected status as subscribers to Defendant’s publications, and kept


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  in regular contact with proposed Class Counsel, including on matters of strategy,

  discovery, mediation, and the prospects of settlement.

        23.    Plaintiffs also coordinated with proposed Class Counsel to respond to

  formal discovery, including searching for documents such as records pertaining to

  their magazine subscriptions, and were prepared to testify at deposition and trial, if

  necessary.

        24.    I am of the opinion that Plaintiffs’ active involvement in this case was

  critical to its ultimate resolution. They took their role as class representatives

  seriously, devoting time and effort to protecting the interests of the class. Without

  their willingness to assume the risks and responsibilities of serving as class

  representative, I do not believe such a strong result could have been achieved.

        I declare under penalty of perjury that the above and foregoing is true and

  accurate. Executed this 17th day of August, 2023 at Rochester, Michigan.

                                                      /s E. Powell Miller
                                                      E. Powell Miller




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         Index of Exhibits to Exhibit A (Declaration of E. Powell Miller)

      Exhibit 1- Settlement Agreement

      Exhibit 2- Firm Resume of The Miller Law Firm, P.C.

      Exhibit 3- Firm Resume of Bursor & Fisher, P.A.

      Exhibit 4- Firm Resume of Hedin Hall LLP
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                     EXHIBIT 1
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN


   RICHARD PRATT and LARRY JONES,
   individually and on behalf of all others similarly       Case No. 21-cv-11404-TLL-PTM
   situated,

                                  Plaintiffs,
          v.

   KSE SPORTSMAN MEDIA, INC. d/b/a
   OUTDOOR SPORTSMAN GROUP,

                                  Defendant.


                         CLASS ACTION SETTLEMENT AGREEMENT

         This Agreement (“Agreement” or “Settlement Agreement”) is entered into by and among

  (i) Plaintiffs, Richard Pratt and Larry Jones (“Plaintiffs”); (ii) the Settlement Class (as defined

  herein); and (iii) Defendant, KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman Group

  (“Defendant” or “KSE”). The Settlement Class and Plaintiffs are collectively referred to as the

  “Plaintiffs” unless otherwise noted. The Plaintiffs and the Defendant are collectively referred to

  herein as the “Parties.” This Agreement is intended by the Parties to fully, finally and forever

  resolve, discharge, and settle the Released Claims (as defined herein), upon and subject to the

  terms and conditions of this Agreement, and subject to the final approval of the Court.

                                                RECITALS

         A.      On June 15, 2021, Plaintiffs filed a putative class action in the United States

  District Court for the Eastern District of Michigan. The material allegations of the complaint

  centered on Defendant’s alleged disclosure of its customers’ personal information and magazine

  choices to third parties before July 30, 2016, which Plaintiffs claimed was without permission

  and in violation of Michigan’s Preservation of Personal Privacy Act, H.B. 5331, 84th Leg. Reg.
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  Sess., P.A. No. 378 §§ 1-4, id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1

  (Mich. 1989) (the “PPPA”). (Dkt. 1.)

          B.      On October 28, 2021, before Defendant responded to the Complaint, the Parties

  participated in a mediation with The Honorable Wayne R. Andersen (Ret.), formerly of the

  Northern District of Illinois and now a neutral with JAMS Chicago. While the mediation was

  conducted at arm’s-length, the Parties were unable to reach an agreement to resolve the case.

          C.      On November 24, 2021, Defendant filed a motion to dismiss pursuant to Fed. R.

  Civ. P. 12(b)(1) and 12(b)(6), arguing, inter alia, that Plaintiffs’ claims were time-barred by a

  three-year statute of limitations and that Plaintiffs lack Article III standing to pursue their claims.

  (Dkt. 17).

          D.      On February 15, 2022, after full briefing, the Court denied Defendant’s motion to

  dismiss in its entirety. (Dkt. 24).

          E.      On March 1, 2022, Defendant filed an Answer to the Complaint asserting 17

  affirmative defenses. (Dkt. 26).

          F.      Thereafter, the Parties engaged in written and document discovery, which

  included the production of thousands of pages of documents, numerous third-party subpoenas,

  and a motion to compel (Dkt. 40).

          G.      On August 19, 2022, Defendant filed a Motion for Judgment on the Pleadings

  pursuant to Fed. R. Civ. P. 12(c), arguing that Plaintiffs’ claims were barred because the PPPA is

  a special law and any alleged disclosures by KSE met the direct marketing exception to the

  PPPA. (Dkt. 44).

          H.      From the outset of the case, the Parties engaged in direct communication, and as

  part of their obligation under Fed. R. Civ. P. 26, discussed the prospect of resolution. To that




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  end, the Parties agreed to participate in a mediation with The Honorable James F. Holderman

  (Ret.), former Chief Judge of the Northern District of Illinois and now a neutral with JAMS

  Chicago.

         I.      In preparation for the mediation, the Parties conducted an analysis of the size and

  parameters of the potential class, which included analysis by a database management expert

  hired by Class Counsel, as well as the strengths and weaknesses of their respective cases.

         J.      The mediation with Judge Holderman took place on December 14, 2022 and

  lasted the entire day. During and in the months following that mediation, the Parties exchanged

  and analyzed information on Defendant’s financial condition and its ability to withstand a

  classwide judgment, which included analysis by a forensic accountant hired by Class Counsel.

         K.      Thereafter, on April 14, 2023, the Parties conducted another mediation, this time

  with The Honorable Gerald E. Rosen (Ret.), former Chief Judge of the Eastern District of

  Michigan and now a neutral with JAMS Detroit and with Judge Holderman. The mediation

  lasted the entire day and at the conclusion of the mediation the Parties, with the assistance of

  Judges Rosen and Holderman, reached agreement on a framework for a classwide resolution of

  the case, which they memorialized into a term sheet on April 26, 2023.

         L.      Based on the information obtained during discovery and exchanged in advance of

  the mediations, the Parties understand that the Settlement Class includes 14,503 persons.

         M.      At all times, Defendant has denied and continues to deny any wrongdoing

  whatsoever and has denied and continues to deny that it committed, or threatened or attempted to

  commit, any wrongful act or violation of law or duty alleged in the Action and has opposed

  certification of a litigation class. Defendant believes that the claims asserted in the Action

  against it do not have merit and that it would have prevailed at summary judgment, at class




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  certification, and/or at trial. Nonetheless, taking into account the uncertainty and risks inherent

  in any litigation, Defendant has concluded it is desirable and beneficial that the Action be fully

  and finally settled and terminated in the manner and upon the terms and conditions set forth in

  this Agreement. This Agreement is a compromise, and the Agreement, any related documents,

  and any negotiations resulting in it shall not be construed as or deemed to be evidence of or an

  admission or concession of liability or wrongdoing on the part of Defendant, or any of the

  Released Parties (defined below), with respect to any claim of any fault or liability or

  wrongdoing or damage whatsoever or with respect to the certifiability of a litigation class.

         N.      Plaintiffs believe that the claims asserted in the Action against Defendant have

  merit and that they would have prevailed at summary judgment and/or trial. Nonetheless,

  Plaintiffs and Class Counsel recognize that Defendant has raised factual and legal defenses that

  present a risk that Plaintiffs may not prevail. Plaintiffs and Class Counsel also recognize the

  expense and delay associated with continued prosecution of the Action against Defendant

  through a motion for summary judgment, discovery, class certification, trial, and any subsequent

  appeals. Plaintiffs and Class Counsel also have taken into account the uncertain outcome and

  risks of litigation, especially in complex class actions, as well as the difficulties inherent in such

  litigation. Therefore, Plaintiffs believe it is desirable that the Released Claims be fully and

  finally compromised, settled, and resolved with prejudice. Based on its evaluation, Class

  Counsel has concluded that the terms and conditions of this Agreement are fair, reasonable, and

  adequate to the Settlement Class, and that it is in the best interests of the Settlement Class to

  settle the claims raised in the Action pursuant to the terms and provisions of this Agreement.

         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

  Plaintiffs, the Settlement Class, and each of them, and Defendant, by and through its undersigned




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  counsel that, subject to final approval of the Court after a hearing or hearings as provided for in

  this Settlement Agreement, in consideration of the benefits flowing to the Parties from the

  Agreement set forth herein, that the Action and the Released Claims shall be finally and fully

  compromised, settled, and released, and the Action shall be dismissed with prejudice, upon and

  subject to the terms and conditions of this Agreement.

                                            AGREEMENT
  1.       DEFINITIONS.

           As used in this Settlement Agreement, the following terms have the meanings specified

  below:

           1.1    “Action” means Pratt v. KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman

  Group, Case No. 1:21-cv-11404-TLL-PTM, pending in the United States District Court for the

  Eastern District of Michigan.

           1.2    “Alternate Judgment” means a form of final judgment that may be entered by

  the Court herein but in a form other than the form of Judgment provided for in this Agreement

  and where none of the Parties elects to terminate this Settlement by reason of such variance.

           1.3    “Cash Award” means the cash compensation, payable by the Settlement

  Administrator from funds provided by Defendant on a pro rata basis, that each Settlement Class

  Member who has not opted-out of the Settlement shall be entitled to receive, which estimated

  amount shall be specified in the Notice. Settlement Class Members shall have the option to elect

  to receive their Cash Awards via check, PayPal, or Venmo, provided however that the default

  payment method shall be check.

           1.4    “Claim Deadline” means 11:59 p.m., Eastern Time, on the date by which

  Unidentified Class Members must submit Claim Forms (either electronically on the Settlement




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  Website or by mailing in a paper Claim Form) to be eligible for the benefits described herein,

  which date and time shall be specified in the Notice.

           1.5      “Claim Form” means the claim form attached hereto as Exhibit E, or its

  substantially similar form, as approved by the Court, that any Unidentified Class Members must

  complete and submit on or before the Claim Deadline to be eligible for the benefits described

  herein, which document shall be submitted to the Court when preliminary approval of the

  Settlement is sought.

           1.6      “Class Counsel” means E. Powell Miller of The Miller Law Firm, P.C., Joseph I.

  Marchese and Philip L. Fraietta of Bursor & Fisher, P.A., and Frank S. Hedin and Arun G.

  Ravindran of Hedin Hall LLP.

           1.7      “Class List” means an electronic list or lists from Defendant’s available records

  that includes the names, last known U.S. Mail addresses, and email addresses, to the extent

  available, belonging to Persons within the Settlement Class, which is attached hereto as Exhibit

  A, and which shall be provided to the Settlement Administrator with a copy to Class Counsel in

  accordance with Paragraph 4.1(a).

           1.8      “Class Representative” means the named Plaintiffs in this Action, Richard Pratt

  and Larry Jones.

           1.9      “Court” means the United States District Court for the Eastern District Michigan,

  the Honorable Thomas L. Ludington presiding, or any judge who shall succeed him as the Judge

  in this Action.

           1.10     “Defendant” means KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman

  Group.




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         1.11    “Defendant’s Counsel” means Mary Quinn Cooper, Kathy R. Neal, and Katie G.

  Crane of McAfee & Taft, P.C.

         1.12    “Effective Date” means the date ten (10) days after which all of the events and

  conditions specified in Paragraph 9.1 have been met and have occurred.

         1.13    “Escrow Account” means the separate, interest-bearing escrow account to be

  established by the Settlement Administrator under terms acceptable to all Parties at a depository

  institution insured by the Federal Deposit Insurance Corporation. The Settlement Fund shall be

  deposited by Defendant into the Escrow Account in accordance with the terms of this Agreement

  and the money in the Escrow Account shall be invested in the following types of accounts and/or

  instruments and no other: (i) demand deposit accounts and/or (ii) time deposit accounts and

  certificates of deposit, in either case with maturities of forty-five (45) days or less. The costs of

  establishing and maintaining the Escrow Account shall be paid from the Settlement Fund.

         1.14    “Fee Award” means the amount of attorneys’ fees, costs, and reimbursement of

  expenses awarded by the Court to Class Counsel, which will be paid out of the Settlement Fund.

         1.15    “Final” means one business day following the latest of the following events: (i)

  the date upon which the time expires for filing or noticing any appeal of the Court’s Final

  Judgment approving the Settlement Agreement; (ii) if there is an appeal or appeals, other than an

  appeal or appeals solely with respect to the Fee Award, the date of completion, in a manner that

  finally affirms and leaves in place the Final Judgment without any material modification, of all

  proceedings arising out of the appeal or appeals (including, but not limited to, the expiration of

  all deadlines for motions for reconsideration or petitions for review and/or certiorari, all

  proceedings ordered on remand, and all proceedings arising out of any subsequent appeal or




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  appeals following decisions on remand); or (iii) the date of final dismissal of any appeal or the

  final dismissal of any proceeding on certiorari.

         1.16    “Final Approval Hearing” means the hearing before the Court where the Parties

  will request the Final Judgment to be entered by the Court approving the Settlement Agreement,

  the Fee Award, and the service award to the Class Representative.

         1.17    “Final Judgment” means the Final Judgment and Order to be entered by the

  Court approving the Agreement after the Final Approval Hearing.

         1.18    “Michigan Subscriber Information” means the combination of each of a

  Person’s name, address in the State of Michigan and the title(s) and/or interest information

  derived solely from the title of the KSE publication to which such Person currently subscribes

  and/or previously subscribed.

         1.19    “Notice” means the notice of this proposed Class Action Settlement Agreement

  and Final Approval Hearing, which is to be sent to the Settlement Class substantially in the

  manner set forth in this Agreement, is consistent with the requirements of Due Process, Rule 23,

  and is substantially in the form of Exhibits B, C, and D hereto.

         1.20    “Notice Date” means the date by which the Notice set forth in Paragraph 4.1 is

  complete, which shall be no later than twenty-eight (28) days after Preliminary Approval.

         1.21    “Objection/Exclusion Deadline” means the date by which a written objection to

  this Settlement Agreement or a request for exclusion submitted by a Person within the Settlement

  Class must be made, which shall be designated as a date no later than forty-five (45) days after

  the Notice Date and no sooner than fourteen (14) days after papers supporting the Fee Award are

  filed with the Court and posted to the settlement website listed in Paragraph 4.1(d), or such other

  date as ordered by the Court.




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         1.22    “Person” shall mean, without limitation, any individual, corporation, partnership,

  limited partnership, limited liability company, association, joint stock company, estate, legal

  representative, trust, unincorporated association, and any business or legal entity and their

  spouses, heirs, predecessors, successors, representatives, or assigns.

         1.23    “Plaintiffs” means Richard Pratt, Larry Jones, and the Settlement Class Members.

         1.24    “Preliminary Approval” means the Court’s certification of the Settlement Class

  for settlement purposes, preliminary approval of this Settlement Agreement, and approval of the

  form and manner of the Notice.

         1.25    “Preliminary Approval Order” means the order preliminarily approving the

  Settlement Agreement, certifying the Settlement Class for settlement purposes, and directing

  notice thereof to the Settlement Class, which will be agreed upon by the Parties and submitted to

  the Court in conjunction with Plaintiffs’ motion for preliminary approval of the Agreement.

         1.26    “Released Claims” means any and all actual, potential, filed, known or unknown,

  fixed or contingent, claimed or unclaimed, suspected or unsuspected, claims, demands,

  liabilities, rights, causes of action, contracts or agreements, extra contractual claims, damages,

  punitive, exemplary or multiplied damages, expenses, costs, attorneys’ fees and or obligations

  (including “Unknown Claims,” as defined below), whether in law or in equity, accrued or un-

  accrued, direct, individual or representative, of every nature and description whatsoever, whether

  based on the PPPA or other state, federal, local, statutory or common law or any other law, rule

  or regulation, against the Released Parties, or any of them, arising out of any facts, transactions,

  events, matters, occurrences, acts, disclosures, statements, representations, omissions or failures

  to act regarding the alleged disclosure of the Settlement Class Members’ personal information or

  Michigan Subscriber Information, including but not limited to all claims that were brought or




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  could have been brought in the Action relating to any and all Releasing Parties.

         1.27    “Released Parties” means KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman

  Group, Inc., as well as any and all of its respective present or past heirs, executors, estates,

  administrators, predecessors, successors, assigns, parent companies, subsidiaries, licensors,

  licensees, associates, affiliates, employers, agents, consultants, independent contractors,

  including without limitation employees of the foregoing, owners, directors, managing directors,

  officers, partners, principals, members, attorneys, accountants, financial and other advisors,

  underwriters, shareholders, lenders, auditors, investment advisors, legal representatives,

  successors in interest, assigns and companies, firms, trusts, and corporations.

         1.28    “Releasing Parties” means Plaintiffs, those Settlement Class Members who do

  not timely opt out of the Settlement Class, and all of their respective present or past heirs,

  executors, estates, administrators, predecessors, successors, assigns, parent companies,

  subsidiaries, associates, affiliates, employers, employees, agents, consultants, independent

  contractors, directors, managing directors, officers, partners, principals, members, attorneys,

  accountants, financial and other advisors, underwriters, shareholders, lenders, auditors,

  investment advisors, legal representatives, successors in interest, assigns and companies, firms,

  trusts, and corporations.

         1.29    “Settlement Administration Expenses” means the expenses incurred by the

  Settlement Administrator in providing Notice (including CAFA notice), processing claims,

  responding to inquiries from members of the Settlement Class, mailing checks, and related

  services, paying taxes and tax expenses related to the Settlement Fund (including all federal,

  state or local taxes of any kind and interest or penalties thereon, as well as expenses incurred in

  connection with determining the amount of and paying any taxes owed and expenses related to




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  any tax attorneys and accountants), as well as all expenses related to the resolution of any

  disputed claims by Judge Rosen (as described below in Paragraph 5.3).

         1.30    “Settlement Administrator” means JND Legal Administration, or such other

  reputable administration company that has been selected jointly by the Parties and approved by

  the Court to perform the duties set forth in this Agreement, including but not limited to serving

  as Escrow Agent for the Settlement Fund, overseeing the distribution of Notice, as well as the

  processing and payments to the Settlement Class as set forth in this Agreement, handing all

  approved payments out of the Settlement Fund, and handling the determination, payment and

  filing of forms related to all federal, state and/or local taxes of any kind (including any interest or

  penalties thereon) that may be owed on any income earned by the Settlement Fund. Class

  Counsel’s assent to this Agreement shall constitute consent on behalf of each and every member

  of the Settlement Class as defined herein to disclose all information required by the Settlement

  Administrator to perform the duties and functions ascribed to it herein, consistent with the

  written consent provisions of the PPPA.

         1.31    “Settlement Class” means the 14,503 direct purchasers whose information was

  included on the lists obtained in discovery that were transmitted to third parties between June 16,

  2015 and July 30, 2016, and thus that have standing, which are reflected on the Class List,

  attached hereto as Exhibit A. Excluded from the Settlement Class are (1) any Judge or

  Magistrate presiding over this Action and members of their families; (2) the Defendant,

  Defendant’s subsidiaries, parent companies, successors, predecessors, and any entity in which

  the Defendant or its parents have a controlling interest and their current or former officers,

  directors, agents, attorneys, and employees; (3) persons who properly execute and file a timely




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  request for exclusion from the class; and (4) the legal representatives, successors or assigns of

  any such excluded persons.

         1.32    “Settlement Class Member” means a Person who falls within the definition of

  the Settlement Class as set forth above and who has not submitted a valid request for exclusion.

         1.33    “Settlement Fund” means the non-reversionary cash fund that shall be

  established by Defendant in the total amount of nine million five hundred thousand dollars

  ($9,500,000.00 USD) to be deposited into the Escrow Account, according to the schedule set

  forth herein, plus all interest earned thereon. From the Settlement Fund, the Settlement

  Administrator shall pay all Cash Awards to Settlement Class Members, Settlement

  Administration Expenses, any service awards to the Class Representatives, any Fee Award to

  Class Counsel, and any other costs, fees or expenses approved by the Court. The Settlement

  Fund shall be kept in the Escrow Account with permissions granted to the Settlement

  Administrator to access said funds until such time as the listed payments are made. The

  Settlement Fund includes all interest that shall accrue on the sums deposited in the Escrow

  Account. The Settlement Administrator shall be responsible for all tax filings with respect to any

  earnings on the Settlement Fund and the payment of all taxes that may be due on such earnings.

  The Settlement Fund represents the total extent of Defendant’s monetary obligations under this

  Agreement. The payment of the Settlement Amount by Defendant fully discharges the

  Defendant and the other Released Parties’ financial obligations (if any) in connection with the

  Settlement, meaning that no Released Party shall have any other obligation to make any payment

  into the Escrow Account or to any Class Member, or any other Person, under this Agreement.

  The total monetary obligation with respect to this Agreement shall not exceed nine million five

  hundred thousand dollars ($9,500,000.00 USD).




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         1.34     “Settlement Website” means the dedicated website created and maintained by

  the Settlement Administrator, which will contain relevant documents and information about the

  Settlement, including the Settlement Agreement, the long-form Notice and the Claim Form, as

  well as web-based forms for Settlement Class Members and Unidentified Class Members to

  submit electronic Claim Forms, requests for exclusion from the Settlement, elections to receive

  Cash Awards by PayPal or Venmo, or updated postal addresses to which Cash Awards should be

  sent after the Settlement becomes Final.

         1.35    “Unidentified Class Member” means a member of the Settlement Class for

  whom the Settlement Administrator has not been able to identify a postal address that it

  determines is reasonably likely to be the current place of residence for such member of the

  Settlement Class.

         1.36    “Unknown Claims” means claims that could have been raised in the Action and

  that any or all of the Releasing Parties do not know or suspect to exist, which, if known by him

  or her, might affect his or her agreement to release the Released Parties or the Released Claims

  or might affect his or her decision to agree, object or not to object to the Settlement. Upon the

  Effective Date, the Releasing Parties shall be deemed to have, and shall have, expressly waived

  and relinquished, to the fullest extent permitted by law, the provisions, rights and benefits of

  § 1542 of the California Civil Code, which provides as follows:

         A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
         CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
         FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
         KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
         OR HER SETTLEMENT WITH THE DEBTOR.

  Upon the Effective Date, the Releasing Parties also shall be deemed to have, and shall have,

  waived any and all provisions, rights and benefits conferred by any law of any state or territory

  of the United States, or principle of common law, or the law of any jurisdiction outside of the


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  United States, which is similar, comparable or equivalent to § 1542 of the California Civil Code.

  The Releasing Parties acknowledge that they may discover facts in addition to or different from

  those that they now know or believe to be true with respect to the subject matter of this release,

  but that it is their intention to finally and forever settle and release the Released Claims,

  notwithstanding any Unknown Claims they may have, as that term is defined in this Paragraph.

  2.     SETTLEMENT RELIEF.

         2.1         Payments to Settlement Class Members.

                  (a)      Defendant shall pay into the Escrow Account the amount of the Settlement

  Fund ($9,500,000.00), specified in Paragraph 1.33 of this Agreement, according to the following

  schedule:

                i.         Two hundred thousand dollars ($200,000.00) to be paid into the Escrow

                           Account within fourteen (14) days after Preliminary Approval to cover the

                           initial hard costs included in the Settlement Administration Expenses of the

                           Settlement Administrator associated with providing Notice to the class,

                           including payment of postage fees;


               ii.         The remaining nine million three hundred thousand dollars ($9,300,000.00)

                           to be paid within fourteen (14) days of the District Court’s order granting

                           final approval to this Settlement.


                  (b)      Each Settlement Class Member shall receive as a Cash Award a pro rata

  portion of the Settlement Fund, calculated by the Settlement Administrator, after deducting all

  Settlement Administration Expenses, any Fee Award to Class Counsel, any service awards to the

  Class Representatives, and any other costs, fees, or expenses approved by the Court, unless the

  Settlement Class Member excludes himself or herself from the Settlement.


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                 (c)     Except for any Settlement Class Member for whom the Settlement

  Administrator is unable to identify a postal address or e-mail address that it determines is

  reasonably likely to be the current place of residence (or an active e-mail address) for such

  Settlement Class Member, after taking measures reasonably necessary to identify such an

  address (as detailed further in Paragraph 4.1(b)), each Settlement Class Member will be sent via

  U.S. postal mail (and/or e-mail to the extent a postal address is unavailable for a Settlement Class

  Member) a copy of the Class Notice, which will also indicate the estimated amount of the Cash

  Award that the Settlement Class Member will be paid upon final approval of the Settlement

  unless the Settlement Class Member opts out of the Settlement.

                 (d)     Payments to Identified Settlement Class Members. After final approval of

  the Settlement, a direct payment by check will be made to each Settlement Class Member who

  did not exclude himself or herself and for whom at least one postal address has been identified

  by the Settlement Administrator that the Settlement Administrator concludes is reasonably likely

  to reflect the current residence of such Settlement Class Member, after taking measures

  reasonably necessary to identify such an address, as set forth more fully in Paragraph 4.1(b); to

  the extent multiple such postal addresses are identified by the Settlement Administrator for a

  particular Settlement Class Member, such check shall be sent to the address that the Settlement

  Administrator concludes is the most likely among such multiple addresses to reflect the current

  residence of such Settlement Class Member. The foregoing direct payment procedure shall

  apply for all Settlement Class Members for whom a postal address has been identified unless: (i)

  the Settlement Class Member submits an updated address to which their check should be sent on

  a web-based form on the Settlement Website, in which case such check will be sent to the

  updated address that was provided, or (ii) the Settlement Class Members elects to receive




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  payment by PayPal or Venmo by following the procedures on the Settlement Website to make

  such a request.

                    (e)   Payments to Unidentified Class Members. To the extent the Settlement

  Administrator is unable to identify at least one postal address for any Settlement Class Member

  that the Settlement Administrator concludes is reasonably likely to reflect the current residence

  of such Settlement Class Member, then in that event, and only in that event, shall any such

  Settlement Class Member be required to submit, as clearly explained in the website Notice and

  the e-mail Notice(s) that the Settlement Administrator will have attempted to send such

  Settlement Class Member, a qualifying claim form that will include their (1) name; (2) postal

  address at which they subscribed to a KSE publication; (3) postal address to which their check

  shall be sent or instructions for payment via PayPal or Venmo; and (4) a telephone number

  and/or email address at which the Settlement Administrator may contact him or her to obtain any

  additional information that may be required to verify such Person’s claim.

                    (f)   Each check issued will state on its face that the check will expire and

  become null and void unless cashed within 180 Days of the date of issuance. To the extent that a

  check issued to a Settlement Class Member is not cashed within 180 Days after the date of

  issuance (which issuance shall be no sooner than 5 Days prior to such check’s mailing), the

  check will be void. Payments to all Settlement Class Members who do not exclude themselves

  from the Settlement shall be made within twenty-eight (28) days after Final Judgment.

                    (g)   To the extent that any checks issued to a Settlement Class Member are not

  cashed within one-hundred eighty (180) days after the date of issuance, such uncashed check

  funds shall be redistributed on a pro rata basis (after first deducting any necessary settlement

  administration expenses from such uncashed check funds) to all Settlement Class Members who




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  cashed checks during the initial distribution, but only to the extent each Settlement Class

  Member would receive at least $5.00 in any such secondary distribution and if otherwise

  feasible. To the extent each Settlement Class Member would receive less than $5.00 in any such

  secondary distribution or if a secondary distribution would be otherwise infeasible, any uncashed

  check funds shall, subject to Court approval, revert to the Michigan Bar Foundation’s Access to

  Justice Fund, a non-sectarian, not-for-profit organization, or another non-sectarian, not-for-profit

  organization(s) recommended by Class Counsel and approved by the Court.

                 (h)     Subject to the provisions pertaining to the termination or cancellation of

  the Settlement, as set forth in Paragraph 9, no portion of the Settlement Fund shall revert back to

  Defendant.

         2.2     Prospective Relief. As part of the Settlement, Defendant agrees to refrain, in

  perpetuity, from disclosing to any third party the subscription information of any subscribers to

  any of its publications who reside in Michigan.

  3.     RELEASE.

         3.1     The obligations incurred pursuant to this Settlement Agreement shall be a full and

  final disposition of the Action and any and all Released Claims, as against all Released Parties.

         3.2     Upon the Effective Date, the Releasing Parties, and each of them, shall be deemed

  to have, and by operation of the Final Judgment shall have, fully, finally, and forever released,

  relinquished, and discharged all Released Claims against the Released Parties, and each of them.

  4.     NOTICE TO THE CLASS.

         4.1     The Notice Plan shall consist of the following:

                 (a)     Settlement Class List. No later than twenty-eight (28) days after the

  execution of this Agreement, Defendant shall, to the best of its ability, produce an electronic list

  or lists from its available records that includes the names, last known U.S. Mail addresses, and


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  email addresses, to the extent available, belonging to Persons within the Settlement Class. Class

  Counsel’s assent to this Agreement shall constitute consent on behalf of each and every member

  of the Settlement Class as defined herein to disclose this information as stated in this paragraph,

  consistent with the written consent provisions of the PPPA. This electronic document shall be

  called the “Class List,” and shall be provided to the Settlement Administrator with a copy to

  Class Counsel.

                   (b)    Method for Providing Notice.

                         i.       The Notice shall provide information to each Settlement Class

  Member regarding (a) the specific amount of the Cash Award that will be paid to each

  Settlement Class Member upon final approval; (b) the requirements for the filing of Claim Forms

  by any Unidentified Settlement Class Members; (c) the amount of the Service Award and the Fee

  Award to be requested by Plaintiffs and Class Counsel; (d) the Objection/Exclusion Deadline

  and the requirements and process for filing an objection to or a request for exclusion from the

  Settlement; and (e) the URL of the Settlement Website, where additional information and

  documents concerning the Settlement may be obtained.

                         ii.      For every Settlement Class Member for whom the Settlement

  Administrator has been able to identify a postal address that it concludes has a reasonable

  likelihood of reflecting the current residence of such Settlement Class Member, as identified by

  the Settlement Administrator after taking measures reasonably necessary to identify such an

  address, the Settlement Administrator shall send the Notice to the Settlement Class Member at

  such address via postal mail.

                         iii.     To the extent multiple postal addresses are identified by the

  Settlement Administrator as having a reasonable likelihood of reflecting the current residence of




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  a particular Settlement Class Member, Notice shall be sent to all such postal addresses, and each

  such Notice shall indicate the address to which the Settlement Class Member’s Cash Award

  check will be sent by check at the conclusion of the Settlement administration process; such

  address shall be the one that the Settlement Administrator concludes is the most likely among

  such multiple addresses to reflect the current residence of such Settlement Class Member.

                        iv.     For any Settlement Class Member for whom the Settlement

  Administrator is unable to identify at least one postal address that it concludes has a reasonable

  likelihood of reflecting the current residence of such Settlement Class Member, the Notice will

  be delivered to any and all e-mail addresses specified in the Class List or otherwise identified by

  the Settlement Administrator as being reasonably likely to belong to such Settlement Class

  Member (after taking measures reasonably necessary to identify such e-mail address(es)).

                        v.      If any Notice sent to a Settlement Class Member is returned as

  undeliverable, the Settlement Administrator shall redeliver the Notice to any alternative postal

  address(es) identified by the Settlement Administrator as having a reasonable likelihood of being

  the current place of residence for such Settlement Class Member (or, if none is available, to any

  e-mail address(es) believed to belong to the Settlement Class Member), after taking measures

  reasonably necessary to locate such addresses.

                 (c)     Settlement Website. Within ten (10) days from entry of the Preliminary

  Approval Order, Notice shall be provided on a website at an available settlement URL (such as,

  for example, www.ksemagazinesettlement.com) which shall be obtained, administered and

  maintained by the Settlement Administrator and shall include the ability to file Claim Forms on-

  line, provided that such Claim Forms, if signed electronically, will be binding for purposes of




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  applicable law and contain a statement to that effect. The Notice provided on the Settlement

  Website shall be substantially in the form of Exhibit D hereto.

                 (d)     CAFA Notice. Pursuant to 28 U.S.C. § 1715, not later than ten (10) days

  after the Agreement is filed with the Court, the Settlement Administrator shall cause to be served

  upon the Attorney General of the United States, and any other required government officials,

  notice of the proposed settlement as required by law, subject to Paragraph 5.1 below.

                 (e)     KSE Statement. The documents referenced in 4.1(b), (c), and (d) shall

  contain the following statement from KSE in a format/typeface designed to give it prominence

  within each said document: While KSE believes that its practices were in compliance with

  Michigan law, KSE chose to settle this case, without admitting liability, to focus time, effort and

  resources on continuing to provide valued content to its readers, and not on additional legal fees

  and the uncertainty of litigation.

         4.2     The Notice shall advise the Settlement Class of their rights, including the right to

  be excluded from, comment upon, and/or object to the Settlement Agreement or any of its terms.

  The Notice shall specify that any objection to the Settlement Agreement, and any papers

  submitted in support of said objection, shall be considered by the Court at the Final Approval

  Hearing only if, on or before the Objection/Exclusion Deadline approved by the Court and

  specified in the Notice, the Person making the objection files notice of an intention to do so and

  at the same time (a) files copies of such papers he or she proposes to be submitted at the Final

  Approval Hearing with the Clerk of the Court, or alternatively, if the objection is from a Class

  Member represented by counsel, files any objection through the Court’s CM/ECF system, and

  (b) sends copies of such papers by mail, hand, or overnight delivery service to Class Counsel and

  Defendant’s Counsel.




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         4.3     Any Settlement Class Member who intends to object to this Agreement must

  present on a timely basis pursuant to the Court’s anticipated Order preliminarily approving the

  settlement the objection in writing, which must be personally signed by the objector, and must

  include: (1) the objector’s name and address; (2) an explanation of the basis upon which the

  objector claims to be a Settlement Class Member, including the title of the publication to which

  he or she is or was a subscriber; (3) all grounds for the objection, including all citations to legal

  authority and evidence supporting the objection; (4) the name and contact information of any and

  all attorneys representing, advising, or in any way assisting the objector in connection with the

  preparation or submission of the objection or who may profit from the pursuit of the objection

  (the “Objecting Attorneys”); and (5) a statement indicating whether the objector intends to

  appear at the Final Approval Hearing (either personally or through counsel who files an

  appearance with the Court in accordance with the Local Rules).

         4.4     If a Settlement Class Member or any of the Objecting Attorneys has objected to

  any class action settlement where the objector or the Objecting Attorneys asked for or received

  any payment in exchange for dismissal of the objection, or any related appeal, without any

  modification to the settlement, then the objection must include a statement identifying each such

  case by full case caption and amount of payment received.

         4.5     A Settlement Class Member may request to be excluded from the Settlement

  Class by sending a timely written request postmarked on or before the Objection/Exclusion

  Deadline approved by the Court and specified in the Notice. To exercise the right to be

  excluded, a Person in the Settlement Class must timely send a written request for exclusion to the

  Settlement Administrator providing (1) his/her name and address; (2) the title of the publication

  to which he or she is a subscriber; (3) a signature; (4) the name and number of the case; (5) and a




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  statement that he or she wishes to be excluded from the Settlement Class for purposes of this

  Settlement. A request to be excluded that does not include all of this information, or that is sent

  to an address other than that designated in the Notice, or that is not postmarked within the time

  specified, shall be invalid, and the Person(s) serving such a request shall be a member(s) of the

  Settlement Class and shall be bound as a Settlement Class Member by this Agreement, if

  approved. Any member of the Settlement Class who validly elects to be excluded from this

  Agreement shall not: (i) be bound by any orders or the Final Judgment; (ii) be entitled to relief

  under this Settlement Agreement; (iii) gain any rights by virtue of this Agreement; or (iv) be

  entitled to object to any aspect of this Agreement. The request for exclusion must be personally

  signed by each Person requesting exclusion. So-called “mass” or “class” opt-outs shall not be

  allowed. To be valid, a request for exclusion must be postmarked or received by the date

  specified in the Notice.

         4.6     The Final Approval Hearing shall be no earlier than ninety (90) days after the

  Notice described in Paragraph 4.1 is provided.

         4.7     Any Settlement Class Member who does not, in accordance with the terms and

  conditions of this Agreement, seek exclusion from the Settlement Class or timely file a valid

  Claim Form when such Claim Form is required shall not be entitled to receive any payment or

  benefits pursuant to this Agreement, but will otherwise be bound by all of the terms of this

  Agreement, including the terms of the Final Judgment to be entered in the Action and the

  Releases provided for in the Agreement, and will be barred from bringing any action against any

  of the Released Parties concerning the Released Claims.

  5.     SETTLEMENT ADMINISTRATION.

         5.1     The Settlement Administrator shall, under the supervision of the Court, administer

  the relief provided by this Settlement Agreement by processing Claim Forms submitted by


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  Unidentified Class Members, processing requests for exclusion from the Settlement, and

  disbursing funds from the Settlement Fund in a rational, responsive, cost effective, and timely

  manner. The terms of this Agreement, upon approval by the Court, shall at all times govern the

  scope of the services to be provided by the Settlement Administrator to administer the

  Settlement. The Settlement Administrator shall maintain reasonably detailed records of its

  activities under this Agreement. The Settlement Administrator shall maintain all such records as

  are required by applicable law in accordance with its normal business practices and such records

  will be made available to Class Counsel and Defendant’s Counsel upon request. The Settlement

  Administrator shall also provide reports and other information to the Court as the Court may

  require. The Settlement Administrator shall provide Class Counsel and Defendant’s Counsel

  with regular reports at weekly intervals containing information concerning Notice,

  administration, and implementation of the Settlement Agreement. Should the Court request, the

  Parties shall submit a timely report to the Court summarizing the work performed by the

  Settlement Administrator, including a report of all amounts from the Settlement Fund paid to

  Settlement Class Members on account of Approved Claims. Without limiting the foregoing, the

  Settlement Administrator shall:

                 (a)    Forward to Defendant’s Counsel, with copies to Class Counsel, all original

  documents and other materials received in connection with the administration of the Settlement,

  and all copies thereof, within thirty (30) days after the date on which all Claim Forms have been

  finally approved or disallowed in accordance with the terms of this Agreement;

                 (b)    Provide Class Counsel and Defendant’s Counsel with drafts of all

  administration related documents, including but not limited to CAFA Notices, follow-up class

  notices or communications with Settlement Class Members, telephone scripts, website postings




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  or language or other communications with the Settlement Class, at least five (5) business days

  before the Settlement Administrator is required to or intends to publish or use such

  communications, unless Class Counsel and Defendant’s Counsel agree to waive this requirement

  in writing on case by case basis;

                 (c)     Receive Claim Forms from Unidentified Class Members and promptly

  provide to Class Counsel and Defendant’s counsel copies thereof. If the Settlement

  Administrator receives any Claim Forms after the Claim Deadline, the Settlement Administrator

  shall promptly provide copies thereof to Class Counsel and Defendant’s Counsel;

                 (d)     Receive requests to be excluded from the Settlement Class and other

  requests and promptly provide to Class Counsel and Defendant’s Counsel copies thereof, along

  with a weekly report of the number of such requests received. If the Settlement Administrator

  receives any exclusion forms or other requests after the deadline for the submission of such

  forms and requests, the Settlement Administrator shall promptly provide copies thereof to Class

  Counsel and Defendant’s Counsel and await guidance from Counsel as to treatment thereof;

                 (e)     Provide weekly reports to Class Counsel and Defendant’s Counsel,

  including without limitation, reports regarding the number of Claim Forms received, the number

  approved by the Settlement Administrator, and the categorization and description of Claim

  Forms rejected, in whole or in part, by the Settlement Administrator; and

                 (f)     Make available for inspection by Class Counsel or Defendant’s Counsel

  the Claim Forms received by the Settlement Administrator at any time upon reasonable notice.

         5.2     The Settlement Administrator shall be obliged to employ reasonable procedures to

  screen claims for abuse or fraud and deny Claim Forms where there is evidence of abuse or

  fraud. The Settlement Administrator shall determine whether a Claim Form submitted by a




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  Settlement Class Member is an Approved Claim by determining if the Person is on the Class List

  and shall reject Claim Forms that fail to (a) comply with the instructions on the Claim Form or

  the terms of this Agreement, or (b) provide full and complete information as requested on the

  Claim Form. In the event a Person submits a timely Claim Form by the Claims Deadline where

  the Person appears on the Class List but the Claim Form is not otherwise complete, then the

  Settlement Administrator shall give such Person one (1) reasonable opportunity to provide any

  requested missing information, which information must be received by the Settlement

  Administrator no later than thirty (30) calendar days after the Claims Deadline. In the event the

  Settlement Administrator receives such information more than thirty (30) days after the Claims

  Deadline, then any such claim shall be denied. The Settlement Administrator may contact any

  Person who has submitted a Claim Form to obtain additional information necessary to verify the

  Claim Form.

         5.3     Defendant’s Counsel and Class Counsel shall have the right to challenge the

  acceptance or rejection of a Claim Form submitted by an Unidentified Settlement Class Member,

  as well as any request for exclusion. The Settlement Administrator shall follow any agreed

  decisions of Class Counsel and Defendant’s Counsel as to the validity of any disputed submitted

  Claim Form or request for exclusion. To the extent Class Counsel and Defendant’s Counsel are

  not able to agree on the disposition of a challenge, the disputed claim shall be submitted to The

  Honorable Gerald E. Rosen (Ret.) of JAMS Detroit for a binding determination. Judge Rosen

  will charge his JAMS hourly rate for providing such services to the Settlement Class, and all

  expenses related thereto will be paid by the Settlement Administrator from the Settlement Fund.




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          5.4     In the exercise of its duties outlined in this Agreement, the Settlement

  Administrator shall have the right to reasonably request additional information from the Parties

  or any Settlement Class Member.

          5.5     Defendant, the Released Parties, and Defendant’s Counsel shall have no

  responsibility for, interest in, or liability whatsoever with respect to: (i) any act, omission, or

  determination by Class Counsel, or the Settlement Administrator, or any of their respective

  designees or agents, in connection with the administration of the Settlement or otherwise; (ii) the

  management, investment, or distribution of the Settlement Fund; (iii) the allocation of Settlement

  Funds to Settlement Class Members or the implementation, administration, or interpretation

  thereof; (iv) the determination, administration, calculation, or payment of any claims asserted

  against the Settlement Fund; (v) any losses suffered by, or fluctuations in value of, the

  Settlement Fund; or (vi) the payment or withholding of any Taxes, Tax Expenses, or costs

  incurred in connection with the taxation of the Settlement Fund or the filing of any federal, state,

  or local returns.

          5.6     All taxes and tax expenses shall be paid out of the Settlement Fund and shall be

  timely paid by the Settlement Administrator pursuant to this Agreement and without further

  order of the Court. Any tax returns prepared for the Settlement Fund (as well as the election set

  forth therein) shall be consistent with this Agreement and in all events shall reflect that all taxes

  on the income earned by the Settlement Fund shall be paid out of the Settlement Fund as

  provided herein. The Released Parties shall have no responsibility or liability for the acts or

  omissions of the Settlement Administrator or its agents with respect to the payment of taxes or

  tax expenses.




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  6.     TERMINATION OF SETTLEMENT.

         6.1     Subject to Paragraphs 9.1-9.3 below, Defendant or the Class Representatives on

  behalf of the Settlement Class, shall have the right to terminate this Agreement by providing

  written notice of the election to do so (“Termination Notice”) to all other Parties hereto within

  twenty-one (21) days of any of the following events: (i) the Court’s refusal to grant Preliminary

  Approval of this Agreement in any material respect; (ii) the Court’s refusal to grant final

  approval of this Agreement in any material respect; (iii) the Court’s refusal to enter the Final

  Judgment in this Action in any material respect; (iv) the date upon which the Final Judgment is

  modified or reversed in any material respect by an Appellate Court or the Supreme Court; or

  (v) the date upon which an Alternate Judgment, as defined in Paragraph 9.1(d) of this Agreement

  is modified or reversed in any material respect by the Court of Appeals or the Supreme Court.

  7.     PRELIMINARY APPROVAL ORDER AND FINAL APPROVAL ORDER.

         7.1     Promptly after the execution of this Settlement Agreement, Class Counsel shall

  submit this Agreement together with its Exhibits to the Court and shall move the Court for

  Preliminary Approval of the settlement set forth in this Agreement; certification of the

  Settlement Class for settlement purposes only; appointment of Class Counsel and the Class

  Representatives; and entry of a Preliminary Approval Order, which order shall set a Final

  Approval Hearing date and approve the Notice and Claim Form for dissemination substantially

  in the form of Exhibits C, C, D, and E hereto. The Preliminary Approval Order shall also

  authorize the Parties, without further approval from the Court, to agree to and adopt such

  amendments, modifications and expansions of the Settlement Agreement and its implementing

  documents (including all exhibits to this Agreement) so long as they are consistent in all material




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  respects with the terms of the Settlement Agreement and do not limit or impair the rights of the

  Settlement Class or materially expand the obligations of Defendant.

          7.2     At the time of the submission of this Agreement to the Court as described above,

  Class Counsel shall request that, after Notice is given, the Court hold a Final Approval Hearing

  and approve the settlement of the Action as set forth herein.

          7.3     After Notice is given, the Parties shall request and seek to obtain from the Court a

  Final Judgment, which will among other things:

                  (a)     find that the Court has personal jurisdiction over all Settlement Class

  Members and that the Court has subject matter jurisdiction to approve the Agreement, including

  all exhibits thereto;

                  (b)     approve the Settlement Agreement and the proposed settlement as fair,

  reasonable, and adequate as to, and in the best interests of, the Settlement Class Members; direct

  the Parties and their counsel to implement and consummate the Agreement according to its terms

  and provisions; and declare the Agreement to be binding on, and have res judicata and

  preclusive effect in all pending and future lawsuits or other proceedings maintained by or on

  behalf of Plaintiffs and Releasing Parties;

                  (c)     find that the Notice implemented pursuant to the Agreement (1)

  constitutes the best practicable notice under the circumstances; (2) constitutes notice that is

  reasonably calculated, under the circumstances, to apprise the Settlement Class of the pendency

  of the Action, their right to object to or exclude themselves from the proposed Agreement, and to

  appear at the Final Approval Hearing; (3) is reasonable and constitutes due, adequate, and

  sufficient notice to all persons entitled to receive notice; and (4) meets all applicable




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  requirements of the Federal Rules of Civil Procedure, the Due Process Clause of the United

  States Constitution, and the rules of the Court;

                 (d)     find that the Class Representatives and Class Counsel adequately represent

  the Settlement Class for purposes of entering into and implementing the Agreement;

                 (e)     dismiss the Action (including all individual claims and Settlement Class

  Claims presented thereby) on the merits and with prejudice, without fees or costs to any party

  except as provided in the Settlement Agreement;

                 (f)     incorporate the Release set forth above, make the Release effective as of

  the date of the Effective Date, and forever discharge the Released Parties as set forth herein;

                 (g)     permanently bar and enjoin all Settlement Class Members who have not

  been properly excluded from the Settlement Class from filing, commencing, prosecuting,

  intervening in, or participating (as class members or otherwise) in, any lawsuit or other action in

  any jurisdiction based on the Released Claims;

                 (h)     without affecting the finality of the Final Judgment for purposes of appeal,

  retain jurisdiction as to all matters relating to administration, consummation, enforcement, and

  interpretation of the Settlement Agreement and the Final Judgment, and for any other necessary

  purpose; and

                 (i)     incorporate any other provisions, as the Court deems necessary and just or

  appropriate to effectuate the terms and conditions of the Settlement Agreement.

  8.     CLASS COUNSEL’S ATTORNEYS’ FEES AND REIMBURSEMENT OF
         EXPENSES; SERVICE AWARD.

         8.1     Defendant agrees that Class Counsel may receive from the Settlement Fund,

  subject to Court approval, attorneys’ fees, costs, and expenses not to exceed 35% of the

  Settlement Fund (or $3,325,000 USD). Plaintiffs will petition the Court for an award of such



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  attorneys’ fees, costs, and expenses, and Defendant agrees not to object to or otherwise

  challenge, directly or indirectly, Class Counsel’s petition for attorneys’ fees, costs, and expenses

  if limited to this amount. Class Counsel, in turn, agrees to seek no more than this amount from

  the Court in attorneys’ fees, costs, and expenses. Payment of the Fee Award shall be made from

  the Settlement Fund and should the Court award less than the amount sought by Class Counsel,

  the difference in the amount sought and the amount ultimately awarded pursuant to this

  Paragraph shall remain in the Settlement Fund.

         8.2     The Fee Award shall be payable by the Settlement Administrator within ten (10)

  days after entry of the Court’s Final Judgment, subject to Class Counsel executing the

  Undertaking Regarding Attorneys’ Fees and Costs (the “Undertaking”) attached hereto as

  Exhibits F-1, F-2, and F-3, and providing all payment routing information and tax I.D. numbers

  for Class Counsel. Payment of the Fee Award shall be made from the Settlement Fund by wire

  transfer to Class Counsel, in accordance with the instructions to be jointly provided by Class

  Counsel, after completion of necessary forms by Class Counsel, including but not limited to W-9

  forms. Notwithstanding the foregoing, if for any reason the Final Approval Order is reversed or

  rendered void as a result of an appeal(s) then any persons or firms who shall have received such

  funds shall be severally liable for payments made pursuant to this subparagraph, and shall return

  such funds to the Defendant, based upon written instructions provided by Defendant’s Counsel.

  To effectuate this provision, The Miller Law Firm, P.C., Bursor & Fisher, P.A., and Hedin Hall

  LLP, shall each execute a guarantee of repayment in the forms attached hereto as Exhibits F-1,

  F-2, and F-3. Additionally, should any parties to the Undertaking dissolve, merge, declare

  bankruptcy, become insolvent, or cease to exit prior to the final payment to Class Members,




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  those parties shall execute a new undertaking guaranteeing repayment of funds within fourteen

  (14) days of such an occurrence.

         8.3     Defendant agrees that, subject to Court approval, the Settlement Administrator

  may pay service awards to the Class Representatives from the Settlement Fund, in addition to

  any settlement payment as a result of a Cash Award pursuant to this Agreement, and in

  recognition of their efforts on behalf of the Settlement Class, in the amount of one thousand five

  hundred dollars ($1,500.00 USD) each. Defendant shall not object to or otherwise challenge,

  directly or indirectly, Class Counsel’s application for the service awards to the Class

  Representatives if limited to this amount. Class Counsel, in turn, agrees to seek no more than

  this amount from the Court as the service awards for the Class Representatives. Should the

  Court award less than this amount, the difference in the amount sought and the amount

  ultimately awarded pursuant to this Paragraph shall remain in the Settlement Fund. Such award

  shall be paid from the Settlement Fund (in the form of a check to the Class Representatives that

  is sent to the care of Class Counsel), within five (5) business days after entry of the Final

  Judgment if there have been no objections to the Settlement Agreement, and, if there have been

  such objections, within five (5) business days after the Effective Date.

  9.     CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,
         CANCELLATION OR TERMINATION.

         9.1     The Effective Date of this Settlement Agreement shall not occur unless and until

  each of the following events occurs and shall be the date upon which the last (in time) of the

  following events occurs:

                 (a)      The Parties and their counsel have executed this Agreement;

                 (b)     The Court has entered the Preliminary Approval Order;




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                 (c)     The Court has entered an order finally approving the Agreement,

  following Notice to the Settlement Class and a Final Approval Hearing, as provided in the

  Federal Rules of Civil Procedure, and has entered the Final Judgment, or a judgment consistent

  with this Agreement in all material respects; and

                 (d)     The Final Judgment has become Final, as defined above, or, in the event

  that the Court enters an Alternate Judgment, such Alternate Judgment becomes Final.

         9.2     If some or all of the conditions specified in Paragraph 9.1 are not met, or in the

  event that this Agreement is not approved by the Court, or the settlement set forth in this

  Agreement is terminated or fails to become effective in accordance with its terms, then this

  Settlement Agreement shall be canceled and terminated subject to Paragraph 6.1 unless Class

  Counsel and Defendant’s Counsel mutually agree in writing to proceed with this Agreement. If

  any Party is in material breach of the terms hereof, any other Party, provided that it is in

  substantial compliance with the terms of this Agreement, may terminate this Agreement on

  notice to all of the Settling Parties. Notwithstanding anything herein, the Parties agree that the

  Court’s failure to approve, in whole or in part, the attorneys’ fees payment to Class Counsel

  and/or the service award set forth in Paragraph 8 above shall not prevent the Agreement from

  becoming effective, nor shall it be grounds for termination.

         9.3     If this Agreement is terminated or fails to become effective for the reasons set

  forth in Paragraphs 6.1 and 9.1-9.2 above, the Parties shall be restored to their respective

  positions in the Action as of the date of the signing of this Agreement, unless Class Counsel and

  Defendant’s Counsel mutually agree in writing to proceed with the Agreement. In such event,

  any Final Judgment or other order entered by the Court in accordance with the terms of this

  Agreement shall be treated as vacated, nunc pro tunc, and the Parties shall be returned to the




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  status quo ante with respect to the Action as if this Agreement had never been entered into.

  Within five (5) business days after written notification of termination as provided in this

  Agreement is sent to the other Parties, the Settlement Fund (including accrued interest thereon),

  less any Settlement Administration costs actually incurred, paid or payable and less any taxes

  and tax expenses paid, due or owing, shall be refunded by the Settlement Administrator to

  Defendant based upon written instructions provided by Defendant’s Counsel. In the event that

  the Final Settlement Order and Judgment or any part of it is vacated, overturned, reversed, or

  rendered void as a result of an appeal, or the Settlement Agreement is voided, rescinded, or

  otherwise terminated for any other reason, Class Counsel shall, within thirty (30) days repay to

  Defendant based upon written instructions provided by Defendant’s Counsel, the full amount of

  the attorneys’ fees and costs paid to Class Counsel from the Settlement Fund, including any

  accrued interest. In the event the attorney fees and costs awarded by the Court or any part of

  them are vacated, modified, reversed, or rendered void as a result of an appeal, Class Counsel

  shall within thirty (30) days repay to Defendant based upon written instructions provided by

  Defendant’s Counsel, the attorneys’ fees and costs paid to Class Counsel and/or Representative

  Plaintiff from the Settlement Fund, in the amount vacated or modified, including any accrued

  interest.

  10.     MISCELLANEOUS PROVISIONS.

          10.1   The Parties (a) acknowledge that it is their intent to consummate this Settlement

  Agreement; and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to

  the extent reasonably necessary to effectuate and implement all terms and conditions of this

  Agreement, to exercise their reasonable best efforts to accomplish the foregoing terms and

  conditions of this Agreement, to secure final approval, and to defend the Final Judgment through

  any and all appeals. Class Counsel and Defendant’s Counsel agree to cooperate with one another


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  in seeking Court approval of the Settlement Agreement, entry of the Preliminary Approval

  Order, and the Final Judgment, and promptly to agree upon and execute all such other

  documentation as may be reasonably required to obtain final approval of the Agreement.

          10.2   The Parties intend this Settlement Agreement to be a final and complete

  resolution of all disputes between them with respect to the Released Claims by Plaintiffs, the

  Settlement Class and each or any of them, on the one hand, against the Released Parties, and

  each or any of the Released Parties, on the other hand. Accordingly, the Parties agree not to

  assert in any forum that the Action was brought by Plaintiffs or defended by Defendant, or each

  or any of them, in bad faith or without a reasonable basis. Nothing herein, however, shall be

  construed to prevent any employee of Defendant or any Released Party, or any independent

  contractor working in a reporting or newsgathering capacity for Defendant or any Released

  Party, from reporting on the Action or this Settlement.

          10.3   The Parties have relied upon the advice and representation of counsel, selected by

  them, concerning their respective legal liability for the claims hereby released. The Parties have

  read and understand fully the above and foregoing agreement and have been fully advised as to

  the legal effect thereof by counsel of their own selection and intend to be legally bound by the

  same.

          10.4   Whether or not the Effective Date occurs or the Settlement Agreement is

  terminated, neither this Agreement nor the settlement contained herein or any term, provision or

  definition therein, nor any act or communication performed or document executed in the course

  of negotiating, implementing or seeking approval pursuant to or in furtherance of this Agreement

  or the settlement:




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                  (a)     is, may be deemed, or shall be used, offered or received in any civil,

  criminal or administrative proceeding in any court, administrative agency, arbitral proceeding or

  other tribunal against the Released Parties, or each or any of them, as an admission, concession

  or evidence of, the validity of any Released Claims, the truth of any fact alleged by the Plaintiffs,

  the deficiency of any defense that has been or could have been asserted in the Action, the

  violation of any law or statute, the definition or scope of any term or provision, the

  reasonableness of the settlement amount or the Fee Award, or of any alleged wrongdoing,

  liability, negligence, or fault of the Released Parties, or any of them;

                  (b)     is, may be deemed, or shall be used, offered or received against any

  Released Party, as an admission, concession or evidence of any fault, misrepresentation or

  omission with respect to any statement or written document approved or made by the Released

  Parties, or any of them;

                  (c)     is, may be deemed, or shall be used, offered or received against the

  Released Parties, or each or any of them, as an admission or concession with respect to any

  liability, negligence, fault or wrongdoing or statutory meaning (including but not limited to the

  definitions of Michigan Subscriber Information and Settlement Class) as against any Released

  Parties, or supporting the certification of a litigation class, in any civil, criminal or administrative

  proceeding in any court, administrative agency or other tribunal. However, the settlement, this

  Agreement, and any acts performed and/or documents executed in furtherance of or pursuant to

  this Agreement and/or Settlement may be used in any proceedings as may be necessary to

  effectuate the provisions of this Agreement. Further, if this Settlement Agreement is approved

  by the Court, any Party or any of the Released Parties may file this Agreement and/or the Final

  Judgment in any action that may be brought against such Party or Parties in order to support a




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  defense or counterclaim based on principles of res judicata, collateral estoppel, release, good

  faith settlement, judgment bar or reduction, or any other theory of claim preclusion or issue

  preclusion or similar defense or counterclaim;

                 (d)     is, may be deemed, or shall be construed against Plaintiffs, the Settlement

  Class, the Releasing Parties, or each or any of them, or against the Released Parties, or each or

  any of them, as an admission or concession that the consideration to be given hereunder

  represents an amount equal to, less than or greater than that amount that could have or would

  have been recovered after trial; and

                 (e)     is, may be deemed, or shall be construed as or received in evidence as an

  admission or concession against Plaintiffs, the Settlement Class, the Releasing Parties, or each

  and any of them, or against the Released Parties, or each or any of them, that any of Plaintiffs’

  claims are with or without merit or that damages recoverable in the Action would have exceeded

  or would have been less than any particular amount.

         10.5    The Parties acknowledge that (a) any certification of the Settlement Class as set

  forth in this Agreement, including certification of the Settlement Class for settlement purposes in

  the context of Preliminary Approval, shall not be deemed a concession that certification of a

  litigation class is appropriate, or that the Settlement Class definition would be appropriate for a

  litigation class, nor would Defendant be precluded from challenging class certification in further

  proceedings in the Action or in any other action if the Settlement Agreement is not finalized or

  finally approved; (b) if the Settlement Agreement is not finally approved by the Court for any

  reason whatsoever, then any certification of the Settlement Class will be void, the Parties and the

  Action shall be restored to the status quo ante, and no doctrine of waiver, estoppel or preclusion

  will be asserted in any litigated certification proceedings in the Action or in any other action; and




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  (c) no agreements made by or entered into by Defendant in connection with the Settlement may

  be used by Plaintiffs, any person in the Settlement Class, or any other person to establish any of

  the elements of class certification in any litigated certification proceedings, whether in the Action

  or any other judicial proceeding.

         10.6    No person or entity shall have any claim against the Class Representatives, Class

  Counsel, the Settlement Administrator or any other agent designated by Class Counsel, or the

  Released Parties and/or their counsel, arising from distributions made substantially in accordance

  with this Agreement. The Parties and their respective counsel, and all other Released Parties

  shall have no liability whatsoever for the investment or distribution of the Settlement Fund or the

  determination, administration, calculation, or payment of any claim or nonperformance of the

  Settlement Administrator, the payment or withholding of taxes (including interest and penalties)

  owed by the Settlement Fund, or any losses incurred in connection therewith.

         10.7    All proceedings with respect to the administration, processing and determination

  of Claims and the determination of all controversies relating thereto, including disputed

  questions of law and fact with respect to the validity of Claims, shall be subject to the

  jurisdiction of the Court.

         10.8    The headings used herein are used for the purpose of convenience only and are

  not meant to have legal effect.

         10.9    The waiver by one Party of any breach of this Agreement by any other Party shall

  not be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

         10.10 All of the Exhibits to this Agreement are material and integral parts thereof and

  are fully incorporated herein by this reference.




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           10.11 This Agreement and its Exhibits set forth the entire agreement and understanding

  of the Parties with respect to the matters set forth herein, and supersede all prior negotiations,

  agreements, arrangements and undertakings with respect to the matters set forth herein. No

  representations, warranties or inducements have been made to any Party concerning this

  Settlement Agreement or its Exhibits other than the representations, warranties and covenants

  contained and memorialized in such documents. This Agreement may be amended or modified

  only by a written instrument signed by or on behalf of all Parties or their respective successors-

  in-interest.

           10.12 Except as otherwise provided herein, each Party shall bear its own costs.

           10.13 Plaintiffs represent and warrant that they have not assigned any claim or right or

  interest therein as against the Released Parties to any other Person or Party and that they are fully

  entitled to release the same.

           10.14 Each counsel or other Person executing this Settlement Agreement, any of its

  Exhibits, or any related settlement documents on behalf of any Party hereto, hereby warrants and

  represents that such Person has the full authority to do so and has the authority to take

  appropriate action required or permitted to be taken pursuant to the Agreement to effectuate its

  terms.

           10.15 This Agreement may be executed in one or more counterparts. Signature by

  digital means, facsimile, or in PDF format will constitute sufficient execution of this Agreement.

  All executed counterparts and each of them shall be deemed to be one and the same instrument.

  A complete set of original executed counterparts shall be filed with the Court if the Court so

  requests.




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         10.16 This Settlement Agreement shall be binding upon, and inure to the benefit of, the

  successors and assigns of the Parties hereto and the Released Parties.

         10.17 The Court shall retain jurisdiction with respect to implementation and

  enforcement of the terms of this Agreement, and all Parties hereto submit to the jurisdiction of

  the Court for purposes of implementing and enforcing the settlement embodied in this

  Agreement.

         10.18 This Settlement Agreement shall be governed by and construed in accordance

  with the laws of the State of Michigan.

         10.19 This Agreement is deemed to have been prepared by counsel for all Parties, as a

  result of arm’s-length negotiations among the Parties. Because all Parties have contributed

  substantially and materially to the preparation of this Agreement, it shall not be construed more

  strictly against one Party than another.

         10.20 Where this Agreement requires notice to the Parties, such notice shall be sent to

  the undersigned counsel: E. Powell Miller, The Miller Law Firm, P.C., 950 W. University

  Drive, Suite 300, Rochester, MI 48307; Kathy R. Neal, McAfee & Taft, P.C., Williams Center

  Tower II, Two West Second Street, Suite 1100, Tulsa, OK 74103.



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  IT IS SO AGREED TO BY THE PARTIES:
          May 26, 2023
  Dated: _________________      RICHARD PRATT


                                              Richard Pratt
                                      By: Richard Pratt (May 26, 2023 14:16 EDT)

                                      Richard Pratt, individually and as representative of
                                      the Class



  Dated: _________________      LARRY JONES



                                      By:

                                      Larry Jones, individually and as representative of
                                      the Class



  Dated: _________________      KSE SPORTSMAN MEDIA, INC. D/B/A OUTDOOR
                                SPORTSMAN GROUP



                                      By:

                                      Name
                                      Its:
                                      KSE Sportsman Media, Inc. d/b/a Outdoor
                                      Sportsman Group


  IT IS SO STIPULATED BY COUNSEL:


  Dated: _________________      THE MILLER LAW FIRM, P.C.


                                      By: _____________________________

                                      E. Powell Miller
                                      epm@millerlawpc.com
                                      THE MILLER LAW FIRM, P.C.
                                      950 W. University Drive, Suite 300


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  IT IS SO AGREED TO BY THE PARTIES:

  Dated: _________________      RICHARD PRATT



                                      By:

                                      Richard Pratt, individually and as representative of
                                      the Class


          May 26, 2023
  Dated: _________________      LARRY JONES


                                            Larry J Jones
                                      By:   Larry J Jones (May 26, 2023 14:38 EDT)




                                      Larry Jones, individually and as representative of
                                      the Class



  Dated: _________________      KSE SPORTSMAN MEDIA, INC. D/B/A OUTDOOR
                                SPORTSMAN GROUP



                                      By:

                                      Name
                                      Its:
                                      KSE Sportsman Media, Inc. d/b/a Outdoor
                                      Sportsman Group


  IT IS SO STIPULATED BY COUNSEL:


  Dated: _________________      THE MILLER LAW FIRM, P.C.


                                      By: _____________________________

                                      E. Powell Miller
                                      epm@millerlawpc.com
                                      THE MILLER LAW FIRM, P.C.
                                      950 W. University Drive, Suite 300


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         Case 1:21-cv-11404-TLL-PTM         ECF No. 79-2, PageID.1689 Filed 08/17/23 Page 56 of 150




             IT IS SO AGREED TO BY THE PARTIES:

             Dated: _________________       RICHARD PRATT



                                                  By:

                                                  Richard Pratt, individually and as representative of
                                                  the Class



             Dated: _________________       LARRY JONES



                                                  By:

                                                  Larry Jones, individually and as representative of
                                                  the Class


                        
             Dated: _________________       KSE SPORTSMAN MEDIA, INC. D/B/A OUTDOOR
                                            SPORTSMAN GROUP



                                                  By:
                                                            
                                                  Name
                                                  Its:  
                                                  KSE Sportsman Media, Inc. d/b/a Outdoor
                                                  Sportsman Group


             IT IS SO STIPULATED BY COUNSEL:


             Dated: _________________       THE MILLER LAW FIRM, P.C.


                                                  By: _____________________________

                                                  E. Powell Miller
                                                  epm@millerlawpc.com
                                                  THE MILLER LAW FIRM, P.C.
                                                  950 W. University Drive, Suite 300


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                                      Rochester, MI 48307
                                      Tel: (248) 841-2200

         May 26, 2023
  Dated: _________________      BURSOR & FISHER, PA


                                      By: _____________________________

                                      Joseph I. Marchese
                                      jmarchese@bursor.com
                                      Philip L. Fraietta
                                      pfraietta@bursor.com
                                      BURSOR & FISHER, PA
                                      1330 Avenue of the Americas, 32nd Floor
                                      New York, New York 10019
                                      Tel: (646) 837-7150
                                      Fax: (212) 989-9163

  Dated: _________________
          May 26, 2023          HEDIN HALL LLP


                                      By: _____________________________

                                      Frank S. Hedin
                                      fhedin@hedinhall.com
                                      Arun G. Ravindran
                                      aravindran@hedinhall.com
                                      HEDIN HALL LLP
                                      1395 Brickell Avenue, Suite 1140
                                      Miami, Florida 33131
                                      Tel: (305) 357-2107
                                      Fax: (305) 200-8801

                                      Attorneys for Class Representatives and the
                                      Settlement Class

  Dated: _________________      MCAFEE & TAFT, P.C.



                                      By:

                                      Mary Quinn Cooper
                                      maryquinn.cooper@mcafeetaft.com
                                      Kathy R. Neal
                                      kathy.neal@mcafeetaft.com
                                      Katie G. Crane


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                                      katie.crane@mcafeetaft.com
                                      MCAFEE & TAFT, P.C.
                                      Williams Center Tower II
                                      Two West Second Street, Suite 1100
                                      Tulsa, Oklahoma 74103
                                      Tel: (918) 587-0000
                                      Fax : (918) 599-9317

                                      Attorney for Defendant KSE Sportsman Media, Inc.
                                      d/b/a Outdoor Sportsman Group




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                                                            EXHIBIT A
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            CLASS LIST - AVAILABLE
            FOR IN-CAMERA REVIEW
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                                                              EXHIBIT B
Case 1:21-cv-11404-TLL-PTM ECF No. 79-2, PageID.1697 Filed 08/17/23 Page 64 of 150




  From: KSEMagazineSettlement@KSEMagazinesettlement.com
  To:   JonQClassMember@domain.com
  Re:   Legal Notice of Class Action Settlement

                  NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
                Pratt v. KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman Group,
                                 Case No. 1:21-cv-11404-TLL-PTM
                  (United States District Court for the Eastern District of Michigan)

  This notice is to inform you of the settlement of a class action lawsuit with publisher KSE
  Sportsman Media, Inc. d/b/a Outdoor Sportsman Group (“KSE”), the Defendant in this case.
  Plaintiffs Richard Pratt and Larry Jones allege that Defendant disclosed its customers’ subscription
  information to third parties which is alleged to violate Michigan privacy law. While KSE believes
  that its practices were in compliance with Michigan law, KSE chose to settle this case,
  without admitting liability, to focus time, effort and resources on continuing to provide
  valued content to its readers, and not on additional legal fees and the uncertainty of litigation.

  Am I a Class Member? Yes. Our records indicate you are a Class Member. Class Members are
  direct purchasers whose information was included on the lists obtained in discovery that were
  transmitted to third parties between June 16, 2015 and July 30, 2016, and thus that have standing,
  which are reflected on the Class List, which can be found [hyperlink]. Excluded from the
  Settlement Class are (1) any Judge or Magistrate presiding over this Action and members of their
  families; (2) the Defendant, Defendant’s subsidiaries, parent companies, successors, predecessors,
  and any entity in which the Defendant or its parents have a controlling interest and their current or
  former officers, directors, agents, attorneys, and employees; (3) persons who properly execute and
  file a timely request for exclusion from the class; and (4) the legal representatives, successors or
  assigns of any such excluded persons.

  What Can I Get? A Settlement Fund of $9,500,000 has been established to pay all cash awards
  to the Settlement Class, together with notice and administration expenses, approved attorneys’ fees
  and costs to Class Counsel, and service awards to the Plaintiffs. If you received a postcard Notice,
  you do not need to submit a Claim Form to receive payment, and you will receive a pro rata share
  of the Settlement Fund, which Class Counsel estimates to will be for approximately $420 per class
  member. The exact amount of the share of the Settlement Fund that you will receive depends on
  the number of requests for exclusion that are received. If you did not receive a postcard Notice
  concerning the Settlement sent to you by postal mail, you must submit a Claim Form (see
  instructions below) in order to receive a share of the Settlement Fund as described above.
  Additionally, as part of the Settlement, KSE has agreed to refrain, in perpetuity, from disclosing
  to any third party the subscription information of any subscribers to any of its publications who
  reside in Michigan.

  How Do I Get a Payment? Unless you received a postcard Notice concerning the Settlement sent
  to you by postal mail, you must complete and submit a Claim Form to receive a pro rata share of
  the Settlement Fund, which Class Counsel estimates will be approximately $420. You may submit
  a Claim Form either electronically on the Settlement Website by clicking here [insert hyperlink],
  or by printing and mailing in a paper Claim Form, copies of which are available for download here
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  [insert hyperlink]. Claim Forms must be submitted online by 11:59 p.m. EST on [date] or
  postmarked and mailed by [date].

  What are My Other Options? You may exclude yourself from the Class by sending a letter to
  the settlement administrator postmarked no later than [objection/exclusion deadline]. If you
  exclude yourself, you cannot get a settlement payment, but you keep any rights you may have to
  sue the Defendant over the legal issues in the lawsuit. You and/or your lawyer have the right to
  appear before the Court and/or object to the proposed settlement. Your written objection must be
  filed no later than [objection/exclusion deadline]. Specific instructions about how to object to, or
  exclude yourself from, the Settlement are available at [www.KSEMagazineSettlement.com]. If
  you do nothing, and the Court approves the Settlement, you will be bound by all of the Court’s
  orders and judgments. In addition, your claims relating to the alleged disclosure of subscriber
  information in this case against the Defendant will be released.

  Who Represents Me? The Court has appointed E. Powell Miller of The Miller Law Firm, P.C.,
  Joseph I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A., and Frank S. Hedin and Arun
  G. Ravindran of Hedin Hall LLP to represent the class. These attorneys are called Class Counsel.
  You will not be charged for these lawyers. If you want to be represented by your own lawyer in
  this case, you may hire one at your expense.

  When Will the Court Consider the Proposed Settlement? The Court will hold the Final
  Approval Hearing at [time] on [date] at the United States Post Office Building, 1000 Washington
  Avenue, Room 214, Bay City, MI 48708. At that hearing, the Court will: hear any objections
  concerning the fairness of the settlement; determine the fairness of the settlement; decide whether
  to approve Class Counsel’s request for attorneys’ fees and costs; and decide whether to award the
  Class Representatives $1,500 each from the Settlement Fund for their services in helping to bring
  and settle this case. Defendant has agreed that Class Counsel may be paid reasonable attorneys’
  fees from the Settlement Fund in an amount to be determined by the Court. Class Counsel is
  entitled to seek no more than 35% of the Settlement Fund, but the Court may award less than this
  amount.

  How Do I Get More Information? For more information, including a more detailed Notice, a
  copy      of     the    Settlement   Agreement    and       other     documents,       go    to
  www.KSEMagazineSettlement.com, contact the settlement administrator by calling (800) 000-
  000 or by writing to KSE Magazine Settlement Administrator, [address], or contact Class Counsel
  by calling [insert phone number].
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                                                              EXHIBIT C
Case 1:21-cv-11404-TLL-PTM         ECF No. KSE
      COURT AUTHORIZED NOTICE OF CLASS
                                           79-2,  PageID.1700 Filed 08/17/23 Page 67 of 150
                                               Magazine Settlement
       ACTION AND PROPOSED SETTLEMENT   Settlement Administrator
                                        P.O. Box 0000
                                        City, ST 00000-0000

         OUR RECORDS
      INDICATE YOU HAVE
     SUBSCRIBED TO A KSE
       PUBLICATION AND
     MAY BE ENTITLED TO                 |||||||||||||||||||||||
      A PAYMENT FROM A                  Postal Service: Please do not mark barcode
         CLASS ACTION
         SETTLEMENT.                    XXX—«ClaimID» «MailRec»

                                        «First1» «Last1»
                                        «C/O»
                                        «Addr1» «Addr2»
                                        «City», «St» «Zip» «Country»


                                                                              By Order of the Court Dated: [date]
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                                                                 KSE MAGAZINE SETTLEMENT


     A settlement has been reached in a class action lawsuit claiming that Defendant, publisher KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman Group
     (“KSE”), disclosed its customers’ subscription information to third parties, which is alleged to violate Michigan privacy law. While KSE believes that its
     practices were in compliance with Michigan law, KSE chose to settle this case, without admitting liability, to focus time, effort and resources on
     continuing to provide valued content to its readers, and not on additional legal fees and the uncertainty of litigation.
     Am I a Class Member? Our records indicate you are a Class Member. Class Members are direct purchasers whose information was included on the lists
     obtained in discovery that were transmitted to third parties between June 16, 2015 and July 30, 2016, and thus that have standing, which are reflected on
     the Class List, which can be found [hyperlink].
     What Can I Get? If approved by the Court, a Settlement Fund of $9,500,000.00 has been established to pay all cash awards to the Settlement Class,
     together with notice and administration expenses, approved attorneys’ fees and costs to Class Counsel, and a service award to the Plaintiffs. Once the
     Settlement becomes Final, you will receive a pro rata share of the Settlement Fund, which Class Counsel estimates will be approximately $420 per class
     member, although the final amount you receive will also depend on the number of requests for exclusion submitted. Additionally, as part of the Settlement,
     KSE has agreed to refrain, in perpetuity, from disclosing to any third party the subscription information of any subscribers to any of its publications who
     reside in Michigan.
     How Do I Get a Payment? If you are a Class Member, you will automatically receive a pro rata share of the Settlement Fund, so long as you do not
     request to be excluded from the Settlement Class. Your payment will come by check, sent to the following address: [insert Settlement Class Member’s
     address to which check will be sent]. If you no longer reside at this address or are planning to change addresses prior to [insert date 28 days after final
     approval hearing date], please complete and submit a change of address form accessible on the Settlement Website so that your check is sent to the correct
     address. If you wish to receive your payment via PayPal or Venmo, you may do so by submitting an Election Form on the Settlement Website.
     What are My Other Options? You may exclude yourself from the Class by submitting an online form on the Settlement Website no later than 11:59 p.m.
     on [objection/exclusion deadline] or by sending a letter to the settlement administrator postmarked no later than [objection/exclusion deadline]. If you
     exclude yourself, you cannot get a settlement payment, but you keep any rights you may have to sue the Defendant over the legal issues in the lawsuit. You
     and/or your lawyer have the right to appear before the Court and/or object to the proposed settlement. Any written objection must be filed no later than
     [objection/exclusion deadline]. Specific instructions about how to object to, or exclude yourself from, the Settlement are available at
     www.KSEMagazineSettlement.com. If you do nothing, and the Court approves the Settlement, you will be bound by all of the Court’s orders and
     judgments. In addition, your claims relating to the alleged disclosure of subscriber information in this case against the Defendant and others will be released.
     Who Represents Me? The Court has appointed E. Powell Miller of The Miller Law Firm, P.C., Joseph I. Marchese and Philip L. Fraietta of Bursor &
     Fisher, P.A., and Frank S. Hedin and Arun G. Ravindran of Hedin Hall LLP to represent the class. These attorneys are called Class Counsel. You will not
     be charged for these lawyers. If you want to be represented by your own lawyer in this case, you may hire one at your expense.
     When Will the Court Consider the Proposed Settlement? The Court will hold the Final Approval Hearing at [time] on [date] at the United States Post
     Office Building, 1000 Washington Avenue, Room 214, Bay City, MI 48708. At that hearing, the Court will: hear any objections concerning the fairness of
     the settlement; determine the fairness of the settlement; decide whether to approve Class Counsel’s request for attorneys’ fees and costs; and decide whether
     to award the Class Representatives $1,500 each from the Settlement Fund for their services in helping to bring and settle this case. Defendant has agreed
     to pay Class Counsel reasonable attorneys’ fees in an amount to be determined by the Court. Class Counsel is entitled to seek no more than 35% of the
     Settlement Fund, but the Court may award less than this amount.
     How Do I Get More Information? For more information, including the full Notice, Claim Form, and Settlement Agreement go to
     www.KSEMagazineSettlement.com, contact the settlement administrator by calling (800) 000-0000 or writing to KSE Magazine Settlement
     Administrator, [address], or contact Class Counsel by calling [insert phone number].
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                           KSE Magazine Settlement Administrator
                           c/o [Settlement Administrator]
                           PO Box 0000
                           City, ST 00000-0000




     XXX
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                                                              EXHIBIT D
Case 1:21-cv-11404-TLL-PTM ECF No. 79-2, PageID.1704 Filed 08/17/23 Page 71 of 150




             UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN
                 Pratt v. KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman Group,
                                 Case No. 1:21-cv-11404-TLL-PTM

  A court authorized this notice. You are not being sued. This is not a solicitation from a lawyer.

  •     A Settlement has been reached in a class action lawsuit against publisher KSE Sportsman
        Media, Inc. d/b/a Outdoor Sportsman Group (“KSE”). The class action lawsuit involves
        whether KSE disclosed its customers’ subscription information to third parties, which is
        alleged to violate Michigan privacy law.

  •     While KSE believes that its practices were in compliance with Michigan law, KSE
        chose to settle this case, without admitting liability, to focus time, effort and
        resources on continuing to provide valued content to its readers, and not on
        additional legal fees and the uncertainty of litigation.

  •     You are included if you are a direct purchaser whose information was included on the
        lists obtained in discovery that were transmitted to third parties between June 16, 2015
        and July 30, 2016, and thus that have standing, which are reflected on the Class List,
        which can be found [hyperlink]. Excluded from the Settlement Class are (1) any Judge
        or Magistrate presiding over this Action and members of their families; (2) the
        Defendant, Defendant’s subsidiaries, parent companies, successors, predecessors, and
        any entity in which the Defendant or its parents have a controlling interest and their
        current or former officers, directors, agents, attorneys, and employees; (3) persons who
        properly execute and file a timely request for exclusion from the class; and (4) the legal
        representatives, successors or assigns of any such excluded persons.

  •     Those included in the Settlement will be eligible to receive a pro rata (meaning equal)
        portion of the Settlement Fund, which Class Counsel anticipates to be approximately
        $420.

  •     Read this notice carefully. Your legal rights are affected whether you act, or don’t act.

             YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
      DO NOTHING   You will receive a pro rata share of the Settlement benefits – estimated to
                   be approximately $420 – and will give up your rights to sue the
                   Defendant about the claims in this case.
      EXCLUDE      You will receive no benefits, but you will retain any rights you currently
      YOURSELF     have to sue the Defendant about the claims in this case.
      OBJECT              Write to the Court explaining why you don’t like the Settlement.
      GO TO THE           Ask to speak in Court about your opinion of the Settlement.
      HEARING

     These rights and options—and the deadlines to exercise them—are explained in this
  Notice.

  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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                                      BASIC INFORMATION

   1. Why was this Notice issued?

       A Court authorized this notice because you have a right to know about a proposed
       Settlement of this class action lawsuit and about all of your options, before the Court
       decides whether to give final approval to the Settlement. This Notice explains the
       lawsuit, the Settlement, and your legal rights.

       The Honorable Thomas L. Ludington, of the U.S. District Court for the Eastern District
       of Michigan, is overseeing this case. The case is called Pratt v. KSE Sportsman Media,
       Inc. d/b/a Outdoor Sportsman Group, Case No. 1:21-cv-11404-TLL-PTM. The people
       who sued are called the Plaintiffs. The Defendant is KSE Sportsman Media, Inc. d/b/a
       Outdoor Sportsman Group.

   2. What is a class action?

       In a class action, one or more people called class representatives (in this case, Richard
       Pratt and Larry Jones) sue on behalf of a group or a “class” of people who have similar
       claims. In a class action, the court resolves the issues for all class members, except for
       those who exclude themselves from the Class.

   3. What is this lawsuit about?

       This lawsuit claims that Defendant violated Michigan’s Preservation of Personal
       Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378 §§ 1-4, id. § 5, added by
       H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich. 1989) (the “PPPA”), by
       disclosing information related to its customers’ magazine subscriptions to third parties
       between June 16, 2015 and July 30, 2016. The Defendant denies it violated any law.
       The Court has not determined who is right. Rather, the Parties have agreed to settle the
       lawsuit to avoid the uncertainties and expenses associated with ongoing litigation.

   4. Why is there a Settlement?

       The Court has not decided whether the Plaintiffs or the Defendant should win this case.
       Instead, both sides agreed to a Settlement. That way, they avoid the uncertainties and
       expenses associated with ongoing litigation, and Class Members will get compensation
       sooner rather than, if at all, after the completion of a trial.

                          WHO’S INCLUDED IN THE SETTLEMENT?

  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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   5. How do I know if I am in the Settlement Class?

       The Court decided that everyone who fits the following description is a member of the
       Settlement Class:

       The 14,503 direct purchasers whose information was included on the lists obtained in
       discovery that were transmitted to third parties between June 16, 2015 and July 30,
       2016, and thus that have standing, which are reflected on the Class List, attached hereto
       as Exhibit A [hyperlink].

       Excluded from the Settlement Class are (1) any Judge or Magistrate presiding over this
       Action and members of their families; (2) the Defendant, Defendant’s subsidiaries,
       parent companies, successors, predecessors, and any entity in which the Defendant or
       its parents have a controlling interest and their current or former officers, directors,
       agents, attorneys, and employees; (3) persons who properly execute and file a timely
       request for exclusion from the class; and (4) the legal representatives, successors or
       assigns of any such excluded persons.

                                 THE SETTLEMENT BENEFITS

   6. What does the Settlement provide?

       Monetary Relief: A Settlement Fund has been created totaling $9,500,000.00. Class
       Member payments, the cost to administer the Settlement, the cost to inform people
       about the Settlement, attorneys’ fees (inclusive of litigation costs), and awards to the
       Class Representatives will also come out of this fund (see Question 12).

       Prospective Relief: As part of the Settlement, KSE has agreed to refrain, in perpetuity,
       from disclosing to any third party the subscription information of any subscribers to
       any of its publications who reside in Michigan.

       A detailed description of the settlement benefits can be found in the Settlement
       Agreement, a copy of which is accessible on the Settlement Website by clicking here.
       [insert hyperlink]

   7. How much will my payment be?

       The amount of this payment will depend on how many requests for exclusion are
       submitted. Each Class Member will receive a proportionate share of the Settlement
       Fund, which Class Counsel anticipates will be approximately $420. You can contact
       Class Counsel at [insert phone number] to inquire as to the number of requests for
       exclusion that have been received to date.

   8. When will I get my payment?


  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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       The hearing to consider the fairness of the settlement is scheduled for [Final Approval
       Hearing Date]. If the Court approves the settlement, eligible Class Members will
       receive their payment 28 days after the Settlement has been finally approved and/or
       after any appeals process is complete. The payment will be made in the form of a
       check, and all checks will expire and become void 180 days after they are issued.
       Alternatively, you may request that the payment is issued through PayPal or Venmo
       (see Question 9 below for further details).

                                    HOW TO GET BENEFITS

   9. How do I get a payment?

       If you are a Class Member who received a Notice via postcard and you want to get a
       payment, do nothing and you will automatically receive a pro rata share of the
       Settlement Fund, which Class Counsel anticipates will be approximately $420. Your
       check for a pro rata share of the Settlement Fund will be sent to the postal address
       identified in the Notice you received. If you have changed addresses or are planning
       to change addresses prior to [insert date 28 days after final approval hearing date],
       please click here [insert hyperlink] to complete and submit a change of address form
       on the Settlement Website. If you wish to receive your payment via PayPal or Venmo,
       you may do so by submitting an Election Form on the Settlement Website.

       If you are a Settlement Class Member who did not receive a Notice via postcard and
       you want to get a payment, you must complete and submit a Claim Form. You may
       submit a Claim Form either electronically on the Settlement Website by clicking here
       [insert hyperlink], or by printing and mailing in a paper Claim Form, copies of which
       are available for download here [insert hyperlink]. Claim Forms must be submitted
       online by 11:59 p.m. EST on [date] or postmarked and mailed by [date].

                              REMAINING IN THE SETTLEMENT

   10. What am I giving up if I stay in the Class?

       If the Settlement becomes final, you will give up your right to sue the Defendant and
       other Released Parties for the claims being resolved by this Settlement. The specific
       claims you are giving up against the Defendant are described in the Settlement
       Agreement. You will be “releasing” the Defendant and certain of its affiliates,
       employees and representatives as described in Section 1.28 of the Settlement
       Agreement. Unless you exclude yourself (see Question 13), you are “releasing” the
       claims. The Settlement Agreement is available through the “court documents” link on
       the website.

       The Settlement Agreement describes the released claims with specific descriptions, so
       read it carefully. If you have any questions you can talk to the lawyers listed in


  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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       Question 11 for free or you can, of course, talk to your own lawyer if you have
       questions about what this means.




                            THE LAWYERS REPRESENTING YOU

    11. Do I have a lawyer in the case?

       The Court has appointed E. Powell Miller of The Miller Law Firm, P.C., Joseph I.
       Marchese and Philip L. Fraietta of Bursor & Fisher, P.A., and Frank S. Hedin and Arun
       G. Ravindran of Hedin Hall LLP to represent the class. They are called “Class
       Counsel.” They believe, after conducting an extensive investigation, that the
       Settlement Agreement is fair, reasonable, and in the best interests of the Settlement
       Class. You will not be charged for these lawyers. If you want to be represented by your
       own lawyer in this case, you may hire one at your expense.

    12. How will the lawyers be paid?

       The Defendant has agreed that Class Counsel attorneys’ fees and costs may be paid out
       of the Settlement Fund in an amount to be determined by the Court. The fee petition
       will seek no more than 35% of the Settlement Fund, inclusive of reimbursement of their
       costs and expenses; the Court may award less than this amount. Under the Settlement
       Agreement, any amount awarded to Class Counsel will be paid out of the Settlement
       Fund.

       Subject to approval by the Court, Defendant has agreed that the Class Representatives
       may be paid a service award of $1,500 each from the Settlement Fund for their services
       in helping to bring and resolve this case.

                     EXCLUDING YOURSELF FROM THE SETTLEMENT

    13. How do I get out of the Settlement?

       To exclude yourself from the Settlement, you must submit a request for exclusion by
       11:59 p.m. EST on [objection/exclusion deadline]. Requests for exclusion may be
       submitted either on the Settlement Website (via the online form accessible here [insert
       hyperlink]) or by mailing or otherwise delivering a letter (or request for exclusion)
       stating that you want to be excluded from the Pratt v. KSE Sportsman Media, Inc. d/b/a
       Outdoor Sportsman Group, Case No. 1:21-cv-11404-TLL-PTM settlement. Your
       letter or request for exclusion must also include your name, your address, the title of
       the publication(s) to which you subscribed, your signature, the name and number of
       this case, and a statement that you wish to be excluded. If you choose to submit a

  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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       request for exclusion by mail, you must mail or deliver your exclusion request,
       postmarked no later than [objection/exclusion deadline], to the following address:

                                        KSE Magazine Settlement
                                             0000 Street
                                            City, ST 00000

   14. If I don’t exclude myself, can I sue the Defendant for the same thing later?

       No. Unless you exclude yourself, you give up any right to sue the Defendant for the
       claims being resolved by this Settlement.

   15. If I exclude myself, can I get anything from this Settlement?

       No. If you exclude yourself, you will not receive a pro rata share of the Settlement
       Fund.

                               OBJECTING TO THE SETTLEMENT

    16. How do I object to the Settlement?

       If you are a Class Member, you can object to the Settlement if you don’t like any part
       of it. You can give reasons why you think the Court should not approve it. The Court
       will consider your views. To object, you must file with the Court a letter or brief stating
       that you object to the Settlement in Pratt v. KSE Sportsman Media, Inc. d/b/a Outdoor
       Sportsman Group, Case No. 1:21-cv-11404-TLL-PTM and identify all your reasons
       for your objections (including citations and supporting evidence) and attach any
       materials you rely on for your objections. Your letter or brief must also include your
       name, your address, the basis upon which you claim to be a Class Member (including
       the title of the publication(s) which you purchased or to which you subscribed), the
       name and contact information of any and all attorneys representing, advising, or in any
       way assisting you in connection with your objection, and your signature. If you, or an
       attorney assisting you with your objection, have ever objected to any class action
       settlement where you or the objecting attorney has asked for or received payment in
       exchange for dismissal of the objection (or any related appeal) without modification to
       the settlement, you must include a statement in your objection identifying each such
       case by full case caption. You must also mail or deliver a copy of your letter or brief to
       Class Counsel and Defendant’s Counsel listed below.

       Class Counsel will file with the Court and post on this website its request for attorneys’
       fees by [two weeks prior to objection deadline].

       If you want to appear and speak at the Final Approval Hearing to object to the
       Settlement, with or without a lawyer (explained below in answer to Question Number
       20), you must say so in your letter or brief. File the objection with the Court (or mail
       the objection to the Court) and mail a copy of the objection to Class Counsel and
  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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       Defendant’s Counsel, at the addresses below, postmarked no later than [objection
       deadline].




                  Court                         Class Counsel                    Defendant’s
                                                                                 Counsel
   The Honorable Thomas L.                 E. Powell Miller                Kathy R. Neal
   Ludington                               The Miller Law Firm, P.C.       McAfee & Taft, P.C.
   United States District Court            950 W. University Drive,        Williams Center Tower II
   for the Eastern District of             Suite 300                       Two West Second Street,
   Michigan                                Rochester, MI 48307             Suite 1100
   1000 Washington Avenue,                                                 Tulsa, OK 74103
   Room 214, Bay City, MI
   48708

    17. What’s the difference between objecting and excluding myself from the
        Settlement?

       Objecting simply means telling the Court that you don’t like something about the
       Settlement. You can object only if you stay in the Class. Excluding yourself from the
       Class is telling the Court that you don’t want to be part of the Class. If you exclude
       yourself, you have no basis to object because the case no longer affects you.

                          THE COURT’S FINAL APPROVAL HEARING

    18. When and where will the Court decide whether to approve the Settlement?

       The Court will hold the Final Approval Hearing at [time] on [date] at the United States
       Post Office Building, 1000 Washington Avenue, Room 214, Bay City, MI 48708. The
       purpose of the hearing will be for the Court to determine whether to approve the
       Settlement as fair, reasonable, adequate, and in the best interests of the Class; to
       consider the Class Counsel’s request for attorneys’ fees and expenses; and to consider
       the request for service awards to the Class Representatives. At that hearing, the Court
       will be available to hear any objections and arguments concerning the fairness of the
       Settlement.

       The hearing may be postponed to a different date or time without notice, so it is a good
       idea to check for updates by visiting the Settlement Website at
       www.KSEMagazineSettlement.com or calling (800) 000-0000. If, however, you
       timely objected to the Settlement and advised the Court that you intend to appear and
       speak at the Final Approval Hearing, you will receive notice of any change in the date
       of the Final Approval Hearing.

    19. Do I have to come to the hearing?
  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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       No. Class Counsel will answer any questions the Court may have. But, you are
       welcome to come at your own expense. If you send an objection or comment, you
       don’t have to come to Court to talk about it. As long as you filed and mailed your
       written objection on time, the Court will consider it. You may also pay another lawyer
       to attend, but it’s not required.

    20. May I speak at the hearing?

       Yes. You may ask the Court for permission to speak at the Final Approval Hearing.
       To do so, you must include in your letter or brief objecting to the settlement a statement
       saying that it is your “Notice of Intent to Appear in Pratt v. KSE Sportsman Media, Inc.
       d/b/a Outdoor Sportsman Group, Case No. 1:21-cv-11404-TLL-PTM.” It must
       include your name, address, telephone number and signature as well as the name and
       address of your lawyer, if one is appearing for you. Your objection and notice of intent
       to appear must be filed with the Court and postmarked no later than [objection
       deadline], and be sent to the addresses listed in Question 16.

                                GETTING MORE INFORMATION

    21. Where do I get more information?

       This Notice summarizes the Settlement. More details are in the Settlement
       Agreement. You can get a copy of the Settlement Agreement at
       www.KSEMagazineSettlement.com. You may also write with questions to KSE
       Magazine Settlement, P.O. Box 0000, City, ST 00000. You can call the Settlement
       Administrator at (800) 000-0000 or Class Counsel at [insert phone number], if you have
       any questions. Before doing so, however, please read this full Notice carefully. You
       may also find additional information elsewhere on the case website.




  QUESTIONS? CALL (800) 000-0000 TOLL FREE, OR VISIT WWW.KSEMAGAZINESETTLEMENT.COM
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                                                              EXHIBIT E
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                               Pratt v. KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman Group,
                                         Case No. 1:21-cv-11404-TLL-PTM (E.D. Mich.)

                                  CLAIM FORM FOR UNIDENTIFIED CLASS MEMBERS

    This Claim Form may be submitted online at www.KSEMagazineSettlement.com or completed and mailed to the
    address below. Submit your completed Claim Form online or mail it so it is postmarked no later than [DATE]. If
    you received a Notice by mail, you do NOT need to submit a Claim Form, and your Cash Award will be sent to
    you by check at the address identified on the Notice once the Settlement is finally approved. If your address has
    changed, please submit a change of address form online at www.KSEMagazineSettlement.com to ensure your
    check is mailed to your current address.
  I.       CLAIMANT INFORMATION (all fields required)
    The Settlement Administrator will use this information for communications and payments. If this information changes before
    settlement payments are issued, contact the Settlement Administrator at the address below.

    First Name                                                    M.I.    Last Name


       Current Mailing Address, Line 1: Street Address/P.O. Box


       Current Mailing Address, Line 2:


       City:                                                                      State:            Zip Code:


    Preferred Telephone Number
                     -                -
    Preferred Email address



 II.       CLAIM INFORMATION
    Mailing address at which you received your subscription between June 16, 2015 and July 30, 2016:
    Mailing Address, Line 1: Street Address/P.O. Box



    Mailing Address, Line 2:


    City:                                                                         State:            Zip Code:



III.       PREFERRED PAYMENT METHOD
           ___ Check
           ___ PayPal (Associated Email Address: ____________________)
           ___ Venmo (Associated Email Address: ____________________)
IV.        SIGNATURE: Sign and date the Claim Form below.


    Signed:                                                                            Date:
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  Submit this Claim Form online or mail it to the address below postmarked no later than [DATE].

                      KSE Magazine Class Action Settlement Administrator
                               c/o JND Legal Administration
                                         [address]
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                                                               EXHIBIT F-1
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN


   RICHARD PRATT and LARRY JONES,                         Case No. 21-cv-11404-TLL-PTM
   individually and on behalf of all others similarly
   situated,

                                 Plaintiffs,
          v.

   KSE SPORTSMAN MEDIA, INC. d/b/a
   OUTDOOR SPORTSMAN GROUP,

                                 Defendant.


    STIPULATION REGARDING UNDERTAKING RE: ATTORNEYS’ FEES, COSTS,
                           AND EXPENSES

         Plaintiffs Richard Pratt and Larry Jones and Defendant KSE Sportsman Media, Inc. d/b/a

  Outdoor Sportsman Group (“KSE”) (collectively, “the Parties”), by and through and including

  their undersigned counsel, stipulate and agree as follows:

         WHEREAS, The Miller Law Firm, P.C. (the “Firm”) desires to give an undertaking (the

  “Undertaking”) for repayment of its share of the award of attorneys’ fees, costs, and expenses

  approved by the Court, and

         WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

  service of judicial economy and efficiency.

         NOW, THEREFORE, the undersigned counsel, on behalf of himself as individual and as

  agent for his law firm, hereby submits himself and his law firm to the jurisdiction of the Court

  for the purpose of enforcing the provisions of this Undertaking.

         Capitalized terms used herein without definition have the meanings given to them in the

  Settlement Agreement.
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         By receiving any payments pursuant to the Settlement Agreement, the Firm and its

  shareholders, members, and/or partners submit to the jurisdiction of the United States District

  Court for the Eastern District of Michigan for the enforcement of and any and all disputes

  relating to or arising out of the reimbursement obligation set forth herein and the Settlement

  Agreement.

         In the event that the Final Settlement Order and Judgment or any part of it is vacated,

  overturned, reversed, or rendered void as a result of an appeal, or the Settlement Agreement is

  voided, rescinded, or otherwise terminated for any other reason, the Firm shall, within thirty (30)

  days repay to Defendant, based upon written instructions provided by Defendant’s Counsel, the

  full amount of the attorneys’ fees and costs paid to the Firm from the Settlement Fund, including

  any accrued interest.

         In the event the Final Settlement Order and Judgment are upheld, but the attorneys’ fees,

  costs, and expenses awarded by the Court or any part of them are vacated, modified, reversed, or

  rendered void as a result of an appeal, the Firm shall within thirty (30) days repay to the

  Settlement Fund, based upon written instructions provided by the Settlement Administrator, the

  attorneys’ fees and costs paid to the Firm from the Settlement Fund in the amount vacated or

  modified, including any accrued interest.

         This Undertaking and all obligations set forth herein shall expire upon finality of all

  direct appeals of the Final Settlement Order and Judgment.

         In the event the Firm fails to repay to Defendant or to the Settlement Fund any of

  attorneys’ fees and costs that are owed to either pursuant to this Undertaking, the Court shall,

  upon application of KSE, and notice to the Firm, summarily issue orders, including but not




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                                                               EXHIBIT F-2
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN


   RICHARD PRATT and LARRY JONES,                         Case No. 21-cv-11404-TLL-PTM
   individually and on behalf of all others similarly
   situated,

                                 Plaintiffs,
          v.

   KSE SPORTSMAN MEDIA, INC. d/b/a
   OUTDOOR SPORTSMAN GROUP,

                                 Defendant.


    STIPULATION REGARDING UNDERTAKING RE: ATTORNEYS’ FEES, COSTS,
                           AND EXPENSES

         Plaintiffs Richard Pratt and Larry Jones and Defendant KSE Sportsman Media, Inc. d/b/a

  Outdoor Sportsman Group (“KSE”) (collectively, “the Parties”), by and through and including

  their undersigned counsel, stipulate and agree as follows:

         WHEREAS, Bursor & Fisher P.A. (the “Firm”) desires to give an undertaking (the

  “Undertaking”) for repayment of its share of the award of attorneys’ fees, costs, and expenses

  approved by the Court, and

         WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

  service of judicial economy and efficiency.

         NOW, THEREFORE, the undersigned counsel, on behalf of himself as individual and as

  agent for his law firm, hereby submits himself and his law firm to the jurisdiction of the Court

  for the purpose of enforcing the provisions of this Undertaking.

         Capitalized terms used herein without definition have the meanings given to them in the

  Settlement Agreement.
Case 1:21-cv-11404-TLL-PTM ECF No. 79-2, PageID.1722 Filed 08/17/23 Page 89 of 150




         By receiving any payments pursuant to the Settlement Agreement, the Firm and its

  shareholders, members, and/or partners submit to the jurisdiction of the United States District

  Court for the Eastern District of Michigan for the enforcement of and any and all disputes

  relating to or arising out of the reimbursement obligation set forth herein and the Settlement

  Agreement.

         In the event that the Final Settlement Order and Judgment or any part of it is vacated,

  overturned, reversed, or rendered void as a result of an appeal, or the Settlement Agreement is

  voided, rescinded, or otherwise terminated for any other reason, the Firm shall, within thirty (30)

  days repay to Defendant, based upon written instructions provided by Defendant’s Counsel, the

  full amount of the attorneys’ fees and costs paid to the Firm from the Settlement Fund, including

  any accrued interest.

         In the event the Final Settlement Order and Judgment are upheld, but the attorneys’ fees,

  costs, and expenses awarded by the Court or any part of them are vacated, modified, reversed, or

  rendered void as a result of an appeal, the Firm shall within thirty (30) days repay to the

  Settlement Fund, based upon written instructions provided by the Settlement Administrator, the

  attorneys’ fees and costs paid to the Firm from the Settlement Fund in the amount vacated or

  modified, including any accrued interest.

         This Undertaking and all obligations set forth herein shall expire upon finality of all

  direct appeals of the Final Settlement Order and Judgment.

         In the event the Firm fails to repay to Defendant or to the Settlement Fund any of

  attorneys’ fees and costs that are owed to either pursuant to this Undertaking, the Court shall,

  upon application of KSE, and notice to the Firm, summarily issue orders, including but not




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  limited to judgments and attachment orders against the Firm, and may make appropriate findings

  for sanctions for contempt of court.

         The undersigned stipulate, warrant, and represent that he has both actual and apparent

  authority to enter into this stipulation, agreement, and undertaking on behalf of the Firm.

         This Undertaking may be executed in one or more counterparts, each of which shall be

  deemed an original but all of which together shall constitute one and the same instrument.

  Signatures by facsimile shall be as effective as original signatures.

         The undersigned declare under penalty of perjury under the laws of the United States that

  they have read and understand the foregoing and that it is true and correct.

         IT IS SO STIPULATED THROUGH COUNSEL OF RECORD:




          May 26
  DATED: __________, 2023                BURSOR & FISHER, P.A.


                                         _______________________________________
                                         By: Scott A. Bursor, on behalf of Bursor & Fisher, P.A.
                                         Attorneys for Plaintiffs Richard Pratt and Larry Jones and
                                         Class Counsel




  DATED: __________, 2023                MCAFEE & TAFT, P.C.


                                         _______________________________________
                                         By: Kathy R. Neal
                                         Attorneys for Defendant KSE Sportsman Media, Inc. d/b/a
                                         Outdoor Sportsman Group




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                                                               EXHIBIT F-3
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN


   RICHARD PRATT and LARRY JONES,                         Case No. 21-cv-11404-TLL-PTM
   individually and on behalf of all others similarly
   situated,

                                 Plaintiffs,
          v.

   KSE SPORTSMAN MEDIA, INC. d/b/a
   OUTDOOR SPORTSMAN GROUP,

                                 Defendant.


    STIPULATION REGARDING UNDERTAKING RE: ATTORNEYS’ FEES, COSTS,
                           AND EXPENSES

         Plaintiffs Richard Pratt and Larry Jones and Defendant KSE Sportsman Media, Inc. d/b/a

  Outdoor Sportsman Group (“KSE”) (collectively, “the Parties”), by and through and including

  their undersigned counsel, stipulate and agree as follows:

         WHEREAS, Hedin Hall LLP (the “Firm”) desires to give an undertaking (the

  “Undertaking”) for repayment of its share of the award of attorneys’ fees, costs, and expenses

  approved by the Court, and

         WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

  service of judicial economy and efficiency.

         NOW, THEREFORE, the undersigned counsel, on behalf of himself as individual and as

  agent for his law firm, hereby submits himself and his law firm to the jurisdiction of the Court

  for the purpose of enforcing the provisions of this Undertaking.

         Capitalized terms used herein without definition have the meanings given to them in the

  Settlement Agreement.
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         By receiving any payments pursuant to the Settlement Agreement, the Firm and its

  shareholders, members, and/or partners submit to the jurisdiction of the United States District

  Court for the Eastern District of Michigan for the enforcement of and any and all disputes

  relating to or arising out of the reimbursement obligation set forth herein and the Settlement

  Agreement.

         In the event that the Final Settlement Order and Judgment or any part of it is vacated,

  overturned, reversed, or rendered void as a result of an appeal, or the Settlement Agreement is

  voided, rescinded, or otherwise terminated for any other reason, the Firm shall, within thirty (30)

  days repay to Defendant, based upon written instructions provided by Defendant’s Counsel, the

  full amount of the attorneys’ fees and costs paid to the Firm from the Settlement Fund, including

  any accrued interest.

         In the event the Final Settlement Order and Judgment are upheld, but the attorneys’ fees,

  costs, and expenses awarded by the Court or any part of them are vacated, modified, reversed, or

  rendered void as a result of an appeal, the Firm shall within thirty (30) days repay to the

  Settlement Fund, based upon written instructions provided by the Settlement Administrator, the

  attorneys’ fees and costs paid to the Firm from the Settlement Fund in the amount vacated or

  modified, including any accrued interest.

         This Undertaking and all obligations set forth herein shall expire upon finality of all

  direct appeals of the Final Settlement Order and Judgment.

         In the event the Firm fails to repay to Defendant or to the Settlement Fund any of

  attorneys’ fees and costs that are owed to either pursuant to this Undertaking, the Court shall,

  upon application of KSE, and notice to the Firm, summarily issue orders, including but not




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  limited to judgments and attachment orders against the Firm, and may make appropriate findings

  for sanctions for contempt of court.

         The undersigned stipulate, warrant, and represent that he has both actual and apparent

  authority to enter into this stipulation, agreement, and undertaking on behalf of the Firm.

         This Undertaking may be executed in one or more counterparts, each of which shall be

  deemed an original but all of which together shall constitute one and the same instrument.

  Signatures by facsimile shall be as effective as original signatures.

         The undersigned declare under penalty of perjury under the laws of the United States that

  they have read and understand the foregoing and that it is true and correct.

         IT IS SO STIPULATED THROUGH COUNSEL OF RECORD:




  DATED: __________,
         May 26      2023                HEDIN HALL LLP


                                         _______________________________________
                                         By: Frank S. Hedin, on behalf of Hedin Hall LLP
                                         Attorneys for Plaintiffs Richard Pratt and Larry Jones and
                                         Class Counsel




  DATED: __________, 2023                MCAFEE & TAFT, P.C.


                                         _______________________________________
                                         By: Kathy R. Neal
                                         Attorneys for Defendant KSE Sportsman Media, Inc. d/b/a
                                         Outdoor Sportsman Group




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     THE MILLER LAW FIRM
             A Professional Corporation


                                                 950 W. University Dr., Ste. 300
                                                         Rochester, MI 48307
                                                                (248) 841-2200




                                                www.millerlawpc.com
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  The Miller Law Firm, P.C. (the “Firm”) is one of the premier litigation law firms in the United
  States and Michigan’s leading financial class action firm. A recognized leader in the area of
  complex commercial litigation, the Firm is ranked Tier 1 in Detroit by U.S. News-Best Lawyers
  “Best Law Firms” for commercial litigation. Since the Firm’s founding in 1994, the Firm has
  developed a national reputation for successfully prosecuting securities fraud and consumer
  class actions on behalf of its clients. As Lead Counsel or Co-Lead Counsel appointed by
  judges throughout the United States in some of the country’s largest and most complex cases,
  the Firm has achieved over $3 billion in settlements, recoveries and/or verdicts on behalf of
  injured class members.

                                Highlights of Results Obtained

  2023          Cooper (nee Zimmerman) v. The 3M Company and Wolverine
                (United States District Court, Western District of Michigan)
                (Case No. 1:17-cv-01062) (Co-Lead Counsel)

                Result: $54 million settlement

                Reynolds v. FCA
                (United States District Court, Eastern District of Michigan)
                (Case No. 2:19-cv-11745) (Co-Lead Counsel)

                Result: Over $30 million settlement value

                Kain v. The Economist Newspaper NA, Inc.
                (United States District Court, Eastern District of Michigan)
                (Case No. 4:21-cv-11807) (Co-Lead Counsel)

                Result: $9.5 million settlement

                Thomsen v. Morley
                (United States District Court, Eastern District of Michigan)
                (Case No. 1:22-cv-10271) (Plaintiffs’ Executive Committee)

                Result: $4.3 million settlement

  2022          In re; National Prescription Opiate Litigation (CVS, Walgreens and
                Walmart retail pharmacy and two manufacturers Allergan and Teva)
                (United States District Court, Northern District Ohio, MDL Court)
                (Case No. 1:17-md-2804) (Represented several Michigan counties
                who were parties to and benefited from the global settlement)
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              Result: $18.5 billion global settlement plus Narcan or additional
              cash from Teva

              In re EpiPen (Epinephrine Injection, USP) Marketing, Sales
              Practices and Antitrust Litig.,
              (United States District Court, District of Kansas)
              (Case No. 2:17-md-02785) (Plaintiffs’ Steering Committee)

              Result:   $609 million in settlements

              Wood, et al. v. FCA US LLC
              (United States District Court, Eastern District of Michigan)
              (Case No. 5:20-cv-11054) (Co-Lead Counsel)

              Result:   Over $108 million settlement value

              Persad, et al. v. Ford Motor Company
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:17-cv-12599) (Co-Lead Counsel)

              Result: Over $42 million settlement value

              Loftus v. Outside Integrated Media, LLC
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:21-cv-11809) (Co-Lead Counsel)

              Result: Approximately $1 million settlement

              Graham, et al. v. University of Michigan, et al.,
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:21-cv-11168) (Co-Lead Counsel)

              Result: Injunctive relief settlement mandating University reforms to
              address and prevent sexual misconduct

              John Doe MC-1 v. University of Michigan, et. al.
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:20-cv-10568) (Represented several victims of sexual
              abuse in private, confidential settlement)

   2021       In re; National Prescription Opiate Litigation (Distributor and
              Manufacturer Janssen Pharmaceuticals Settlement)
              (United States District Court, Northern District of Ohio, MDL Court)
              (Case No. 1:17-md-2804) (Represented several Michigan counties
              who were parties to and benefited from the global settlement.)

              Result: $26 billion global settlement
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              Simmons, et al. v. Apple, Inc.
              (Superior Court of the State of California, County of Santa Clara)
              (Case No. 17CV312251) (Co-Lead Counsel)

              Result: $9.75 million settlement

              Dougherty v Esperion Therapeutics, Inc., et. Al.
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:16-cv-10089) (Local Counsel)

              Result: $18.25 million settlement

              In re Broiler Chicken Antitrust Litigation
              (United States District Court, Northern District of Illinois, Eastern
              Division) (Case No. 1:16-cv-08637

              Result: $93.5 million in settlements in 2021

   2020       In re Resistors Antitrust Litigation
              (United States District Court, Northern District of California)
              (Case No. 3:15-cv-03820) (Informal member of Steering Committee)

              Result: $33.4 million in settlements in 2020

              In re Capacitors Antitrust Litigation
              (United States District Court, Northern District of California)
              (Case No. 03:17-md-02801) (Informal member of Steering
              Committee)

              Result: $30.95 million in settlements in 2020

   2019       Carl Palazzolo, et al. Fiat Chrysler Automobiles N.V., et al.
              (United States District Court, Eastern District of Michigan)
              (Case No. 16-cv-12803) (Co-Lead Counsel)

              Result: $14.75 million settlement

              Zimmerman v. Diplomat Pharmacy, Inc., et al.
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:16-cv-14005) (Liaison Counsel)

              Result: $14.1 million settlement

   2018       In re Freight Forwarders Antitrust Litigation
              (United States District Court, Eastern District of New York)
              (Case No. 08-cv-00042) (Counsel for Class Representative)
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              Result: $1 billion settlement

   2017       Foster v. L3 Communications, EO Tech
              (United States District Court, Western District of Missouri)
              (Case No. 15-cv-03519) (Co-Lead Counsel)

              Result: $51 million settlement (100% recovery)

   2016       In re Automotive Parts Antitrust Litigation
              (United States District Court, Eastern District of Michigan)
              (Case No. 12-md-02311) (Liaison Counsel)

              Result: Over $1 billion in settlements

              GM Securities Class Action/New York Teachers Retirement System v.
              General Motors Company
              (United States District Court, Eastern District of Michigan)
              (Case No. 4:14-cv-11191) (Local Counsel)

              Result: $300 million settlement

              ERISA Class Action/Davidson v. Henkel Corporation
              (United Sates District Court, Eastern District of Michigan)
              (Case No. 12-cv-14103) (Lead Counsel)

              Result: $3.35 million settlement (100% Recovery for 41 member class)

              Pat Cason-Merenda and Jeffrey A. Suhre v. VHS of Michigan, Inc.,
              dba Detroit Medical Center (Antitrust)
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:06-cv-15601) (Special Trial Counsel)

              Result: $42 million settlement

   2015       In re AIG 2008 Securities Litigation
              (United States District Court, Southern District of New York)
              (Case No. 08-cv-04772) (Co-Lead Counsel)

              Result: $970.5 million settlement

   2014       City of Farmington Hills Employees Retirement System v. Wells
              Fargo Bank, N.A.
              (United States District Court, District of Minnesota)
              (Case No. 10-cv-04372) (Co-Lead Counsel and Primary Trial Counsel)

              Result: $62.5 million settlement approved
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              The Shane Group, Inc., et al. v. Blue Cross Blue Shield of Michigan
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:10-cv-14360) (Co-Lead Counsel)

              Result: $30 million settlement pending final approval

              In re Refrigerant Compressors Antitrust Litigation
              (United States District Court, Eastern District of Michigan)
              (Case No. 09-md-02042) (Co-Lead Counsel)

              Result: $30 million settlement

   2013       The Board of Trustees of the City of Birmingham Employees et. al. v.
              Comerica Bank et. al.
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:09-13201) (Co-Lead Counsel)

              Result: $11 million settlement

              In Re Caraco Pharmaceutical Laboratories, Ltd. Securities Litigation
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:09-cv-12830) (Co-Lead Counsel)

              Result: $2.975 million settlement

              In Re TechTeam Global Inc. Shareholder Litigation
              (Oakland County Circuit Court, State of Michigan)
              (Case No. 10-114863-CB) (Liaison Counsel)

              Result: $1.775 million settlement

              General Retirement System of the City of Detroit and Police and Fire
              Retirement System of the City of Detroit vs. UBS Securities, LLC
              (Structured Investment Vehicle)
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:10-cv-13920) (Lead Counsel)

              Result: Confidential settlement

   2010       Epstein, et al. v. Heartland Industrial Partners, L.P., et al.
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:06-CV-13555) (Substantial role)

              Result: $12.2 million settlement

              In Re Skilled Healthcare Group, Inc. Securities Litigation
              (United States District Court, Central District of California)
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              (Case No. 09-5416) (Substantial role)

              Result: $3 million settlement

   2009       In Re Proquest Company Securities Litigation
              (United States District Court, Eastern District of Michigan)
              (Case No. 4:06-CV-11579) (Substantial role; argued Motion to Dismiss)

              Result: $20 million settlement

              In Re Collins & Aikman Corporation Securities Litigation
              (United States District Court, Eastern District Michigan)
              (Case No. 03-CV-71173) (Substantial role)

              Result: $10.8 million settlement

              In re IT Group Securities Litigation
              (United States District Court, Western District of Pennsylvania)
              (Civil Action No. 03-288) (Co-Lead Counsel)

              Result: $3.4 million settlement

   2008       In re Mercury Interactive Securities Litigation
              (United States District Court, Northern District of California)
              (Civil Action No. 03:05-CV-3395-JF) (Substantial role)

              Result: $117 million settlement

              In Re General Motors Corporation Securities and Derivative Litigation
              (United States District Court, Eastern District of Michigan)
              (Master Case No. 06-MD-1749) (Co-Lead Counsel)

              Status: Obtained major corporate governance reforms to address accounting
              deficiencies

   2007       Wong v. T-Mobile USA, Inc.
              (United States District Court, Eastern District of Michigan)
              (Case No. 05-CV-73922) (Co-Lead)

              Result: Settlement for 100% of damages

              In re CMS Energy Corporation Securities Litigation
              (United States District Court, Eastern District Michigan)
              (Master File No. 2:02 CV 72004) (Substantial role)

              Result: $200 million settlement
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   2005       In re Comerica Securities Fraud Litigation
              (United States District Court, Eastern District of Michigan)
              (Case No. 2:02-CV-60233) (Substantial role)

              Result: $21 million in total settlements

              Street v. Siemens
              (Philadelphia State Court)
              (Case No. 03-885) (Co-Lead Counsel)

              Result: $14.4 million (100% recovery)

              Redmer v. Tournament Players Club of Michigan
              (Wayne County Circuit Court) (Case No. 02-224481-CK) (Co-Lead)

              Result: $3.1 million settlement

   2004       Passucci v. Airtouch Communications, Inc.
              (Wayne County Circuit Court) (Case No. 01-131048-CP) (Co-Lead)

              Result: Estimated settlement valued between $30.9 and $40.3 million

              Johnson v. National Western Life Insurance
              (Oakland County Circuit Court)
              (Case No. 01-032012-CP) (Substantial role)

              Result: $10.7 million settlement

   2003       Felts v. Starlight
              (United States District Court, Eastern District Michigan)
              (Case No. 01-71539) (Co-Lead)

              Result: Starlight agrees to stop selling ephedrine as an ingredient in its weight
              loss dietary supplement product

              In re Lason Securities Litigation
              (United States District Court, Eastern District Michigan)
              (Case No. 99-CV-76079) (Co-Lead)

              Result: $12.68 million settlement

   2001       Mario Gasperoni, et al. v. Metabolife International, Inc.
              (United States District Court, Eastern District Michigan)
              (Case No. 00-71255) (Co-Lead)

              Result: Nationwide settlement approved mandating changes in advertising and
              labeling on millions of bottles of dietary supplement, plus approximately $8.5
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              million in benefits

   1999       Pop v. Art Van Furniture and Alexander Hamilton Insurance Company
              (Wayne County Circuit Court) (Case No. 97-722003-CP) (Co-Lead)

              Result: Changes in sales practices and $9 million in merchandise.

              Schroff v. Bombardier
              (United States District Court, Eastern District Michigan)
              (Case No. 99-70327) (Co-Lead)

              Result: Recall of more than 20,000 defective Seadoos throughout North
              America; repair of defect to reduce water ingestion problem; extended
              warranties; and approximately $4 million in merchandise.

              In re National Techteam Securities Litigation
              (United States District Court, Eastern District Michigan)
              (Master File No. 97-74587) (Substantial role)

              Result: $11 million settlement

              In Re F&M Distributors, Inc., Securities Litigation
              (United States District Court, Eastern District Michigan)
              (Case No. 95-CV-71778-DT) (Minor role)

              Result: $20 million settlement

   1998       In Re Michigan National Corporation Securities Litigation
              (United States District Court, Eastern District Michigan)
              (Case No 95 CV 70647 DT) (Substantial role)

              Result: $13.3 million settlement

   1995       In re Intel Pentium Processor Litigation
              (Superior Court, Santa Clara County, California) (Master File No. 745729)
              (Substantial role)

              Result: Intel agreed to replace millions of defective Pentium chips on demand
              without any cost to consumers
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                 SELECTED RESUME
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                                                     ROCHESTER                          DETROIT
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                                                     SUITE 300                          SUITE 705
 248-841-2200 | WWW.MILLER.LAW                       ROCHESTER, MI 48307                DETROIT, MI 48226


                                            E. POWELL MILLER, PARTNER
                                                         EPM@millerlawpc.com

                             Powell Miller has been recognized as Michigan’s number one ranked attorney by
                             Super Lawyers Magazine for 2020 and 2023. He has also been named one of the Top
                             10 lawyers in Michigan for fourteen consecutive years, from 2009-present, by Super
                             Lawyers Magazine, and in 2010, 2015, 2019 and 2020 he was the recipient of the
                             Best Lawyers – Lawyer of the Year in the category of Bet-The-Company Litigation.
                             In 2017, Mr. Miller was the recipient of the Judge Friedman and Cook Civility
                             Award, which is awarded to only one lawyer each year. He has been named as one
                             of the Best Lawyers in America every year since 2005. Mr. Miller has earned
Martindale-Hubbell’s highest rating, AV® Preeminent™ 5/5.0 for legal ethics and ability and a 10/10 from AVVO
a public rating system. Mr. Miller is also ranked as only one of nine in Michigan to receive the highest Band 1
rating by Chambers USA, describing Mr. Miller as a “Superb trial lawyer” who “routinely acts for high-profile
clients based across the [United] states.”
Mr. Miller focuses his practice on all aspects of litigation. He has been retained by many Fortune 500 and other
clients to represent them in litigation throughout the United States, including in Michigan, New York, New Jersey,
Pennsylvania, Arkansas, Florida, Texas, Kentucky, Ohio, California, Colorado, Indiana, and Illinois.
Mr. Miller recently won an arbitration against Jimmy Johns in the amount of $4.8 million including a $1 million
attorney fee award. He has never lost a trial, including verdicts in excess of $5 million, $10 million and $23
million and a split verdict on a Rule 23(c)(4) issue trial. Mr. Miller has also obtained in excess of $3 billion in
settlements. These settlements are regularly among the top ten in Michigan each year, including a high-profile
verdict in May, 2016 for 100% liability.
In October, 2019 Mr. Miller defended a consumer goods manufacturer against Plaintiffs asserting complex price
discrimination and antitrust claims, and alleging millions of dollars in damages. Following a 3-week trial and
seven hours of deliberations, a California jury returned a unanimous verdict in favor of his client, rejecting all of
Plaintiffs’ claims.
Mr. Miller has previously served as Co-President of the Detroit Chapter of the Federal Bar Association Antitrust
and Securities Committees. He also serves on the Executive Committee for the Wayne State University Law
School Board of Visitors and has served a Co-Chair of the American Bar Association Procedures Subcommittee
on class actions and multi-district litigation. He lectures regularly on securities litigation at the University of
Michigan School of Law. He has also served as an Adjunct Professor at the University of Detroit Law School
teaching trial practice. In addition, Mr. Miller regularly speaks at continuing legal education seminars on securities
fraud class actions. Mr. Miller also serves as a Master member of The Oakland County Bar Association Inns of
Court.
Mr. Miller graduated third in his class from Wayne State University Law School, magna cum laude, in 1986. He
was named to the honor society, Order of the Coif and he was an Editor of the Wayne Law Review. In 1986, Mr.
Miller joined the Detroit law firm of Honigman Miller Schwartz and Cohn, where he was elected partner in 1990.
In 1994, he formed his own firm.


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Mr. Miller has been recognized as a top debater in the United States. He won first place at the Harvard University
National Debate Tournament as a freshman at Georgetown University. He also represented Georgetown in a
special international debating exhibition against the Oxford Debating Union of Great Britain.
Mr. Miller is a proud supporter of the Detroit Urban Debate League, a nonprofit that supports the creation of
debate programs in under-served high schools; the University of Detroit Jesuit High School and Academy; The
Joe Niekro Foundation, which is committed to aiding in the research and treatment of aneurysm patients and
families; and Charlotte’s Wings, a nonprofit that is dedicated to supporting ailing children in Southeast Michigan
through donations of new books to the children and their families in hospital and hospice care.
EDUCATION:
UNIVERSITY OF DETROIT JESUIT HIGH SCHOOL, 1979
GEORGETOWN UNIVERSITY, B.A., 1983
WAYNE STATE UNIVERSITY LAW SCHOOL, J.D., 1986




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                     EXHIBIT 3
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701 BRICKELL AVENUE             1330 AVENUE OF THE AMERICAS                1990 NORTH CALIFORNIA BLVD.
   MIAMI, FL 33131                     N E W YO RK , N Y 1 0 0 1 9            WALNUT CREEK, CA 94596



                                           FIRM RESUME
          With offices in Florida, New York, and California, BURSOR & FISHER lawyers have
   represented both plaintiffs and defendants in state and federal courts throughout the country.

           The lawyers at our firm have an active civil trial practice, having won multi-million-
   dollar verdicts or recoveries in six of six class action jury trials since 2008. Our most recent
   class action trial victory came in May 2019 in Perez v. Rash Curtis & Associates, in which Mr.
   Bursor served as lead trial counsel and won a $267 million jury verdict against a debt collector
   found to have violated the Telephone Consumer Protection Act. During the pendency of the
   defendant’s appeal, the case settled for $75.6 million, the largest settlement in the history of the
   Telephone Consumer Protection Act.

           In August 2013 in Ayyad v. Sprint Spectrum L.P., in which Mr. Bursor served as lead trial
   counsel, we won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing the
   class’s recovery of more than $275 million in cash and debt relief.

           In Thomas v. Global Vision Products, Inc. (II), we obtained a $50 million jury verdict in
   favor of a certified class of 150,000 purchasers of the Avacor Hair Regrowth System. The legal
   trade publication VerdictSearch reported that this was the second largest jury verdict in
   California in 2009, and the largest in any class action.

          The lawyers at our firm have an active class action practice and have won numerous
   appointments as class counsel to represent millions of class members, including customers of
   Honda, Verizon Wireless, AT&T Wireless, Sprint, Haier America, and Michaels Stores as well
   as purchasers of Avacor™, Hydroxycut, and Sensa™ products. Bursor & Fisher lawyers have
   been court-appointed Class Counsel or Interim Class Counsel in:
                  1. O’Brien v. LG Electronics USA, Inc. (D.N.J. Dec. 16, 2010) to represent a
                     certified nationwide class of purchasers of LG French-door refrigerators,
                  2. Ramundo v. Michaels Stores, Inc. (N.D. Ill. June 8, 2011) to represent a
                     certified nationwide class of consumers who made in-store purchases at
                     Michaels Stores using a debit or credit card and had their private financial
                     information stolen as a result,
                  3. In re Haier Freezer Consumer Litig. (N.D. Cal. Aug. 17, 2011) to represent a
                     certified class of purchasers of mislabeled freezers from Haier America
                     Trading, LLC,
                  4. Rodriguez v. CitiMortgage, Inc. (S.D.N.Y. Nov. 14, 2011) to represent a
                     certified nationwide class of military personnel against CitiMortgage for
                     illegal foreclosures,
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              5. Rossi v. The Procter & Gamble Co. (D.N.J. Jan. 31, 2012) to represent a
                  certified nationwide class of purchasers of Crest Sensitivity Treatment &
                  Protection toothpaste,
              6. Dzielak v. Whirlpool Corp. et al. (D.N.J. Feb. 21, 2012) to represent a
                  proposed nationwide class of purchasers of mislabeled Maytag Centennial
                  washing machines from Whirlpool Corp., Sears, and other retailers,
              7. In re Sensa Weight Loss Litig. (N.D. Cal. Mar. 2, 2012) to represent a certified
                  nationwide class of purchasers of Sensa weight loss products,
              8. In re Sinus Buster Products Consumer Litig. (E.D.N.Y. Dec. 17, 2012) to
                  represent a certified nationwide class of purchasers,
              9. Ebin v. Kangadis Food Inc. (S.D.N.Y. Feb. 25, 2014) to represent a certified
                  nationwide class of purchasers of Capatriti 100% Pure Olive Oil,
              10. Forcellati v. Hyland’s, Inc. (C.D. Cal. Apr. 9, 2014) to represent a certified
                  nationwide class of purchasers of children’s homeopathic cold and flu
                  remedies,
              11. Ebin v. Kangadis Family Management LLC, et al. (S.D.N.Y. Sept. 18, 2014)
                  to represent a certified nationwide class of purchasers of Capatriti 100% Pure
                  Olive Oil,
              12. In re Scotts EZ Seed Litig. (S.D.N.Y. Jan. 26, 2015) to represent a certified
                  class of purchasers of Scotts Turf Builder EZ Seed,
              13. Dei Rossi v. Whirlpool Corp., et al. (E.D. Cal. Apr. 28, 2015) to represent a
                  certified class of purchasers of mislabeled KitchenAid refrigerators from
                  Whirlpool Corp., Best Buy, and other retailers,
              14. Hendricks v. StarKist Co. (N.D. Cal. July 23, 2015) to represent a certified
                  nationwide class of purchasers of StarKist tuna products,
              15. In re NVIDIA GTX 970 Graphics Card Litig. (N.D. Cal. May 8, 2015) to
                  represent a proposed nationwide class of purchasers of NVIDIA GTX 970
                  graphics cards,
              16. Melgar v. Zicam LLC, et al. (E.D. Cal. March 30, 2016) to represent a
                  certified ten-jurisdiction class of purchasers of Zicam Pre-Cold products,
              17. In re Trader Joe’s Tuna Litigation (C.D. Cal. December 21, 2016) to
                  represent purchaser of allegedly underfilled Trader Joe’s canned tuna.
              18. In re Welspun Litigation (S.D.N.Y. January 26, 2017) to represent a proposed
                  nationwide class of purchasers of Welspun Egyptian cotton bedding products,
              19. Retta v. Millennium Products, Inc. (C.D. Cal. January 31, 2017) to represent a
                  certified nationwide class of Millennium kombucha beverages,
              20. Moeller v. American Media, Inc., (E.D. Mich. June 8, 2017) to represent a
                  class of magazine subscribers under the Michigan Preservation of Personal
                  Privacy Act,
              21. Hart v. BHH, LLC (S.D.N.Y. July 7, 2017) to represent a nationwide class of
                  purchasers of Bell & Howell ultrasonic pest repellers,
              22. McMillion v. Rash Curtis & Associates (N.D. Cal. September 6, 2017) to
                  represent a certified nationwide class of individuals who received calls from
                  Rash Curtis & Associates,
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              23. Lucero v. Solarcity Corp. (N.D. Cal. September 15, 2017) to represent a
                  certified nationwide class of individuals who received telemarketing calls
                  from Solarcity Corp.,
              24. Taylor v. Trusted Media Brands, Inc. (S.D.N.Y. Oct. 17, 2017) to represent a
                  class of magazine subscribers under the Michigan Preservation of Personal
                  Privacy Act,
              25. Gasser v. Kiss My Face, LLC (N.D. Cal. Oct. 23, 2017) to represent a
                  proposed nationwide class of purchasers of cosmetic products,
              26. Gastelum v. Frontier California Inc. (S.F. Superior Court February 21, 2018)
                  to represent a certified California class of Frontier landline telephone
                  customers who were charged late fees,
              27. Williams v. Facebook, Inc. (N.D. Cal. June 26, 2018) to represent a proposed
                  nationwide class of Facebook users for alleged privacy violations,
              28. Ruppel v. Consumers Union of United States, Inc. (S.D.N.Y. July 27, 2018) to
                  represent a class of magazine subscribers under the Michigan Preservation of
                  Personal Privacy Act,
              29. Bayol v. Health-Ade (N.D. Cal. August 23, 2018) to represent a proposed
                  nationwide class of Health-Ade kombucha beverage purchasers,
              30. West v. California Service Bureau (N.D. Cal. September 12, 2018) to
                  represent a certified nationwide class of individuals who received calls from
                  California Service Bureau,
              31. Gregorio v. Premier Nutrition Corporation (S.D.N.Y. Sept. 14, 2018) to
                  represent a nationwide class of purchasers of protein shake products,
              32. Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast (S.D.N.Y.
                  Oct. 24, 2018) to represent a class of magazine subscribers under the
                  Michigan Preservation of Personal Privacy Act,
              33. Bakov v. Consolidated World Travel Inc. d/b/a Holiday Cruise Line (N.D. Ill.
                  Mar. 21, 2019) to represent a certified class of individuals who received calls
                  from Holiday Cruise Line,
              34. Martinelli v. Johnson & Johnson (E.D. Cal. March 29, 2019) to represent a
                  certified class of purchasers of Benecol spreads labeled with the
                  representation “No Trans Fat,”
              35. Edwards v. Hearst Communications, Inc. (S.D.N.Y. April 24, 2019) to
                  represent a class of magazine subscribers under the Michigan Preservation of
                  Personal Privacy Act,
              36. Galvan v. Smashburger (C.D. Cal. June 25, 2019) to represent a proposed
                  class of purchasers of Smashburger’s “Triple Double” burger,
              37. Kokoszki v. Playboy Enterprises, Inc. (E.D. Mich. Feb. 7, 2020) to represent a
                  class of magazine subscribers under the Michigan Preservation of Personal
                  Privacy Act,
              38. Russett v. The Northwestern Mutual Life Insurance Co. (S.D.N.Y. May 28,
                  2020) to represent a class of insurance policyholders that were allegedly
                  charged unlawful paper billing fees,
              39. In re: Metformin Marketing and Sales Practices Litigation (D.N.J. June 3,
                  2020) to represent a proposed nationwide class of purchasers of generic
                  diabetes medications that were contaminated with a cancer-causing
                  carcinogen,
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              40. Hill v. Spirit Airlines, Inc. (S.D. Fla. July 21, 2020) to represent a proposed
                  nationwide class of passengers whose flights were cancelled by Spirit Airlines
                  due to the novel coronavirus, COVID-19, and whose tickets were not
                  refunded,
              41. Kramer v. Alterra Mountain Co. (D. Colo. July 31, 2020) to represent a
                  proposed nationwide class of purchasers to recoup the unused value of their
                  Ikon ski passes after Alterra suspended operations at its ski resorts due to the
                  novel coronavirus, COVID-19,
              42. Qureshi v. American University (D.D.C. July 31, 2020) to represent a
                  proposed nationwide class of students for tuition and fee refunds after their
                  classes were moved online by American University due to the novel
                  coronavirus, COVID-19,
              43. Hufford v. Maxim Inc. (S.D.N.Y. Aug. 13, 2020) to represent a class of
                  magazine subscribers under the Michigan Preservation of Personal Privacy
                  Act,
              44. Desai v. Carnegie Mellon University (W.D. Pa. Aug. 26, 2020) to represent a
                  proposed nationwide class of students for tuition and fee refunds after their
                  classes were moved online by Carnegie Mellon University due to the novel
                  coronavirus, COVID-19,
              45. Heigl v. Waste Management of New York, LLC (E.D.N.Y. Aug. 27, 2020) to
                  represent a class of waste collection customers that were allegedly charged
                  unlawful paper billing fees,
              46. Stellato v. Hofstra University (E.D.N.Y. Sept. 18, 2020) to represent a
                  proposed nationwide class of students for tuition and fee refunds after their
                  classes were moved online by Hofstra University due to the novel
                  coronavirus, COVID-19,
              47. Kaupelis v. Harbor Freight Tools USA, Inc. (C.D. Cal. Sept. 23, 2020), to
                  represent consumers who purchased defective chainsaws,
              48. Soo v. Lorex Corporation (N.D. Cal. Sept. 23, 2020), to represent consumers
                  whose security cameras were intentionally rendered non-functional by
                  manufacturer,
              49. Miranda v. Golden Entertainment (NV), Inc. (D. Nev. Dec. 17, 2020), to
                  represent consumers and employees whose personal information was exposed
                  in a data breach,
              50. Benbow v. SmileDirectClub, Inc. (Cir. Ct. Cook Cnty. Feb. 4, 2021), to
                  represent a certified nationwide class of individuals who received text
                  messages from SmileDirectClub, in alleged violation of the Telephone
                  Consumer Protection Act,
              51. Suren v. DSV Solutions, LLC (Cir. Ct. DuPage Cnty. Apr. 8, 2021), to
                  represent a certified class of employees who used a fingerprint clock-in
                  system, in alleged violation of the Illinois Biometric Information Privacy Act,
              52. De Lacour v. Colgate-Palmolive Co. (S.D.N.Y. Apr. 23, 2021), to represent a
                  certified class of consumers who purchased allegedly “natural” Tom’s of
                  Maine products,
              53. Wright v. Southern New Hampshire University (D.N.H. Apr. 26, 2021), to
                  represent a certified nationwide class of students for tuition and fee refunds
                  after their classes were moved online by Southern New Hampshire University
                  due to the novel coronavirus, COVID-19,
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              54. Sahlin v. Hospital Housekeeping Systems, LLC (Cir. Ct. Williamson Cnty.
                  May 21, 2021), to represent a certified class of employees who used a
                  fingerprint clock-in system, in alleged violation of the Illinois Biometric
                  Information Privacy Act,
              55. Landreth v. Verano Holdings LLC, et al. (Cir. Ct. Cook Cnty. June 2, 2021),
                  to represent a certified class of employees who used a fingerprint clock-in
                  system, in alleged violation of the Illinois Biometric Information Privacy Act.
              56. Rocchio v. Rutgers, The State University of New Jersey, (Sup. Ct., Middlesex
                  Cnty. October 27, 201), to represent a certified nationwide class of students
                  for fee refunds after their classes were moved online by Rutgers due to the
                  novel coronavirus, COVID-19,
              57. Malone v. Western Digital Corp., (N.D. Cal. Dec. 22, 2021), to represent a
                  class of consumers who purchased hard drives that were allegedly deceptively
                  advertised,
              58. Jenkins v. Charles Industries, LLC, (Cir. Ct. DuPage Cnty. Dec. 21, 2021) to
                  represent a certified class of employees who used a fingerprint clock-in
                  system, in alleged violation of the Illinois Biometric Information Privacy Act,
              59. Frederick v. Examsoft Worldwide, Inc., (Cir. Ct. DuPage Cnty. Jan. 6, 2022)
                  to represent a certified class of exam takers who used virtual exam proctoring
                  software, in alleged violation of the Illinois Biometric Information Privacy
                  Act,
              60. Isaacson v. Liqui-Box Flexibles, LLC, et al., (Cir. Ct. Will Cnty. Jan. 18,
                  2022) to represent a certified class of employees who used a fingerprint clock-
                  in system, in alleged violation of the Illinois Biometric Information Privacy
                  Act,
              61. Goldstein et al. v. Henkel Corp., (D. Conn. Mar. 3, 2022) to represent a
                  proposed class of purchasers of Right Guard-brand antiperspirants that were
                  allegedly contaminated with benzene,
              62. McCall v. Hercules Corp., (N.Y. Sup. Ct., Westchester Cnty. Mar. 14, 2022)
                  to represent a certified class of who laundry card purchasers who were
                  allegedly subjected to deceptive practices by being denied cash refunds,
              63. Lewis v. Trident Manufacturing, Inc., (Cir. Ct. Kane Cnty. Mar. 16, 2022) to
                  represent a certified class of workers who used a fingerprint clock-in system,
                  in alleged violation of the Illinois Biometric Information Privacy Act,
              64. Croft v. Spinx Games Limited, et al., (W.D. Wash. Mar. 31, 2022) to represent
                  a certified class of Washington residents who lost money playing mobile
                  applications games that allegedly constituted illegal gambling under
                  Washington law,
              65. Fischer v. Instant Checkmate LLC, (N.D. Ill. Mar. 31, 2022) to represent a
                  certified class of Illinois residents whose identities were allegedly used
                  without their consent in alleged violation of the Illinois Right of Publicity Act,
              66. Rivera v. Google LLC, (Cir. Ct. Cook Cnty. Apr. 25, 2022) to represent a
                  certified class of Illinois residents who appeared in a photograph in Google
                  Photos, in alleged violation of the Illinois Biometric Information Privacy Act,
              67. Loftus v. Outside Integrated Media, LLC, (E.D. Mich. May 5, 2022) to
                  represent a class of magazine subscribers under the Michigan Preservation of
                  Personal Privacy Act,
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                  68. D’Amario v. The University of Tampa, (S.D.N.Y. June 3, 2022) to represent a
                      certified nationwide class of students for tuition and fee refunds after their
                      classes were moved online by The University of Tampa due to the novel
                      coronavirus, COVID-19,
                  69. Fittipaldi v. Monmouth University, (D.N.J. Sept. 22, 2022) to represent a
                      certified nationwide class of students for tuition and fee refunds after their
                      classes were moved online by Monmouth University due to the novel
                      coronavirus, COVID-19,
                  70. Armstead v. VGW Malta Ltd. et al. (Cir. Ct. Henderson Cnty. Oct. 3, 2022) to
                      present a certified class of Kentucky residents who lost money playing mobile
                      applications games that allegedly constituted illegal gambling under Kentucky
                      law,
                  71. Cruz v. The Connor Group, A Real Estate Investment Firm, LLC, (N.D. Ill.
                      Oct. 26, 2022) to represent a certified class of workers who used a fingerprint
                      clock-in system, in alleged violation of the Illinois Biometric Information
                      Privacy Act;
                  72. Delcid et al. v. TCP HOT Acquisitions LLC et al. (S.D.N.Y. Oct. 28, 2022) to
                      represent a certified nationwide class of purchasers of Sure and Brut-brand
                      antiperspirants that were allegedly contaminated with benzene,
                  73. Kain v. The Economist Newspaper NA, Inc. (E.D. Mich. Dec. 15, 2022) to
                      represent a class of magazine subscribers under the Michigan Preservation of
                      Personal Privacy Act,
                  74. Strano v. Kiplinger Washington Editors, Inc. (E.D. Mich. Jan. 6, 2023) to
                      represent a class of magazine subscribers under the Michigan Preservation of
                      Personal Privacy Act,
                  75. Moeller v. The Week Publications, Inc. (E.D. Mich. Jan. 6, 2023) to represent
                      a class of magazine subscribers under the Michigan Preservation of Personal
                      Privacy Act.
                  76. In re: Apple Data Privacy Litigation, (N.D. Cal. July 5, 2023) to represent a
                      putative nationwide class of all persons who turned off permissions for data
                      tracking and whose mobile app activity was still tracked on iPhone mobile
                      devices.

                                         SCOTT A. BURSOR

          Mr. Bursor has an active civil trial practice, having won multi-million verdicts or
   recoveries in six of six civil jury trials since 2008. Mr. Bursor’s most recent victory came in
   May 2019 in Perez v. Rash Curtis & Associates, in which Mr. Bursor served as lead trial counsel
   and won a $267 million jury verdict against a debt collector for violations of the Telephone
   Consumer Protection Act (TCPA).

           In Ayyad v. Sprint Spectrum L.P. (2013), where Mr. Bursor served as lead trial counsel,
   the jury returned a verdict defeating Sprint’s $1.06 billion counterclaim and securing the class’s
   recovery of more than $275 million in cash and debt relief.

           In Thomas v. Global Vision Products, Inc. (2009), the jury returned a $50 million verdict
   in favor of the plaintiff and class represented by Mr. Bursor. The legal trade publication
   VerdictSearch reported that this was the second largest jury verdict in California in 2009.
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           Class actions are rarely tried to verdict. Other than Mr. Bursor and his partner Mr.
   Fisher, we know of no lawyer that has tried more than one class action to a jury. Mr. Bursor’s
   perfect record of six wins in six class action jury trials, with recoveries ranging from $21 million
   to $299 million, is unmatched by any other lawyer. Each of these victories was hard-fought
   against top trial lawyers from the biggest law firms in the United States.

           Mr. Bursor graduated from the University of Texas Law School in 1996. He served as
   Articles Editor of the Texas Law Review, and was a member of the Board of Advocates and
   Order of the Coif. Prior to starting his own practice, Mr. Bursor was a litigation associate at a
   large New York based law firm where he represented telecommunications, pharmaceutical, and
   technology companies in commercial litigation.

           Mr. Bursor is a member of the state bars of New York, Florida, and California, as well as
   the bars of the United States Court of Appeals for the Second, Third, Fourth, Sixth, Ninth and
   Eleventh Circuits, and the bars of the United States District Courts for the Southern and Eastern
   Districts of New York, the Northern, Central, Southern and Eastern Districts of California, the
   Southern and Middle Districts of Florida, and the Eastern District of Michigan.

                                          Representative Cases

           Mr. Bursor was appointed lead or co-lead class counsel to the largest, 2nd largest, and 3rd
   largest classes ever certified. Mr. Bursor has represented classes including more than 160
   million class members, roughly 1 of every 2 Americans. Listed below are recent cases that are
   representative of Mr. Bursor’s practice:

           Mr. Bursor negotiated and obtained court-approval for two landmark settlements in
   Nguyen v. Verizon Wireless and Zill v. Sprint Spectrum (the largest and 2nd largest classes ever
   certified). These settlements required Verizon and Sprint to open their wireless networks to
   third-party devices and applications. These settlements are believed to be the most significant
   legal development affecting the telecommunications industry since 1968, when the FCC’s
   Carterfone decision similarly opened up AT&T’s wireline telephone network.

           Mr. Bursor was the lead trial lawyer in Ayyad v. Sprint Spectrum, L.P. representing a
   class of approximately 2 million California consumers who were charged an early termination
   fee under a Sprint cellphone contract, asserting claims that such fees were unlawful liquidated
   damages under the California Civil Code, as well as other statutory and common law claims.
   After a five-week combined bench-and-jury trial, the jury returned a verdict in June 2008 and the
   Court issued a Statement of Decision in December 2008 awarding the plaintiffs $299 million in
   cash and debt cancellation. Mr. Bursor served as lead trial counsel for this class again in 2013
   during a month-long jury trial in which Sprint asserted a $1.06 billion counterclaim against the
   class. Mr. Bursor secured a verdict awarding Sprint only $18.4 million, the exact amount
   calculated by the class’s damages expert. This award was less than 2% of the damages Sprint
   sought, less than 6% of the amount of the illegal termination fees Sprint charged to class
   members. In December 2016, after more than 13 years of litigation, the case was settled for
   $304 million, including $79 million in cash payments plus $225 million in debt cancellation.
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           Mr. Bursor was the lead trial lawyer in White v. Cellco Partnership d/b/a Verizon
   Wireless representing a class of approximately 1.4 million California consumers who were
   charged an early termination fee under a Verizon cellphone contract, asserting claims that such
   fees were unlawful liquidated damages under the California Civil Code, as well as other statutory
   and common law claims. In July 2008, after Mr. Bursor presented plaintiffs’ case-in-chief,
   rested, then cross-examined Verizon’s principal trial witness, Verizon agreed to settle the case
   for a $21 million cash payment and an injunction restricting Verizon’s ability to impose early
   termination fees in future subscriber agreements.

           Mr. Bursor was the lead trial lawyer in Thomas v. Global Visions Products Inc. Mr.
   Bursor represented a class of approximately 150,000 California consumers who had purchased
   the Avacor® hair regrowth system. In January 2008, after a four-week combined bench-and-jury
   trial. Mr. Bursor obtained a $37 million verdict for the class, which the Court later increased to
   $40 million.

            Mr. Bursor was appointed class counsel and was elected chair of the Official Creditors’
   Committee in In re Nutraquest Inc., a Chapter 11 bankruptcy case before Chief Judge Garrett E.
   Brown, Jr. (D.N.J.) involving 390 ephedra-related personal injury and/or wrongful death claims,
   two consumer class actions, four enforcement actions by governmental agencies, and multiple
   adversary proceedings related to the Chapter 11 case. Working closely with counsel for all
   parties and with two mediators, Judge Nicholas Politan (Ret.) and Judge Marina Corodemus
   (Ret.), the committee chaired by Mr. Bursor was able to settle or otherwise resolve every claim
   and reach a fully consensual Chapter 11 plan of reorganization, which Chief Judge Brown
   approved in late 2006. This settlement included a $12.8 million recovery to a nationwide class
   of consumers who alleged they were defrauded in connection with the purchase of Xenadrine®
   dietary supplement products.

            Mr. Bursor was the lead trial lawyer in In re: Pacific Bell Late Fee Litigation. After
   filing the first class action challenging Pac Bell's late fees in April 2010, winning a contested
   motion to certify a statewide California class in January 2012, and defeating Pac Bell's motion
   for summary judgment in February 2013, Mr. Bursor obtained final approval of the $38 million
   class settlement. The settlement, which Mr. Bursor negotiated the night before opening
   statements were scheduled to commence, included a $20 million cash payment to provide
   refunds to California customers who paid late fees on their Pac Bell wireline telephone accounts,
   and an injunction that reduced other late fee charges by $18.6 million.

                                        L. TIMOTHY FISHER

            L. Timothy Fisher has an active practice in consumer class actions and complex business
   litigation and has also successfully handled a large number of civil appeals.

           Mr. Fisher has been actively involved in numerous cases that resulted in multi-million
   dollar recoveries for consumers and investors. Mr. Fisher has handled cases involving a wide
   range of issues including nutritional labeling, health care, telecommunications, corporate
   governance, unfair business practices and consumer fraud. With his partner Scott A. Bursor, Mr.
   Fisher has tried five class action jury trials, all of which produced successful results. In Thomas
   v. Global Vision Products, Mr. Fisher obtained a jury award of $50,024,611 — the largest class
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   action award in California in 2009 and the second-largest jury award of any kind. In 2019, Mr.
   Fisher served as trial counsel with Mr. Bursor and his partner Yeremey Krivoshey in Perez. v.
   Rash Curtis & Associates, where the jury returned a verdict for $267 million in statutory
   damages under the Telephone Consumer Protection Act.

           Mr. Fisher was admitted to the State Bar of California in 1997. He is also a member of
   the bars of the United States Court of Appeals for the Ninth Circuit, the United States District
   Courts for the Northern, Central, Southern and Eastern Districts of California, the Northern
   District of Illinois, the Eastern District of Michigan, and the Eastern District of Missouri. Mr.
   Fisher taught appellate advocacy at John F. Kennedy University School of Law in 2003 and
   2004. In 2010, he contributed jury instructions, a verdict form and comments to the consumer
   protection chapter of Justice Elizabeth A. Baron’s California Civil Jury Instruction Companion
   Handbook (West 2010). In January 2014, Chief Judge Claudia Wilken of the United States
   District Court for the Northern District of California appointed Mr. Fisher to a four-year term as
   a member of the Court’s Standing Committee on Professional Conduct.

           Mr. Fisher received his Juris Doctor from Boalt Hall at the University of California at
   Berkeley in 1997. While in law school, he was an active member of the Moot Court Board and
   participated in moot court competitions throughout the United States. In 1994, Mr. Fisher
   received an award for Best Oral Argument in the first-year moot court competition.

           In 1992, Mr. Fisher graduated with highest honors from the University of California at
   Berkeley and received a degree in political science. Prior to graduation, he authored an honors
   thesis for Professor Bruce Cain entitled “The Role of Minorities on the Los Angeles City
   Council.” He is also a member of Phi Beta Kappa.

                                           Representative Cases

   Thomas v. Global Vision Products, Inc. (Alameda County Superior Court). Mr. Fisher litigated
   claims against Global Vision Products, Inc. and other individuals in connection with the sale and
   marketing of a purported hair loss remedy known as Avacor. The case lasted more than seven
   years and involved two trials. The first trial resulted in a verdict for plaintiff and the class in the
   amount of $40,000,000. The second trial resulted in a jury verdict of $50,024,611, which led to
   a $30 million settlement for the class.

   In re Cellphone Termination Fee Cases - Handset Locking Actions (Alameda County Superior
   Court). Mr. Fisher actively worked on five coordinated cases challenging the secret locking of
   cell phone handsets by major wireless carriers to prevent consumers from activating them on
   competitive carriers’ systems. Settlements have been approved in all five cases on terms that
   require the cell phone carriers to disclose their handset locks to consumers and to provide
   unlocking codes nationwide on reasonable terms and conditions. The settlements fundamentally
   changed the landscape for cell phone consumers regarding the locking and unlocking of cell
   phone handsets.

   In re Cellphone Termination Fee Cases - Early Termination Fee Cases (Alameda County
   Superior Court and Federal Communications Commission). In separate cases that are a part of
   the same coordinated litigation as the Handset Locking Actions, Mr. Fisher actively worked on
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   claims challenging the validity under California law of early termination fees imposed by
   national cell phone carriers. In one of those cases, against Verizon Wireless, a nationwide
   settlement was reached after three weeks of trial in the amount of $21 million. In a second case,
   which was tried to verdict, the Court held after trial that the $73 million of flat early termination
   fees that Sprint had collected from California consumers over an eight-year period were void and
   unenforceable.

                                      Selected Published Decisions

   Melgar v. Zicam LLC, 2016 WL 1267870 (E.D. Cal. Mar. 30, 2016) (certifying 10-jurisdiction
   class of purchasers of cold remedies, denying motion for summary judgment, and denying
   motions to exclude plaintiff’s expert witnesses).
   Salazar v. Honest Tea, Inc., 2015 WL 7017050 (E.D. Cal. Nov. 12. 2015) (denying motion for
   summary judgment).
   Dei Rossi v. Whirlpool Corp., 2015 WL 1932484 (E.D. Cal. Apr. 27, 2015) (certifying California
   class of purchasers of refrigerators that were mislabeled as Energy Star qualified).
   Bayol v. Zipcar, Inc., 78 F.Supp.3d 1252 (N.D. Cal. 2015) (denying motion to dismiss claims
   alleging unlawful late fees under California Civil Code § 1671).
   Forcellati v. Hyland’s, Inc., 2015 WL 9685557 (C.D. Cal. Jan. 12, 2015) (denying motion for
   summary judgment in case alleging false advertising of homeopathic cold and flu remedies for
   children).
   Bayol v. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014) (denying motion to transfer
   venue pursuant to a forum selection clause).
   Forcellati v. Hyland’s Inc., 2014 WL 1410264 (C.D. Cal. Apr. 9, 2014) (certifying nationwide
   class of purchasers of homeopathic cold and flu remedies for children).
   Hendricks v. StarKist Co., 30 F.Supp.3d 917 (N.D. Cal. 2014) (denying motion to dismiss in
   case alleging underfilling of 5-ounce cans of tuna).
   Dei Rossi v. Whirlpool Corp., 2013 WL 5781673 (E.D. Cal. October 25, 2013) (denying motion
   to dismiss in case alleging that certain KitchenAid refrigerators were misrepresented as Energy
   Star qualified).
   Forcellati v. Hyland’s Inc., 876 F.Supp.2d 1155 (C.D. Cal. 2012) (denying motion to dismiss
   complaint alleging false advertising regarding homeopathic cold and flu remedies for children).
   Clerkin v. MyLife.com, 2011 WL 3809912 (N.D. Cal. August 29, 2011) (denying defendants’
   motion to dismiss in case alleging false and misleading advertising by a social networking
   company).
   In re Cellphone Termination Fee Cases, 186 Cal.App.4th 1380 (2010) (affirming order
   approving $21 million class action settlement).
   Gatton v. T-Mobile USA, Inc., 152 Cal.App.4th 571 (2007) (affirming order denying motion to
   compel arbitration).
                                       Selected Class Settlements
   Melgar v. Zicam (Eastern District of California) - $16 million class settlement of claims alleging
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   cold medicine was ineffective.

   Gastelum v. Frontier California Inc. (San Francisco Superior Court) - $10.9 million class action
   settlement of claims alleging that a residential landline service provider charged unlawful late
   fees.

   West v. California Service Bureau, Inc. (Northern District of California) - $4.1 million class
   settlement of claims under the Telephone Consumer Protection Act.

   Gregorio v. Premier Nutrition Corp. (Southern District of New York) - $9 million class
   settlement of false advertising claims against protein shake manufacturer.

   Morris v. SolarCity Corp. (Northern District of California) - $15 million class settlement of
   claims under the Telephone Consumer Protection Act.

   Retta v. Millennium Products, Inc. (Central District of California) - $8.25 million settlement to
   resolve claims of bottled tea purchasers for alleged false advertising.

   Forcellati v. Hyland’s (Central District of California) – nationwide class action settlement
   providing full refunds to purchasers of homeopathic cold and flu remedies for children.

   Dei Rossi v. Whirlpool (Eastern District of California) – class action settlement providing $55
   cash payments to purchasers of certain KitchenAid refrigerators that allegedly mislabeled as
   Energy Star qualified.

   In Re NVIDIA GTX 970 Graphics Chip Litigation (Northern District of California) - $4.5 million
   class action settlement of claims alleging that a computer graphics card was sold with false and
   misleading representations concerning its specifications and performance.

   Hendricks v. StarKist Co. (Northern District of California) – $12 million class action settlement
   of claims alleging that 5-ounce cans of tuna were underfilled.

   In re Zakskorn v. American Honda Motor Co. Honda (Eastern District of California) –
   nationwide settlement providing for brake pad replacement and reimbursement of out-of-pocket
   expenses in case alleging defective brake pads on Honda Civic vehicles manufactured between
   2006 and 2011.

   Correa v. Sensa Products, LLC (Los Angeles Superior Court) - $9 million settlement on behalf
   of purchasers of the Sensa weight loss product.

   In re Pacific Bell Late Fee Litigation (Contra Costa County Superior Court) - $38.6 million
   settlement on behalf of Pac Bell customers who paid an allegedly unlawful late payment charge.

   In re Haier Freezer Consumer Litigation (Northern District of California) - $4 million
   settlement, which provided for cash payments of between $50 and $325.80 to class members
   who purchased the Haier HNCM070E chest freezer.

   Thomas v. Global Vision Products, Inc. (Alameda County Superior Court) - $30 million
   settlement on behalf of a class of purchasers of a hair loss remedy.
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   Guyette v. Viacom, Inc. (Alameda County Superior Court) - $13 million settlement for a class of
   cable television subscribers who alleged that the defendant had improperly failed to share certain
   tax refunds with its subscribers.

                                       JOSEPH I. MARCHESE

           Joseph I. Marchese is a Partner with Bursor & Fisher, P.A. Joe focuses his practice on
   consumer class actions, employment law disputes, and commercial litigation. He has
   represented corporate and individual clients in a wide array of civil litigation, and has substantial
   trial and appellate experience.

           Joe has diverse experience in litigating and resolving consumer class actions involving
   claims of mislabeling, false or misleading advertising, privacy violations, data breach claims, and
   violations of the Servicemembers Civil Relief Act.

          Joe also has significant experience in multidistrict litigation proceedings. Recently, he
   served on the Plaintiffs’ Executive Committee in In Re: Blue Buffalo Company, Ltd. Marketing
   And Sales Practices Litigation, MDL No. 2562, which resulted in a $32 million consumer class
   settlement. Currently, he serves on the Plaintiffs’ Steering Committee for Economic
   Reimbursement in In Re: Valsartan Products Liability Litigation, MDL. No. 2875.

           Joe is admitted to the State Bar of New York and is a member of the bars of the United
   States District Courts for the Southern District of New York, the Eastern District of New York,
   and the Eastern District of Michigan, as well as the United States Court of Appeals for the
   Second Circuit.

         Joe graduated from Boston University School of Law in 2002 where he was a member of
   The Public Interest Law Journal. In 1998, Joe graduated with honors from Bucknell University.

                                     Selected Published Decisions:

   Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. Sept. 7, 2017), granting
   plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
   action.

   Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. June 17, 2016), denying
   publisher’s motion to dismiss its subscriber’s allegations of state privacy law violations in
   putative class action.

   In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
   false advertising and other claims brought by New York and California purchasers of grass seed
   product.

   Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
   certification of false advertising and other claims brought by purchasers of purported “100%
   Pure Olive Oil” product.
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   In re Michaels Stores Pin Pad Litigation, 830 F. Supp. 2d 518 (N.D. Ill. 2011), denying retailer’s
   motion to dismiss its customers’ state law consumer protection and privacy claims in data breach
   putative class action.

                                       Selected Class Settlements:

   Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
   approval granted for $50 million class settlement to resolve claims of magazine subscribers for
   alleged statutory privacy violations.

   Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
   (S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
   magazine subscribers for alleged statutory privacy violations.

   In re Scotts EZ Seed Litigation, Case No. 12-cv-4727-VB (S.D.N.Y. 2018) – final approval
   granted for $47 million class settlement to resolve false advertising claims of purchasers of
   combination grass seed product.

   In Re: Blue Buffalo Marketing And Sales Practices Litigation, Case No. 14-MD-2562-RWS
   (E.D. Mo. 2016) – final approval granted for $32 million class settlement to resolve claims of pet
   owners for alleged false advertising of pet foods.

   Rodriguez v. Citimortgage, Inc., Case No. 11-cv-4718-PGG (S.D.N.Y. 2015) – final approval
   granted for $38 million class settlement to resolve claims of military servicemembers for alleged
   foreclosure violations of the Servicemembers Civil Relief Act, where each class member was
   entitled to $116,785 plus lost equity in the foreclosed property and interest thereon.

   O’Brien v. LG Electronics USA, Inc., et al., Case No. 10-cv-3733-DMC (D.N.J. 2011) – final
   approval granted for $23 million class settlement to resolve claims of Energy Star refrigerator
   purchasers for alleged false advertising of the appliances’ Energy Star qualification.

                                         SARAH N. WESTCOT

          Sarah N. Westcot is the Managing Partner of Bursor & Fisher’s Miami office. She
   focuses her practice on consumer class actions, complex business litigation, and mass torts.

           She has represented clients in a wide array of civil litigation, and has substantial trial and
   appellate experience. Sarah served as trial counsel in Ayyad v. Sprint Spectrum L.P., where
   Bursor & Fisher won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing
   the class’s recovery of more than $275 million in cash and debt relief.

           Sarah also has significant experience in high-profile, multi-district litigations. She
   currently serves on the Plaintiffs’ Steering Committee in In re Zantac (Ranitidine) Products
   Liability Litigation, MDL No. 2924 (S.D. Florida). She also serves on the Plaintiffs’ Executive
   Committee in In re Apple Inc. App Store Simulated Casino-Style Games Litigation, MDL No.
   2985 (N.D. Cal.) and In Re: Google Play Store Simulated Casino-Style Games Litigation, MDL
   No. 3001 (N.D. Cal.).
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           Sarah is admitted to the State Bars of California and Florida, and is a member of the bars
   of the United States District Courts for the Northern, Central, Southern, and Eastern Districts of
   California, the United States District Courts for the Southern and Middle Districts of Florida, and
   the bars of the United States Courts of Appeals for the Second, Eighth, and Ninth Circuits.

           Sarah received her Juris Doctor from the University of Notre Dame Law School in 2009.
   During law school, she was a law clerk with the Cook County State’s Attorney’s Office in
   Chicago and the Santa Clara County District Attorney’s Office in San Jose, CA, gaining early
   trial experience in both roles. She graduated with honors from the University of Florida in 2005.

          Sarah is a member of The National Trial Lawyers Top 100 Civil Plaintiff Lawyers, and
   was selected to The National Trial Lawyers Top 40 Under 40 Civil Plaintiff Lawyers for 2022.

                                        JOSHUA D. ARISOHN

            Joshua D. Arisohn is a Partner with Bursor & Fisher, P.A. Josh has litigated precedent-
   setting cases in the areas of consumer class actions and terrorism. He participated in the first ever
   trial to take place under the Anti-Terrorism Act, a statute that affords U.S. citizens the right to
   assert federal claims for injuries arising out of acts of international terrorism. Josh’s practice
   continues to focus on terrorism-related matters as well as class actions.

           Josh is admitted to the State Bar of New York and is a member of the bars of the United
   States District Courts for the Southern District of New York, the Eastern District of New York,
   the District Court for the District of Columbia, and the United States Courts of Appeals for the
   Second and Ninth Circuits.

          Josh previously practiced at Dewey & LeBoeuf LLP and DLA Piper LLP. He graduated
   from Columbia University School of Law in 2006, where he was a Harlan Fiske Stone Scholar,
   and received his B.A. from Cornell University in 2002. Josh has been honored as a 2015, 2016
   and 2017 Super Lawyer Rising Star.

                                     Selected Published Decisions:

   Fields v. Syrian Arab Republic, Civil Case No. 18-1437 (RJL), entering a judgment of
   approximately $850 million in favor of the family members of victims of terrorist attacks carried
   out by ISIS with the material support of Syria.

   Farwell v. Google LLC, 2022 WL 1568361 (C.D. Ill. Mar. 31, 2022), denying social media
   defendant’s motion to dismiss BIPA claims brought on behalf of Illinois school students using
   Google’s Workspace for Education platform on laptop computers.

   Weiman v. Miami University, Case No. 2020-00614JD (Oh. Ct. Claims), certifying a class of
   students alleging a breach of contract based on their school’s failure to provide a full semester of
   in-person classes.
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   Smith v. The Ohio State University, Case No. 2020-00321JD (Oh. Ct. Claims), certifying a class
   of students alleging a breach of contract based on their school’s failure to provide a full semester
   of in-person classes.

   Waitt v. Kent State University, Case No. 2020-00392JD (Oh. Ct. Claims), certifying a class of
   students alleging a breach of contract based on their school’s failure to provide a full semester of
   in-person classes.

   Duke v. Ohio University, Case No. 2021-00036JD (Oh. Ct. Claims), certifying a class of students
   alleging a breach of contract based on their school’s failure to provide a full semester of in-
   person classes.

   Keba v. Bowling Green State University, Case No. 2020-00639JD (Oh. Ct. Claims), certifying a
   class of students alleging a breach of contract based on their school’s failure to provide a full
   semester of in-person classes.

   Kirkbride v. The Kroger Co., Case No. 2:21-cv-00022-ALM-EPD, denying motion to dismiss
   claims based on the allegation that defendant overstated its usual and customary prices and
   thereby overcharged customers for generic drugs.

                                      Selected Class Settlements:

   Morris v. SolarCity Corp., Case No. 3:15-cv-05107-RS (N.D. Cal.) - final approval granted for
   $15 million class settlement to resolve claims under the Telephone Consumer Protection Act
   (“TCPA”), 47 U.S.C. § 227 et seq.

   Marquez v. Google LLC, Case No. 2021-CH-1460 (Cir. Ct. Cook Cnty. 2022) – final approval
   granted for $100 million class settlement to resolve alleged BIPA violations of Illinois residents
   appearing in photos on the Google Photos platform.

                                           JOEL D. SMITH

           Joel D. Smith is a Partner with Bursor & Fisher, P.A. Joel is a trial attorney who has
   practiced in lower court and appeals courts across the country, as well as the U.S. Supreme
   Court.

           Prior to joining Bursor & Fisher, Joel was a litigator at Crowell & Moring, where he
   represented Fortune 500 companies, privately held businesses, and public entities in a wide
   variety of commercial, environmental, and class action matters. Among other matters, Joel
   served as defense counsel for AT&T, Enterprise-Rent-A-Car, Flowers Foods, and other major
   U.S. businesses in consumer class actions, including a class action seeking to hold U.S. energy
   companies accountable for global warming. Joel represented four major U.S. retailers in a case
   arising from a devastating arson fire and ensuing state of emergency in Roseville, California,
   which settled on the eve of a trial that was expected to last several months and involve several
   dozen witnesses. Joel also was part of the trial team in a widely publicized trial over the death of
   a contestant who died after participating in a Sacramento radio station’s water drinking contest.
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          More recently, Joel’s practice focuses on consumer class actions involving automotive
   and other product defects, financial misconduct, false advertising, and privacy violations.

          Joel received both his undergraduate and law degrees from the University of California at
   Berkeley. While at Berkeley School of Law, he was a member of the California Law Review,
   received several academic honors, externed for the California Attorney General’s office and
   published an article on climate change policy and litigation.

           Joel is admitted to the State Bar of California, as well as the United States Courts of
   Appeals for the Second, Third and Ninth Circuits; all California district courts; the Eastern
   District of Michigan; and the Northern District of Illinois.

                                     Selected Published Decisions:

   Javier v. Assurance IQ, LLC, --- Fed App’x --- 2022 WL 1744107 (9th Cir. May 31, 2022),
   reversing dismissal in a class action alleging surreptitious monitoring of internet
   communications.

   Revitch v. DIRECTV, LLC, 977 F.3d 713 (9th Cir. 2020), affirming denial of motion to compel
   arbitration in putative class action alleging unlawful calls under the Telephone Consumer
   Protection Act.

   Kaupelis v. Harbor Freight Tools USA, Inc., 2020 WL 5901116 (C.D. Cal. Sept. 23, 2020),
   granting class certification of consumer protection claims brought by purchasers of defective
   chainsaws.

                                       Selected Class Settlements:

   Recinos et al. v. The Regents of the University of California, Superior Court for the State of
   California, County of Alameda, Case No. RG19038659 – final approval granted for a settlement
   providing debt relief and refunds to University of California students who were charged late fees.

   Crandell et al. v. Volkswagen Group of America, Case No. 2:18-cv-13377-JSA (D.N.J.) – final
   approval granted for a settlement providing relief for Volkswagen Touareg owners to resolve
   allegations that defects in Touareg vehicles caused the engines to ingest water when driving in
   the rain.

   Isley et al. v. BMW of N. America, LLC, Case No. 2:19-cv-12680-ESK (D.N.J.) – final approval
   granted for settlement providing BMW owners with reimbursements and credit vouchers to
   resolve allegations that defects in the BMW N63TU engine caused excessive oil consumption.

   Kaupelis v. Harbor Freight Tools USA, Inc., 8:19-cv-01203-JVS-DFM (C.D. Cal.) – final
   approval granted for a settlement valued up to $40 million to resolve allegations that Harbor
   Freight sold chainsaws with a defective power switch that could prevent the chainsaws from
   turning off.
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   Morris v. SolarCity Corp., Case No. 3:15-cv-05107-RS (N.D. Cal.) - final approval granted for
   $15 million class settlement to resolve claims under the Telephone Consumer Protection Act
   (“TCPA”), 47 U.S.C. § 227 et seq.

                                         NEAL J. DECKANT

          Neal J. Deckant is a Partner with Bursor & Fisher, P.A., where he serves as the firm's
   Head of Information & e-Discovery. Neal focuses his practice on complex business litigation
   and consumer class actions. Prior to joining Bursor & Fisher, Neal counseled low-income
   homeowners facing foreclosure in East Boston.

           Neal is admitted to the State Bars of California and New York, and is a member of the
   bars of the United States District Court for the Northern District of California, the United States
   District Court for the Eastern District of California, the United States District Court for the
   Central District of California, the United States District Court for the Southern District of
   California, the United States District Court for the Southern District of New York, the United
   States District Court for the Eastern District of New York, and the bars of the United States
   Courts of Appeals for the Second and Ninth Circuits.

           Neal received his Juris Doctor from Boston University School of Law in 2011,
   graduating cum laude with two Dean’s Awards. During law school, Neal served as a Senior
   Articles Editor for the Review of Banking and Financial Law, where he authored two published
   articles about securitization reforms, both of which were cited by the New York Court of
   Appeals, the highest court in the state. Neal was also awarded Best Oral Argument in his moot
   court section, and he served as a Research Assistant for his Securities Regulation professor.
   Neal has also been honored as a 2014, 2015, 2016, and 2017 Super Lawyers Rising Star. In
   2007, Neal graduated with Honors from Brown University with a dual major in East Asian
   Studies and Philosophy.

                                     Selected Published Decisions:

   Martinelli v. Johnson & Johnson, 2019 WL 1429653 (N.D. Cal. Mar. 29, 2019), granting class
   certification of false advertising and other claims brought by purchasers of Benecol spreads
   labeled with the representation “No Trans Fats.”

   Dzielak v. Whirlpool Corp., 2017 WL 6513347 (D.N.J. Dec. 20, 2017), granting class
   certification of consumer protection claims brought by purchasers of Maytag Centennial washing
   machines marked with the “Energy Star” logo.

   Duran v. Obesity Research Institute, LLC, 204 Cal. Rptr. 3d 896 (Cal. Ct. App. 2016), reversing
   and remanding final approval of a class action settlement on appeal, regarding allegedly
   mislabeled dietary supplements, in connection with a meritorious objection.

   Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
   individual and law firm defendants’ motion for judgment as a matter of law on plaintiff’s claims
   for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
   Lubna Faruqi.
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   Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
   certification of false advertising and other claims brought by purchasers of purported “100%
   Pure Olive Oil” product.

   Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
   motion for summary judgment against nationwide class of purchasers of purported “100% Pure
   Olive Oil” product.

                                      Selected Class Settlements:

   In Re NVIDIA GTX 970 Graphics Chip Litigation, Case No. 15-cv-00760-PJH (N.D. Cal. Dec. 7,
   2016) – final approval granted for $4.5 million class action settlement to resolve claims that a
   computer graphics card was allegedly sold with false and misleading representations concerning
   its specifications and performance.

   Hendricks v. StarKist Co., 2016 WL 5462423 (N.D. Cal. Sept. 29, 2016) – final approval granted
   for $12 million class action settlement to resolve claims that 5-ounce cans of tuna were allegedly
   underfilled.

   In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014) – class action
   claims resolved for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
   defendant filed for bankruptcy, following claims that its olive oil was allegedly sold with false
   and misleading representations.

                                        Selected Publications:

   Neal Deckant, X. Reforms of Collateralized Debt Obligations: Enforcement, Accounting and
   Regulatory Proposals, 29 Rev. Banking & Fin. L. 79 (2009) (cited in Quadrant Structured
   Products Co., Ltd. v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014)).

   Neal Deckant, Criticisms of Collateralized Debt Obligations in the Wake of the Goldman Sachs
   Scandal, 30 Rev. Banking & Fin. L. 407 (2010) (cited in Quadrant Structured Products Co., Ltd.
   v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014); Lyon Village Venetia, LLC v. CSE Mortgage
   LLC, 2016 WL 476694, at *1 n.1 (Md. Ct. Spec. App. Feb. 4, 2016); Ivan Ascher, Portfolio
   Society: On the Capitalist Mode of Prediction, at 141, 153, 175 (Zone Books / The MIT Press
   2016); Devon J. Steinmeyer, Does State National Bank of Big Spring v. Geithner Stand a
   Fighting Chance?, 89 Chi.-Kent. L. Rev. 471, 473 n.13 (2014)).

                                        YITZCHAK KOPEL

          Yitzchak Kopel is a Partner with Bursor & Fisher, P.A. Yitz focuses his practice on
   consumer class actions and complex business litigation. He has represented corporate and
   individual clients before federal and state courts, as well as in arbitration proceedings.

           Yitz has substantial experience in successfully litigating and resolving consumer class
   actions involving claims of consumer fraud, data breaches, and violations of the telephone
   consumer protection act. Since 2014, Yitz has obtained class certification on behalf of his clients
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   five times, three of which were certified as nationwide class actions. Bursor & Fisher was
   appointed as class counsel to represent the certified classes in each of the cases.

           Yitz is admitted to the State Bars of New York and New Jersey, the bar of the United
   States Court of Appeals for the Second, Eleventh, and Ninth Circuits, and the bars of the United
   States District Courts for the Southern District of New York, Eastern District of New York,
   Eastern District of Missouri, Eastern District of Wisconsin, Northern District of Illinois, and
   District of New Jersey.

          Yitz received his Juris Doctorate from Brooklyn Law School in 2012, graduating cum
   laude with two Dean’s Awards. During law school, Yitz served as an Articles Editor for the
   Brooklyn Law Review and worked as a Law Clerk at Shearman & Sterling. In 2009, Yitz
   graduated cum laude from Queens College with a B.A. in Accounting.

                                     Selected Published Decisions:

   Bassaw v. United Industries Corp., --- F. Supp. 3d ---, 2020 WL 5117916 (S.D.N.Y. Aug. 31,
   2020), denying motion to dismiss claims in putative class action concerning insect foggers.

   Poppiti v. United Industries Corp., 2020 WL 1433642 (E.D. Mo. Mar. 24, 2020), denying
   motion to dismiss claims in putative class action concerning citronella candles.

   Bakov v. Consolidated World Travel, Inc., 2019 WL 6699188 (N.D. Ill. Dec. 9, 2019), granting
   summary judgment on behalf of certified class in robocall class action.

   Krumm v. Kittrich Corp., 2019 WL 6876059 (E.D. Mo. Dec. 17, 2019), denying motion to
   dismiss claims in putative class action concerning mosquito repellent.

   Crespo v. S.C. Johnson & Son, Inc., 394 F. Supp. 3d 260 (S.D.N.Y. 2019), denying defendant’s
   motion to dismiss fraud and consumer protection claims in putative class action regarding Raid
   insect fogger.

   Bakov v. Consolidated World Travel, Inc., 2019 WL 1294659 (N.D. Ill. Mar. 21, 2019),
   certifying a class of persons who received robocalls in the state of Illinois.

   Bourbia v. S.C. Johnson & Son, Inc., 375 F. Supp. 3d 454 (S.D.N.Y. 2019), denying defendant’s
   motion to dismiss fraud and consumer protection claims in putative class action regarding
   mosquito repellent.

   Hart v. BHH, LLC, 323 F. Supp. 3d 560 (S.D.N.Y. 2018), denying defendants’ motion for
   summary judgment in certified class action involving the sale of ultrasonic pest repellers.

   Hart v. BHH, LLC, 2018 WL 3471813 (S.D.N.Y. July 19, 2018), denying defendants’ motion to
   exclude plaintiffs’ expert in certified class action involving the sale of ultrasonic pest repellers.
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   Penrose v. Buffalo Trace Distillery, Inc., 2018 WL 2334983 (E.D. Mo. Feb. 5, 2018), denying
   bourbon producers’ motion to dismiss fraud and consumer protection claims in putative class
   action.

   West v. California Service Bureau, Inc., 323 F.R.D. 295 (N.D. Cal. 2017), certifying a
   nationwide class of “wrong-number” robocall recipients.

   Hart v. BHH, LLC, 2017 WL 2912519 (S.D.N.Y. July 7, 2017), certifying nationwide class of
   purchasers of ultrasonic pest repellers.

   Browning v. Unilever United States, Inc., 2017 WL 7660643 (C.D. Cal. Apr. 26, 2017), denying
   motion to dismiss fraud and warranty claims in putative class action concerning facial scrub
   product.

   Brenner v. Procter & Gamble Co., 2016 WL 8192946 (C.D. Cal. Oct. 20, 2016), denying motion
   to dismiss warranty and consumer protection claims in putative class action concerning baby
   wipes.

   Hewlett v. Consolidated World Travel, Inc., 2016 WL 4466536 (E.D. Cal. Aug. 23, 2016),
   denying telemarketer’s motion to dismiss TCPA claims in putative class action.

   Bailey v. KIND, LLC, 2016 WL 3456981 (C.D. Cal. June 16, 2016), denying motion to dismiss
   fraud and warranty claims in putative class action concerning snack bars.

   Hart v. BHH, LLC, 2016 WL 2642228 (S.D.N.Y. May 5, 2016) denying motion to dismiss
   warranty and consumer protection claims in putative class action concerning ultrasonic pest
   repellers.

   Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting clients’
   motion for judgment as a matter of law on claims for retaliation and defamation in employment
   action.

   In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
   false advertising and other claims brought by New York and California purchasers of grass seed
   product.

   Brady v. Basic Research, L.L.C., 101 F. Supp. 3d 217 (E.D.N.Y. 2015), denying diet pill
   manufacturers’ motion to dismiss its purchasers’ allegations for breach of express warranty in
   putative class action.

   Ward v. TheLadders.com, Inc., 3 F. Supp. 3d 151 (S.D.N.Y. 2014), denying online job board’s
   motion to dismiss its subscribers’ allegations of consumer protection law violations in putative
   class action.

   Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
   certification of false advertising and other claims brought by purchasers of purported “100%
   Pure Olive Oil” product.
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   Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
   motion for summary judgment against nationwide class of purchasers of purported “100% Pure
   Olive Oil” product.

                                      Selected Class Settlements:

   Hart v. BHH, LLC, Case No. 1:15-cv-04804 (S.D.N.Y. Sept. 22, 2020), resolving class action
   claims regarding ultrasonic pest repellers.

   In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014), resolving
   class action claims for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
   defendant filed for bankruptcy following the certification of nationwide claims alleging that its
   olive oil was sold with false and misleading representations.

   West v. California Service Bureau, Case No. 4:16-cv-03124-YGR (N.D. Cal. Jan. 23, 2019),
   resolving class action claims against debt-collector for wrong-number robocalls for $4.1 million.

                                  FREDERICK J. KLORCZYK III

           Frederick J. Klorczyk III is a Partner with Bursor & Fisher, P.A. Fred focuses his
   practice on complex business litigation and consumer class actions.

           Fred has substantial experience in successfully litigating and resolving consumer class
   actions involving claims of mislabeling, false or misleading advertising, and privacy violations.
   In 2019, Fred certified both a California and a 10-state express warranty class on behalf of
   purchasers of a butter substitute. In 2014, Fred served on the litigation team in Ebin v. Kangadis
   Food Inc. At class certification, Judge Rakoff adopted Fred’s choice of law fraud analysis and
   research directly into his published decision certifying a nationwide fraud class.

           Fred is admitted to the State Bars of California, New York, and New Jersey, and is a
   member of the bars of the United States District Courts for the Northern, Central, Eastern, and
   Southern Districts of California, the Southern, Eastern, and Northern Districts of New York, the
   District of New Jersey, the Northern District of Illinois, the Eastern District of Missouri, the
   Eastern District of Wisconsin, and the Eastern District of Michigan, as well as the bars of the
   United States Court of Appeals for the Second and Ninth Circuits.

          Fred received his Juris Doctor from Brooklyn Law School in 2013, graduating magna
   cum laude with two CALI Awards for the highest grade in his classes on conflict of laws and
   criminal law. During law school, Fred served as an Associate Managing Editor for the Brooklyn
   Journal of Corporate, Financial and Commercial Law and as an intern to the Honorable Alison J.
   Nathan of the United States District Court for the Southern District of New York and the
   Honorable Janet Bond Arterton of the United States District Court for the District of
   Connecticut. In 2010, Fred graduated from the University of Connecticut with a B.S. in Finance.
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                                    Selected Published Decisions:

   Revitch v. New Moosejaw, LLC, 2019 WL 5485330 (N.D. Cal. Oct. 23, 2019), denying
   defendants’ motions to dismiss consumer’s allegations of state privacy law violations in putative
   class action.

   In re Welspun Litigation, 2019 WL 2174089 (S.D.N.Y. May 20, 2019), denying retailers’ and
   textile manufacturer’s motion to dismiss consumers’ allegations of false advertising relating to
   purported “100% Egyptian Cotton” linen products.

   Martinelli v. Johnson & Johnson, 2019 WL 1429653 (E.D. Cal. Mar. 29, 2019), granting class
   certification of California false advertising claims and multi-state express warranty claims
   brought by purchasers of a butter substitute.

   Porter v. NBTY, Inc., 2016 WL 6948379 (N.D. Ill. Nov. 28, 2016), denying supplement
   manufacturer’s motion to dismiss consumers’ allegations of false advertising relating to whey
   protein content.

   Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d. 282 (S.D.N.Y. 2015), denying supplement
   manufacturer’s motion to dismiss consumers’ allegations of false advertising relating to a
   homeopathic cold product.

   In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
   false advertising and other claims brought by New York and California purchasers of grass seed
   product.

   Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
   individual and law firm defendants’ motion for judgment as a matter of law on plaintiff’s claims
   for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
   Lubna Faruqi.

   Ebin v. Kangadis Food Inc., Case No. 13-4775 (2d Cir. Apr. 15, 2015), denying olive oil
   manufacturer’s Rule 23(f) appeal following grant of nationwide class certification.

   Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
   certification of false advertising and other claims brought by purchasers of purported “100%
   Pure Olive Oil” product.

   Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
   motion for summary judgment against nationwide class of purchasers of purported “100% Pure
   Olive Oil” product.

                                      Selected Class Settlements:

   Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
   approval granted for $9 million class settlement to resolve claims of protein shake purchasers for
   alleged false advertising.
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   Ruppel v. Consumers Union of United States, Inc., Case No. 16-cv-02444-KMK (S.D.N.Y.
   2018) – final approval granted for $16.375 million class settlement to resolve claims of magazine
   subscribers for alleged statutory privacy violations.

   In Re: Blue Buffalo Marketing And Sales Practices Litigation, Case No. 14-MD-2562-RWS
   (E.D. Mo. 2016) –final approval granted for $32 million class settlement to resolve claims of pet
   owners for alleged false advertising of pet foods.

   In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014) – resolved
   class action claims for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
   defendant filed for bankruptcy following the certification of nationwide claims alleging that its
   olive oil was sold with false and misleading representations.

                                     YEREMEY O. KRIVOSHEY

           Yeremey O. Krivoshey is a Partner with Bursor & Fisher, P.A. Mr. Krivoshey has
   particular expertise in COVID-19 related consumer litigation, unlawful fees and liquidated
   damages in consumer contracts, TCPA cases, product recall cases, and fraud and false
   advertising litigation. He has represented clients in a wide array of civil litigation, including
   appeals before the Ninth Circuit.

          Mr. Krivoshey served as trial counsel with Mr. Bursor in Perez. v. Rash Curtis &
   Associates, where, in May 2019, the jury returned a verdict for $267 million in statutory damages
   under the Telephone Consumer Protection Act. Since 2017, Mr. Krivoshey has secured over
   $200 million for class members in consumer class settlements. Mr. Krivoshey has been honored
   multiple times as a Super Lawyers Rising Star.

           Mr. Krivoshey is admitted to the State Bar of California. He is also a member of the bars
   of the United States Court of Appeals for the Ninth Circuit and the United States District Courts
   for the Northern, Central, Southern, and Eastern Districts of California, as well as the District of
   Colorado.

          Mr. Krivoshey graduated from New York University School of Law in 2013, where he
   was a Samuel A. Herzog Scholar. Prior to Bursor & Fisher, P.A., Mr. Krivoshey worked as a
   Law Clerk at Vladeck, Waldman, Elias & Engelhard, P.C, focusing on employment
   discrimination and wage and hour disputes. In law school, he has also interned at the American
   Civil Liberties Union and the United States Department of Justice. In 2010, Mr. Krivoshey
   graduated cum laude from Vanderbilt University.

                                          Representative Cases:

   Perez v. Rash Curtis & Associates, Case No. 16-cv-03396-YGR (N.D. Cal. May 13, 2019). Mr.
   Krivoshey litigated claims against a national health-care debt collection agency on behalf of
   people that received autodialed calls on their cellular telephones without their prior express
   consent. Mr. Krivoshey successfully obtained nationwide class certification, defeated the
   defendant’s motion for summary judgment, won summary judgment as to the issue of prior
   express consent and the use of automatic telephone dialing systems, and navigated the case
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   towards trial. With his partner, Scott Bursor, Mr. Krivoshey obtained a jury verdict finding that
   the defendant violated the Telephone Consumer Protection Act (“TCPA”) 534,712 times. Under
   the TCPA, class members are entitled to $500 per each call made in violation of the TCPA – in
   this case, $267 million for 534,712 unlawful calls.

                                    Selected Published Decisions:

   Goodrich, et al. v. Alterra Mountain Co., et al., 2021 WL 2633326 (D. Col. June 25, 2021),
   denying ski pass company’s motion to dismiss its customers’ allegations concerning refunds
   owed due to cancellation of ski season due to COVID-19.

   Bayol v. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014), denying enforcement of
   forum selection clause based on public policy grounds.

   Bayol v. Zipcar, Inc., 78 F. Supp. 3d 1252 (N.D. Cal. Jan. 29, 2015), denying car-rental
   company’s motion to dismiss its subscriber’s allegations of unlawful late fees.

   Brown v. Comcast Corp., 2016 WL 9109112 (C.D. Cal. Aug. 12, 2016), denying internet service
   provider’s motion to compel arbitration of claims alleged under the Telephone Consumer
   Protection Act.

   Chaisson, et al. v. University of Southern California (Cal. Sup. Ct. Mar. 25, 2021), denying
   university’s demurrer as to its students’ allegations of unfair and unlawful late fees.

   Choi v. Kimberly-Clark Worldwide, Inc., 2019 WL 4894120 (C.D. Cal. Aug. 28, 2019), denying
   tampon manufacturer’s motion to dismiss its customer’s design defect claims.

   Horanzy v. Vemma Nutrition Co., Case No. 15-cv-298-PHX-JJT (D. Ariz. Apr. 16, 2016),
   denying multi-level marketer’s and its chief scientific officer’s motion to dismiss their
   customer’s fraud claims.
   McMillion, et al. v. Rash Curtis & Associates, 2017 WL 3895764 (N.D. Cal. Sept. 6, 2017),
   granting nationwide class certification of Telephone Consumer Protection Act claims by persons
   receiving autodialed and prerecorded calls without consent.
   McMillion, et al. v. Rash Curtis & Associates, 2018 WL 692105 (N.D. Cal. Feb. 2, 2018),
   granting plaintiffs’ motion for partial summary judgment on Telephone Consumer Protection Act
   violations in certified class action.
   Perez v. Indian Harbor Ins. Co., 2020 WL 2322996 (N.D. Cal. May 11, 2020), denying
   insurance company’s motion to dismiss or stay assigned claims of bad faith and fair dealing
   arising out of $267 million trial judgment.
   Perez v. Rash Curtis & Associates, 2020 WL 1904533 (N.D. Cal. Apr. 17, 2020), upholding
   constitutionality of $267 million class trial judgment award.
   Salazar v. Honest Tea, Inc., 2015 WL 7017050 (E.D. Cal. Nov. 12. 2015), denying
   manufacturer’s motion for summary judgment as to customer’s false advertising claims.
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   Sholopa v. Turk Hava Yollari A.O., Inc. (d/b/a Turkish Airlines), 2022 WL 976825 (S.D.N.Y.
   Mar. 31, 2022), denying airline’s motion to dismiss its customers claims for failure to refund
   flights cancelled due to COVID-19.

                                      Selected Class Settlements:

   Perez v. Rash Curtis & Associates, Case No. 16-cv-03396-YGR (N.D. Cal. Oct. 1, 2021)
   granting final approval to a $75.6 million non-reversionary cash common fund settlement, the
   largest ever consumer class action settlement stemming from a violation of the Telephone
   Consumer Protection Act.

   Strassburger v. Six Flags Theme Parks Inc., et al. (Ill. Cir. Ct. 2022) granting final approval to
   $83.6 million settlement to resolve claims of theme park members for alleged wrongful charging
   of fees during the COVID-19 pandemic.

   Juarez-Segura, et al. v. Western Dental Services, Inc. (Cal. Sup. Ct. Aug. 9, 2021) granting final
   approval to $35 million settlement to resolve claims of dental customers for alleged unlawful late
   fees.

   Moore v. Kimberly-Clark Worldwide, Inc. (Ill. Cir. Ct. July 22, 2020) granting final approval to
   $11.2 million settlement to resolve claims of tampon purchasers for alleged defective products.

   Retta v. Millennium Prods., Inc., 2017 WL 5479637 (C.D. Cal. Aug. 22, 2017) granting final
   approval to $8.25 million settlement to resolve claims of kombucha purchasers for alleged false
   advertising.

   Cortes v. National Credit Adjusters, L.L.C. (E.D. Cal. Dec. 7, 2020) granting final approval to
   $6.8 million settlement to resolve claims of persons who received alleged autodialed calls
   without prior consent in violation of the TCPA.

   Bayol et al. v. Health-Ade LLC, et al. (N.D. Cal. Oct. 11, 2019) – granting final approval to
   $3,997,500 settlement to resolve claims of kombucha purchasers for alleged false advertising.

                                        PHILIP L. FRAIETTA

          Philip L. Fraietta is a Partner with Bursor & Fisher, P.A. Phil focuses his practice on data
   privacy, complex business litigation, consumer class actions, and employment law disputes. Phil
   has been named a “Rising Star” in the New York Metro Area by Super Lawyers® every year
   since 2019.

           Phil has significant experience in litigating consumer class actions, particularly those
   involving privacy claims under statutes such as the Michigan Preservation of Personal Privacy
   Act, the Illinois Biometric Information Privacy Act, and Right of Publicity statutes. Since 2016,
   Phil has recovered over $100 million for class members in privacy class action settlements. In
   addition to privacy claims, Phil has significant experience in litigating and settling class action
   claims involving false or misleading advertising.
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           Phil is admitted to the State Bars of New York, New Jersey, Illinois, and Michigan, the
   bars of the United States District Courts for the Southern District of New York, the Eastern
   District of New York, the Western District of New York, the Northern District of New York, the
   District of New Jersey, the Eastern District of Michigan, the Western District of Michigan, the
   Northern District of Illinois, the Central District of Illinois, and the United States Court of
   Appeals for the Second, Third, and Ninth Circuits. Phil was a Summer Associate with Bursor &
   Fisher prior to joining the firm.

          Phil received his Juris Doctor from Fordham University School of Law in 2014,
   graduating cum laude. During law school, Phil served as an Articles & Notes Editor for the
   Fordham Law Review, and published two articles. In 2011, Phil graduated cum laude from
   Fordham University with a B.A. in Economics.

                                    Selected Published Decisions:

   Fischer v. Instant Checkmate LLC, 2022 WL 971479 (N.D. Ill. Mar. 31, 2022), certifying class
   of Illinois residents for alleged violations of Illinois’ Right of Publicity Act by background
   reporting website.

   Kolebuck-Utz v. Whitepages Inc., 2021 WL 157219 (W.D. Wash. Apr. 22, 2021), denying
   defendant’s motion to dismiss for alleged violations of Ohio’s Right to Publicity Law.

   Bergeron v. Rochester Institute of Technology, 2020 WL 7486682 (W.D.N.Y. Dec. 18, 2020),
   denying university’s motion to dismiss for failure to refund tuition and fees for the Spring 2020
   semester in light of the COVID-19 pandemic.

   Porter v. NBTY, Inc., 2019 WL 5694312 (N.D. Ill. Nov. 4, 2019), denying supplement
   manufacturer’s motion for summary judgment on consumers’ allegations of false advertising
   relating to whey protein content.

   Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017), granting
   plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
   action.

                                      Selected Class Settlements:

   Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
   approval granted for $50 million class settlement to resolve claims of magazine subscribers for
   alleged statutory privacy violations.

   Ruppel v. Consumers Union of United States, Inc., Case No. 16-cv-02444-KMK (S.D.N.Y.
   2018) – final approval granted for $16.375 million class settlement to resolve claims of magazine
   subscribers for alleged statutory privacy violations.

   Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
   (S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
   magazine subscribers for alleged statutory privacy violations.
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   Benbow v. SmileDirectClub, LLC, Case No. 2020-CH-07269 (Cir. Ct. Cook Cnty. 2021) – final
   approval granted for $11.5 million class settlement to resolve claims for alleged TCPA
   violations.

   Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
   approval granted for $9 million class settlement to resolve claims of protein shake purchasers for
   alleged false advertising.

   Taylor v. Trusted Media Brands, Inc., Case No. 16-cv-01812-KMK (S.D.N.Y. 2018) – final
   approval granted for $8.225 million class settlement to resolve claims of magazine subscribers
   for alleged statutory privacy violations.

   Moeller v. American Media, Inc., Case No. 16-cv-11367-JEL (E.D. Mich. 2017) – final approval
   granted for $7.6 million class settlement to resolve claims of magazine subscribers for alleged
   statutory privacy violations.

   Rocchio v. Rutgers, The State University of New Jersey, Case No. MID-L-003039-20 (Sup. Ct.
   Middlesex Cnty. 2022) – final approval granted for $5 million class settlement to resolve claims
   for failure to refund mandatory fees for the Spring 2020 semester in light of the COVID-19
   pandemic.

   Heigl v. Waste Management of New York, LLC, Case No. 19-cv-05487-WFK-ST (E.D.N.Y.
   2021) – final approval granted for $2.7 million class settlement to resolve claims for charging
   allegedly unlawful fees pertaining to paper billing.

   Frederick v. Examsoft Worldwide, Inc., Case No. 2021L001116 (Cir. Ct. DuPage Cnty. 2022) –
   final approval granted for $2.25 million class settlement to resolve claims for alleged BIPA
   violations.

                                          ALEC M. LESLIE

           Alec Leslie is a Partner with Bursor & Fisher, P.A. He focuses his practice on consumer
   class actions, employment law disputes, and complex business litigation.

           Alec is admitted to the State Bar of New York and is a member of the bar of the United
   States District Courts for the Southern and Eastern Districts of New York. Alec was a Summer
   Associate with Bursor & Fisher prior to joining the firm.

          Alec received his Juris Doctor from Brooklyn Law School in 2016, graduating cum
   laude. During law school, Alec served as an Articles Editor for Brooklyn Law Review. In
   addition, Alec served as an intern to the Honorable James C. Francis for the Southern District of
   New York and the Honorable Vincent Del Giudice, Supreme Court, Kings County. Alec
   graduated from the University of Colorado with a B.A. in Philosophy in 2012.

                                      Selected Class Settlements:

   Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
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   approval granted for class settlement to resolve claims of protein shake purchasers for alleged
   false advertising.

   Wright v. Southern New Hampshire Univ., Case No. 1:20-cv-00609-LM (D.N.H. 2021) – final
   approval granted for class settlement to resolve claims over COVID-19 tuition and fee refunds to
   students.

   Mendoza et al. v. United Industries Corp., Case No. 21PH-CV00670 (Phelps Cnty. Mo. 2021) –
   final approval granted for class settlement to resolve false advertising claims on insect repellent
   products.

   Kaupelis v. Harbor Freight Tools USA, Inc., Case No. 8:19-cv-01203-JVS-DFM (C.D. Cal.
   2021) – final approval granted for class settlement involving allegedly defective and dangerous
   chainsaws.

   Rocchio v. Rutgers Univ., Case No. MID-L-003039-20 (Middlesex Cnty. N.J. 2021) – final
   approval granted for class settlement to resolve claims over COVID-19 fee refunds to students.

   Malone v. Western Digital Corporation, Case No. 5:20-cv-03584-NC (N.D. Cal.) – final
   approval granted for class settlement to resolve false advertising claims on hard drive products.

   Frederick et al. v. ExamSoft Worldwide, Inc., Case No. 2021L001116 (DuPage Cnty. Ill. 2021) –
   final approval granted for class settlement to resolve claims over alleged BIPA violations with
   respect to exam proctoring software.

                                           STEPHEN BECK

         Stephen is an Associate with Bursor & Fisher, P.A. Stephen focuses his practice on
   complex civil litigation and class actions.

           Stephen is admitted to the State Bar of Florida and is a member of the bars of the United
   States District Courts for the Southern and Middle Districts of Florida.

          Stephen received his Juris Doctor from the University of Miami School of Law in 2018.
   During law school, Stephen received an Honors distinction in the Litigation Skills Program and
   was awarded the Honorable Theodore Klein Memorial Scholarship for excellence in written and
   oral advocacy. Stephen also received the CALI Award in Legislation for earning the highest
   grade on the final examination. Stephen graduated from the University of North Florida with a
   B.A. in Philosophy in 2015.

                                     STEFAN BOGDANOVICH

           Stefan Bogdanovich is an Associate with Bursor & Fisher, P.A. Stefan litigates complex
   civil and class actions typically involving privacy, intellectual property, entertainment, and false
   advertising law.
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          Prior to working at Bursor & Fisher, Stefan practiced at two national law firms in Los
   Angeles. He helped represent various companies in false advertising and IP infringement cases,
   media companies in defamation cases, and motion picture producers in royalty disputes. He also
   advised corporations and public figures on complying with various privacy and advertising laws
   and regulations.

          Stefan is admitted to the State Bar of California and all of the California Federal District
   Courts. He is also a Certified Information Privacy Professional.

         Stefan received his Juris Doctor from the University of Southern California Gould School
   of Law in 2018, where he was a member of the Hale Moot Court Honors Program and the Trial
   Team. He received the highest grade in his class in three subjects, including First Amendment
   Law.

                                         BRITTANY SCOTT

          Brittany Scott is an Associate with Bursor & Fisher, P.A. Brittany focuses her practice
   on data privacy, complex civil litigation, and consumer class actions. Brittany was an intern with
   Bursor & Fisher prior to joining the firm.

           Brittany has substantial experience litigating consumer class actions, including those
   involving data privacy claims under statutes such as the Illinois Biometric Information Privacy
   Act, the Fair Credit Reporting Act, and the Michigan Preservation of Personal Privacy Act. In
   addition to data privacy claims, Brittany has significant experience in litigating class action
   claims involving false and misleading advertising.

           Brittany is admitted the State Bar of California and is a member of the bars of the United
   States District Courts for the Northern, Central, Southern, and Eastern Districts of California, the
   Eastern District of Wisconsin, and the Northern District of Illinois.

           Brittany received her Juris Doctor from the University of California, Hastings College of
   the Law in 2019, graduating cum laude. During law school, Brittany was a member of the
   Constitutional Law Quarterly, for which she was the Executive Notes Editor. Brittany published
   a note in the Constitutional Law Quarterly entitled “Waiving Goodbye to First Amendment
   Protections: First Amendment Waiver by Contract.” Brittany also served as a judicial extern to
   the Honorable Andrew Y.S. Cheng for the San Francisco Superior Court. In 2016, Brittany
   graduated from the University of California Berkeley with a B.A. in Political Science.

                                      Selected Class Settlements:

   Morrissey v. Tula Life, Inc., Case No. 2021L0000646 (Cir. Ct. DuPage Cnty. 2021) – final
   approval granted for $4 million class settlement to resolve claims of cosmetics purchasers for
   alleged false advertising.

   Clarke et al. v. Lemonade Inc., Case No. 2022LA000308 (Cir. Ct. DuPage Cnty. 2022) – final
   approval granted for $4 million class settlement to resolve claims for alleged BIPA violations.
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   Whitlock v. Jabil Inc., Case No. 2021CH00626 (Cir. Ct. Cook Cnty. 2022) – final approval
   granted for $995,000 class settlement to resolve claims for alleged BIPA violations.

                                          MAX S. ROBERTS

           Max Roberts is an Associate in Bursor & Fisher’s New York office. Max focuses his
   practice on class actions concerning data privacy and consumer protection. Max was a Summer
   Associate with Bursor & Fisher prior to joining the firm and is now Co-Chair of the firm’s
   Appellate Practice Group.

          Max received his Juris Doctor from Fordham University School of Law in 2019,
   graduating cum laude. During law school, Max was a member of Fordham’s Moot Court Board,
   the Brennan Moore Trial Advocates, and the Fordham Urban Law Journal, for which he
   published a note entitled Weaning Drug Manufacturers Off Their Painkiller: Creating an
   Exception to the Learned Intermediary Doctrine in Light of the Opioid Crisis. In addition, Max
   served as an intern to the Honorable Vincent L. Briccetti of the Southern District of New York
   and the Fordham Criminal Defense Clinic. Max graduated from Johns Hopkins University in
   2015 with a B.A. in Political Science.

          Outside of the law, Max is an avid triathlete.

                                     Selected Published Decisions:

   Jackson v. Amazon.com, Inc., --- F.4th ---, 2023 WL 2997031 (9th Cir. Apr. 19, 2023), affirming
   district court’s denial of motion to compel arbitration. Max personally argued the appeal before
   the Ninth Circuit, which can be viewed here.

   Javier v. Assurance IQ, LLC, 2022 WL 1744107 (9th Cir. May 31, 2022), reversing district court
   and holding that Section 631 of the California Invasion of Privacy Act requires prior consent to
   wiretapping. Max personally argued the appeal before the Ninth Circuit, which can be viewed
   here.

   Mora v. J&M Plating, Inc., --- N.E.3d ---, 2022 WL 17335861 (Ill. App. Ct. 2d Dist. Nov. 30,
   2022), reversing circuit court and holding that Section 15(a) of Illinois’ Biometric Information
   Privacy Act requires an entity to establish a retention and deletion schedule for biometric data at
   the first moment of possession. Max personally argued the appeal before the Second District,
   which can be listened to here.

   Cristostomo v. New Balance Athletics, Inc., 2022 WL 17904394 (D. Mass. Dec. 23, 2022),
   denying motion to dismiss and motion to strike class allegations in case involving sneakers
   marketed as “Made in the USA.”

   Carroll v. Myriad Genetics, Inc., 2022 WL 16860013 (N.D. Cal. Nov. 9, 2022), denying in part
   motion to dismiss in case involving non-invasive prenatal testing product.

   Louth v. NFL Enterprises LLC, 2022 WL 4130866 (D.R.I. Sept. 12, 2022), denying motion to
   dismiss alleged violations of the Video Privacy Protection Act.
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   Sholopa v. Turk Hava Yollari A.O., Inc. d/b/a Turkish Airlines, 2022 WL 976825 (S.D.N.Y. Mar.
   31, 2022), denying motion to dismiss passenger’s allegations that airline committed a breach of
   contract by failing to refund passengers for cancelled flights during the COVID-19 pandemic.

   Saleh v. Nike, Inc., 562 F. Supp. 3d 503 (C.D. Cal. 2021), denying in part motion to dismiss
   alleged violations of California Invasion of Privacy Act.

   Soo v. Lorex Corp., 2020 WL 5408117 (N.D. Cal. Sept. 9, 2020), denying defendants’ motion to
   compel arbitration and denying in part motion dismiss consumer protection claims in putative
   class action concerning security cameras.

                                      Selected Class Settlements:

   Miranda v. Golden Entertainment (NV), Inc., Case No. 2:20-cv-534-AT (D. Nev. 2021) – final
   approval granted for class settlement valued at over $4.5 million to resolve claims of customers
   and employees of casino company stemming from data breach.

   Malone v. Western Digital Corp., Case No. 5:20-cv-3584-NC (N.D. Cal. 2021) – final approval
   granted for class settlement valued at $5.7 million to resolve claims of hard drive purchasers for
   alleged false advertised.

   Frederick v. ExamSoft Worldwide, Inc., Case No. 2021-L-001116 (18th Judicial Circuit Court
   DuPage County, Illinois 2021) – final approval granted for $2.25 million class settlement to
   resolve claims of Illinois students for alleged violations of the Illinois Biometric Information
   Privacy Act.

                                            Bar Admissions

   •   New York State
   •   Southern District of New York
   •   Eastern District of New York
   •   Northern District of New York
   •   Northern District of Illinois
   •   Central District of Illinois
   •   Eastern District of Michigan
   •   District of Colorado
   •   Ninth Circuit Court of Appeals
   •   Seventh Circuit Court of Appeals

                                    CHRISTOPHER R. REILLY

         Chris Reilly is an Associate with Bursor & Fisher, P.A. Chris focuses his practice on
   consumer class actions and complex business litigation.

           Chris is admitted to the State Bar of Florida and is a member of the bar of the United
   States District Courts for the Southern and Middle Districts of Florida.
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           Chris received his Juris Doctor from Georgetown University Law Center in 2020.
   During law school, Chris clerked for the Senate Judiciary Committee, where he worked on
   antitrust and food and drug law matters under Senator Richard Blumenthal. He has also clerked
   for the Mecklenburg County District Attorney’s Office, the ACLU Prison Project, and the
   Pennsylvania General Counsel’s Office. Chris served as Senior Editor of Georgetown’s Journal
   of Law and Public Policy. In 2017, Chris graduated from the University of Florida with a B.A.
   in Political Science.

                                        JULIA K. VENDITTI

           Julia Venditti is an Associate with Bursor & Fisher, P.A. Julia focuses her practice on
   complex civil litigation and class actions. Julia was a Summer Associate with Bursor & Fisher
   prior to joining the firm.

           Julia is admitted to the State Bar of California and is a member of the bars of the United
   States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

           Julia received her Juris Doctor in 2020 from the University of California, Hastings
   College of the Law, where she graduated cum laude with two CALI Awards for the highest
   grade in her Evidence and California Community Property classes. During law school, Julia was
   a member of the UC Hastings Moot Court team and competed at the Evans Constitutional Law
   Moot Court Competition, where she finished as a national quarterfinalist and received a best
   brief award. Julia was also inducted into the UC Hastings Honors Society and was awarded Best
   Brief and an Honorable Mention for Best Oral Argument in her First-Year Moot Court section.
   In addition, Julia served as a Research Assistant for her Constitutional Law professor, as a
   Teaching Assistant for Legal Writing & Research, and as a Law Clerk at the San Francisco
   Public Defender’s Office. In 2017, Julia graduated magna cum laude from Baruch
   College/CUNY, Weissman School of Arts and Sciences, with a B.A. in Political Science.

                                         JULIAN DIAMOND

           Julian Diamond is an Associate with Bursor & Fisher, P.A. Julian focuses his practice on
   privacy law and class actions. Julian was a Summer Associate with Bursor & Fisher prior to
   joining the firm.

          Julian received his Juris Doctor from Columbia Law School, where he was a Harlan
   Fiske Stone Scholar. During law school, Julian was Articles Editor for the Columbia Journal of
   Environmental Law. Prior to law school, Julian worked in education. Julian graduated from
   California State University, Fullerton with a B.A. in History and a single subject social science
   teaching credential.
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                                       MATTHEW GIRARDI

          Matt Girardi is an Associate with Bursor & Fisher, P.A. Matt focuses his practice on
   complex civil litigation and class actions, and has focused specifically on consumer class actions
   involving product defects, financial misconduct, false advertising, and privacy violations. Matt
   was a Summer Associate with Bursor & Fisher prior to joining the firm.

           Matt is admitted to the State Bar of New York, and is a member of the bars of the United
   States District Courts for the Southern District of New York, the Eastern District of New York,
   and the Eastern District of Michigan

           Matt received his Juris Doctor from Columbia Law School in 2020, where he was a
   Harlan Fiske Stone Scholar. During law school, Matt was the Commentary Editor for the
   Columbia Journal of Tax Law, and represented fledgling businesses for Columbia’s
   Entrepreneurship and Community Development Clinic. In addition, Matt worked as an Honors
   Intern in the Division of Enforcement at the U.S. Securities and Exchange Commission. Prior to
   law school, Matt graduated from Brown University in 2016 with a B.A. in Economics, and
   worked as a Paralegal Specialist at the U.S. Department of Justice in the Antitrust Division.

                                        JENNA GAVENMAN

           Jenna Gavenman is an Associate with Bursor & Fisher, P.A. Jenna focuses her practice
   on complex civil litigation and consumer class actions. Jenna was a Summer Associate and a
   part-time intern with Bursor & Fisher prior to joining the firm as a full-time Associate in
   September 2022.

           Jenna is admitted to the State Bar of California and is a member of the bars of the United
   States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

           Jenna received her Juris Doctor in 2022 from the University of California, Hastings
   College of the Law (now named UC Law SF). During law school, she was awarded an
   Honorable Mention for Best Oral Argument in her First-Year Moot Court section. Jenna also
   participated in both the Medical Legal Partnership for Seniors (MLPS) and the Lawyering for
   Children Practicum at Legal Services for Children—two of UC Hastings’s nationally renowned
   clinical programs. Jenna was awarded the Clinic Award for Outstanding Performance in MLPS
   for her contributions to the clinic. In addition, Jenna volunteered with her law school’s Legal
   Advice and Referral Clinic and as a LevelBar Mentor.

          In 2018, Jenna graduated cum laude from Villanova University with a B.A. in Sociology
   and Spanish (double major). Jenna was a Division I athlete, competing on the Villanova
   Women’s Water Polo varsity team for four consecutive years.
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                                           EMILY HORNE

          Emily Horne is an Associate with Bursor & Fisher, P.A. Emily focuses her practice on
   complex civil litigation and consumer class actions. Emily was a Summer Associate with Bursor
   & Fisher prior to joining the firm.

          Emily is admitted to the State Bar of California.

          Emily received her Juris Doctor from the University of California, Hastings College of
   the Law in 2022 (now UC, Law SF). During law school, Emily served as Editor-in-Chief for the
   UC Hastings Communications and Entertainment Law Journal, and she competed on the Moot
   Court team. Emily also served as a judicial extern in the Northern District of California and as a
   Teaching Assistant for Legal Writing & Research. In 2015, Emily graduated from Scripps
   College with a B.A. in Sociology.

                                         IRA ROSENBERG

         Ira Rosenberg is an Associate with Bursor & Fisher, P.A. Ira focuses his practice on
   complex civil litigation and class actions.

           Ira received his Juris Doctor in 2022 from Columbia Law School. During law school, Ira
   served as a Student Honors Legal Intern with Division of Enforcement at the U.S. Securities and
   Exchange Commission. Ira also interned during law school in the Criminal Division at the
   United States Attorney’s Office for the Southern District of New York and with the Investor
   Protection Bureau at the Office of the New York State Attorney General. Ira graduated in 2018
   from Beth Medrash Govoha with a B.A. in Talmudic Studies.

                                     LUKE SIRONSKI-WHITE

            Luke Sironski-White is an Associate with Bursor & Fisher, P.A., focusing on complex
   civil litigation and consumer class actions. Luke joined the firm as a full-time Associate in
   August 2022.

          Luke is admitted to the State Bar of California.

           Luke received his Juris Doctor in 2022 from the University of California, Berkeley
   School of Law. During law school, Luke was on the board of the Consumer Advocacy and
   Protection Society (CAPS), edited for the Berkeley Journal of Employment and Labor Law, and
   volunteered with the Prisoner Advocacy Network.

          In 2017, Luke graduated from the University of Chicago with a B.A. in Anthropology.
   Before entering the field of law Luke was a professional photographer and filmmaker.
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                                    JONATHAN L. WOLLOCH

           Jonathan L. Wolloch is an Associate with Bursor & Fisher, P.A. Jonathan focuses his
   practice on complex civil litigation and class actions. Jonathan was a Summer Associate with
   Bursor & Fisher prior to joining the firm.

          Jonathan is admitted to the State Bar of Florida and the bars of the United States District
   Courts for the Southern and Middle Districts of Florida.

          Jonathan received his Juris Doctor from the University of Miami School of Law in 2022,
   graduating magna cum laude. During law school, Jonathan served as a judicial intern to the
   Honorable Beth Bloom for the Southern District of Florida. He received two CALI Awards for
   earning the highest grade in his Trusts & Estates and Substantive Criminal Law courses, and he
   was elected to the Order of the Coif. Jonathan was also selected for participation in a semester
   long externship at the Florida Supreme Court, where he served as a judicial extern to the
   Honorable John D. Couriel. In 2018, Jonathan graduated from the University of Michigan with a
   B.A. in Political Science.
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                     EXHIBIT 4
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                                           FIRM RÉSUMÉ

          With offices in Miami, Florida and San Francisco, California, Hedin Hall LLP
   represents consumers and shareholders in data-privacy, financial services, and securities
   class actions in state and federal courts nationwide.
          Our firm prosecutes difficult cases aimed at redressing injuries suffered by large,

   diverse groups of people. Over the past decade alone, our work has helped secure billions of
   dollars in relief for consumers and investors and facilitated important changes in business
   practices across a wide range of industries.

                                     Representative Matters

          Notable examples of our work include:

   Consumer & Data-Privacy Matters


      •   Owens, et al. v. Bank of America, N.A., et al., No. 19-CV-20614-MGC (S.D. Fla.) (class
          counsel in overdraft fee class action, non-reversionary $4.95 million settlement
          pending final approval);
      •   Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D. Va.) (class counsel in
          overdraft fee class action, non-reversionary $2.7 million settlement granted final
          approval);
      •   Olsen, et al. v. ContextLogic Inc., No. 2019CH06737 (Ill. Cir. Ct. Jan. 7, 2020) (class
          counsel in action alleging violation of Telephone Consumer Protection Act (“TCPA”),
          non-reversionary $16 million settlement finally approved);
      •   In re Everi Holdings, Inc. FACTA Litigation, No. 18CH15419 (Ill. Cir. Ct. Jan. 7, 2020)
          (class counsel in 14 related actions alleging violations of Fair and Accurate Credit
          Transactions Act against various casino entities and common payment processor, $14
          million non-reversionary class settlement recently reached);
      •   Chimeno-Buzzi v. Hollister Co. (S.D. Fla.) (class counsel in action alleging violation of
          TCPA, non-reversionary $10 million settlement finally approved);
      •   Farnham v. Caribou Coffee Co., Inc. (W.D. Wisc.) (class counsel in action alleging
          violation of TCPA, non-reversionary $8.5 million settlement finally approved);


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      •   Lin v. Crain Communications, Inc., No. 2:19-cv-11889-VAR-APP (E.D. Mich.) (counsel
          for putative nationwide class in action alleging violation of Michigan’s Personal
          Privacy Preservation Act against Michigan-based publishing conglomerate);
      •   Norberg v. Shutterfly, Inc. (N.D. Ill.) (putative class action alleging the collection of
          individuals’ immutable “scans of face geometry” in violation of Illinois’ Biometric
          Information Privacy Act (“BIPA”));
      •   Rivera v. Google, Inc. (N.D. Ill.) (putative class action arising from Google’s alleged
          collection of individuals’ immutable “scans of face geometry” in violation of BIPA);
      •   In re Facebook Biometric Privacy Litig. (N.D. Cal.) (first-of-its-kind data privacy class
          action arising from Facebook’s alleged collection of individuals’ immutable “scans of
          face geometry” in violation of BIPA);
      •   In re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Products Liability Litig.
          (N.D. Cal.) (class action alleging claims in connection with the Volkswagen diesel-
          cheating scandal, resulting in over $17 billion recovery).

   Securities Matters

      •   City of Sterling Heights General Employees’ Retirement System v. Prudential Financial,
          Inc. (D. N.J.) ($33 million settlement for class of aggrieved investors);
      •   Louisiana Municipal Police Employees’ Pension Fund v. KPMG, LLP, et al. (N.D. Ohio)
          ($32.6 million settlement for class of aggrieved investors);
      •   Cyan v. Beaver County Employees Retirement Fund, (U.S. Supreme Court) (contributed
          to certiorari, merits, and amici briefing in 9-0 plaintiffs’ victory on issues of first
          impression pertaining to concurrent jurisdiction and dual sovereignty, the PSLRA and
          SLUSA, and the Securities Act removal bar);
      •   Wiley v. Envivio, Inc., et al. (Cal. Sup. Ct., San Mateo Cnty.) ($8.5 million settlement for
          class of aggrieved investors);
      •   In re MobileIron Shareholder Litig. (Cal. Sup. Ct., Santa Clara Cnty.) ($7.5 million
          settlement for class of aggrieved investors);
      •   In re Model N Shareholder Litig. (Cal. Sup. Ct., San Mateo Cnty.) ($8.55 million
          settlement for class of aggrieved investors);
      •   Silverman v. Motorola, et al. (N.D. Ill.) ($200 million settlement for class of aggrieved
          investors);
      •   United Food and Commercial Workers Union Local 880 v. Chesapeake Energy Corp., et
          al. (W.D. Okla.) (obtained multiple favorable precedent-setting decisions related to



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          typicality, tracing, adequacy, materiality, and negative causation under the Securities
          Act of 1933);
      •   Xiang v. Inovalon Holdings, Inc., et al. (S.D.N.Y.) (obtained favorable precedent-setting
          decisions related to statute of limitations, falsity, causation, and materiality under the
          Securities Act of 1933);
      •   Buelow v. Alibaba Group Holding Ltd., et al. (Cal. Sup. Ct., San Mateo Cnty.) ($75 million
          settlement, obtained several favorable precedent-setting decisions related to statute
          of limitations, the relation-back doctrine, falsity, causation, and materiality under the
          Securities Act of 1933);
      •   In re Herald, Primeo, and Thema Funds Sec. Litig. (S.D.N.Y.) ($62.5 million settlement
          for victims of Madoff Ponzi scheme).


                               Biographies of Principal Attorneys

   Frank S. Hedin
          Frank S. Hedin manages the firm’s Miami office. He is a member in good standing of
   the Florida Bar and the State Bar of California. Mr. Hedin received his Bachelor of Arts from
   University of Michigan and his Juris Doctor, magna cum laude, from Syracuse University
   College of Law. After graduating from law school, he served for fifteen months as law clerk
   to the Honorable William Q. Hayes, United States District Judge for the Southern District of
   California. Prior to establishing Hedin Hall LLP, Mr. Hedin was a partner at a litigation
   boutique in Miami, Florida, where he represented both plaintiffs and defendants in
   consumer and data-privacy class actions, employment-related collective actions, and patent
   and trademark litigation, and served as head of the firm’s class action practice.

   David W. Hall
          David W. Hall manages the firm’s San Francisco office. Before founding Hedin Hall
   LLP, Mr. Hall managed cases for one of the largest plaintiffs’ firm in the United States, where
   he pioneered and developed, inter alia, the firm’s state court Securities Act and data privacy




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   practices. Earlier in his legal career, he served as judicial law clerk to the Honorable Irma E.
   Gonzalez, United States District Judge for the Southern District of California. Mr. Hall is a
   graduate of the University of California, Hastings College of the Law, cum laude, and the New
   England Conservatory of Music. At Hastings College of the Law, he served as Staff Editor of
   the Hastings Business Law Journal, teaching assistant in the Legal Writing & Research

   Department, and extern to the Honorable Joyce L. Kennard of the California Supreme Court.


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